       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 1 of 218




               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA; the Case No. 2:19-cv-04239-JP
States of CALIFORNIA,
COLORADO, CONNECTICUT,        FIRST AMENDED COMPLAINT
DELAWARE, FLORIDA, GEORGIA,
HAWAII, ILLINOIS, INDIANA,    JURY TRIAL DEMANDED
IOWA, LOUISIANA, MICHIGAN,
MINNESOTA, MONTANA,
NEVADA, NEW HAMPSHIRE, NEW
JERSEY, NEW MEXICO, NEW
YORK, NORTH CAROLINA,
OKLAHOMA, RHODE ISLAND,
TENNESSEE, TEXAS, and
WASHINGTON; the Commonwealths
of MASSACHUSETTS and
VIRGINIA; and the DISTRICT OF
COLUMBIA;

ex rel. VALISURE LLC,

                  Plaintiffs and
Relator,

      v.

GLAXOSMITHKLINE, plc, and
GLAXOSMITHKLINE, LLC,

                  Defendants.


                   FIRST AMENDED COMPLAINT
           PURSUANT TO THE FEDERAL FALSE CLAIMS ACT
           AND SUPPLEMENTAL STATE FALSE CLAIMS ACTS
           Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 2 of 218




                                        TABLE OF CONTENTS
                                                                                                                Page
I. INTRODUCTION ...............................................................................................1
II. JURISDICTION AND VENUE ..........................................................................7
III. THE PARTIES ....................................................................................................9
IV. BACKGROUND ...............................................................................................12
         A.       Ranitidine Product History ..................................................................12
         B.       NDMA Is a Dangerous Carcinogen ....................................................16
         C.       Ranitidine Is an Unstable Molecule and Will Naturally Degrade in
                  NDMA, Accelerated by Heat and Humidity, Exposing Users to Illegal
                  Levels of NDMA Upon Ingestion .......................................................26
         D.       Ranitidine Breaks Down into NDMA in the Stomach, Exposing Users
                  to Endogenously Generated NDMA ...................................................29
         E.       For Nearly Four Decades GSK Concealed the Link Between
                  Ranitidine and NDMA, Until Relator Valisure Blew the Whistle and
                  the FDA Pulled Ranitidine Off the Market .........................................30
                  1.       In the 1970s, the Scientific Community Grew Increasingly
                           Concerned with the Ability of Pharmaceutical Compounds to
                           Nitrosate and Form into NDMA, Leading to Recalls of Drugs31
                  2.       In the 1980s, before Ranitidine Was Approved, FDA Raised
                           Concerns about the Ability of Ranitidine to Nitrosate and Form
                           Nitrosamines .............................................................................32
                  3.       In Early 1980s, Scientists Raise Concern about the Ability of
                           Cimetidine to Nitrosate Into Nitrosamines ...............................34
                  4.       In 1981, GSK’s Experiments Reveal that Ranitidine forms
                           NDMA ......................................................................................36
                  5.       Independent Researchers Raise Concern about Nitrosation of
                           Ranitidine and GSK Misleads Them ........................................38
                  6.       GSK Published a Nitrosamine Testing Assay Designed to
                           Conceal the Instability of Ranitidine ........................................42
                  7.       GSK Burries the NDMA Data and Lies to the FDA ................44




                                                           i
 Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 3 of 218




     8.       GSK Designed Ranitidine’s Monograph Dissolution Test to
              Hide Ranitidine’s Toxicity from the FDA and Medical
              Community................................................................................50
     9.       GSK’s Deception and Concealment of the NDMA Data
              Derailed Independent Researchers from Making the Connection
              to NDMA ..................................................................................53
     10.      GSK Manipulated the Only In Vivo Study on Humans that
              Attempted to Measure N-Nitroso Compound Formation While
              Taking Ranitidine......................................................................56
     11.      GSK Made False and Misleading Statements in Zantac Product
              Labels and Other Submissions to the FDA...............................61
     12.      GSK Proceeds to Aggressively Market Ranitidine; Despite
              Numerous Studies Linking Ranitidine to NDMA Formation,
              GSK Never Tests Ranitidine Again for NDMA or Discloses Its
              Data to the FDA ........................................................................69
     13.      Relator Tests Ranitidine Including the Same Tests GSK
              Concealed in 1981 But, Unlike GSK, Relator Shares that Data
              with the FDA .............................................................................81
     14.      FDA Begins Disclosing Valisure Data to Other Agencies and
              the Ranitidine Manufacturers, and GSK Once Again Lies to the
              FDA ...........................................................................................85
     15.      Valisure Files Citizen’s Petition and this Lawsuit (under Seal)
              Prompting Statements from the FDA and Recalls by the
              Manufacturers ...........................................................................86
     16.      With Mounting Pressure of Ranitidine Litigation Looming,
              GSK Finally Discloses the Truth to the FDA ...........................91
     17.      Further Investigations Lead to a Complete Market Withdrawal
              of All Ranitidine-Containing Drugs by the FDA .....................91
     18.      During Litigation, GSK Destroys Evidence .............................92
F.   Since 1983, GSK’s Fraud Caused the Distribution, Sale, Receipt, and
     Manufacture of Adulterated, Misbranded, Worthless, and/or False
     Brand Name and Generic Ranitidine Products Throughout the United
     States....................................................................................................95
G.   The Government Health Care Programs Covering Drug Costs ..........98
     1.       Medicaid and Related State Medicaid Programs ......................98


                                              ii
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 4 of 218




                2.      Medicare..................................................................................103
                3.      The Railroad Retirement Medicare Program ..........................105
                4.      Tri-Care ...................................................................................106
                5.      The Veterans Administration ..................................................107
                6.      Indian Health Service ..............................................................108
                7.      The Federal Employees Health Benefits Program..................109
        H.      The Regulatory System Governing Pharmaceuticals Eligible for
                Taxpayer-Funded Reimbursement ....................................................110
V. EQUITIBLE TOLLING ..................................................................................116
VI. CAUSES OF ACTION ....................................................................................118
                1.      COUNT I: Violations of the Federal False Claims Act, 31
                        U.S.C. § 3729(a)(1)(A) ...........................................................118
                2.      COUNT II: Violations of the Federal False Claims Act, 31
                        U.S.C. § 3729(a)(1)(B) ...........................................................121
                3.      COUNT III: Violations of the Federal False Claims Act, 31
                        U.S.C. § 3729(a)(1)(C) ...........................................................123
                4.      COUNT IV: Violations of the California False Claims Act,
                        Cal. Gov’t Code § 12651(a) ....................................................124
                5.      COUNT V: Violations of the Colorado Medicaid False Claims
                        Act, Colo. Rev. Stat. § 25.5-4-305(1) .....................................127
                6.      COUNT VI: Violations of the Connecticut False Claims Act,
                        Conn. Gen. Stat. Ann. § 4-275(a) ...........................................130
                7.      COUNT VII: Violations of the Delaware False Claims and
                        Reporting Act, Del. Code Ann. tit. 6, § 1201(a) .....................133
                8.      COUNT VIII: Violations of the Florida False Claims Act, Fla.
                        Stat. § 68.082(2) ......................................................................136
                9.      COUNT IX: Violations of the Georgia False Medicaid Claims
                        Act, Ga. Code Ann. § 49-4-168.1(a).......................................140
                10.     COUNT X: Violations of the Hawaii False Claims Act, Haw.
                        Rev. Stat. § 661-21(a) .............................................................142
                11.     COUNT XI: Violations of the Illinois False Claims Act, 740 Ill.
                        Comp. Stat. § 175/3(a) ............................................................145


                                                      iii
Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 5 of 218




    12.   COUNT XII: Violations of the Indiana False Claims and
          Whistleblower Protection Act, Ind. Code § 5-11-5.5-2(b) .....148
    13.   COUNT XIII: Violations of the Iowa False Claims Act, Iowa
          Code § 685.2(1).......................................................................151
    14.   COUNT XIV: Violations of the Louisiana Medical Assistance
          Programs Integrity Law, La. Rev. Stat. Ann. § 46:438.3 .......154
    15.   COUNT XVI: Violations of the Massachusetts False Claims
          Law, Mass. Gen. Laws ch. 12, § 5B .......................................157
    16.   COUNT XVII: Violations of the Michigan Medicaid False
          Claims Act, Mich. Comp. Laws § 400.607, as amended by 2008
          PA 421.....................................................................................160
    17.   COUNT XVIII: Violations of the Michigan Public Acts, 1977
          PA 72, As amended by 1984 PA 333, as amended by 2005 PA
          337, as amended by 2008 PA 421...........................................163
    18.   COUNT XIX: Violations of the Minnesota False Claims Act,
          Minn. Stat. § 15C.02(a)...........................................................166
    19.   COUNT XX: Violations of the Montana False Claims Act,
          Mont. Code Ann. § 17-8-403(1) .............................................168
    20.   COUNT XXI: Violations of the Nevada False Claims Act, Nev.
          Rev. Stat. § 357.040 ................................................................171
    21.   COUNT XXII: Violations of the New Hampshire False Claims
          Act, N.H. Rev. Stat. Ann. § 167:61-b .....................................174
    22.   COUNT XXIII: Violations of the New Jersey False Claims Act,
          N.J. Stat. Ann. § 2A:32C-3 .....................................................177
    23.   COUNT XXIV: Violations of the New Mexico Medicaid False
          Claims Act, N.M. Stat. Ann. § 27-14-4 ..................................180
    24.   COUNT XXV: Violations of the New York False Claims Act,
          N.Y. State Fin. Law § 189(1)..................................................183
    25.   COUNT XXVI: Violations of the North Carolina False Claims
          Act, N.C. Gen. Stat. § 1-607(A) .............................................186
    26.   COUNT XXVII: Violations of the Oklahoma Medicaid False
          Claims Act, Okla. Stat. tit. 63, § 5053.1(B)............................188
    27.   COUNT XXVIII: Violations of the Rhode Island False Claims
          Act, R.I. Gen. Laws § 9-1.1-3(a) ............................................191


                                        iv
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 6 of 218




                28.      COUNT XXIX: Violations of the Tennessee Medicaid False
                         Claims Act, Tenn. Code Ann. § 71-5-182(a)..........................194
                29.      COUNT XXX: Violations of the Texas Medicaid Fraud
                         Prevention Act, Tex. Hum. Res. Code Ann. § 36.002 ............197
                30.      COUNT XXXI: Violations of the Virginia Fraud Against
                         Taxpayers Act, Va. Code Ann. § 8.01-216.3(A) ....................200
                31.      COUNT XXXII: Violations of the Washington State Medicaid
                         Fraud False Claims Act, Wash. Rev. Code § 74.66.020(1) ....202
                32.      COUNT XXXIII: Violations of the District of Columbia False
                         Claims Act, D.C. Code § 2-381.02 .........................................205
VII. PRAYER FOR RELIEF ..............................................................................208
VIII. JURY DEMAND .........................................................................................209




                                                    v
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 7 of 218




I.    INTRODUCTION

     1.       For nearly four decades, Defendants GlaxoSmithKline, LLC and

GlaxoSmithKline, plc (collectively, “GSK”) lied to the U.S. Food and Drug

Administration (“FDA”), the government, the medical and scientific communities,

and consumers about the stability of the drug ranitidine (brand name Zantac). In

1981, GSK conducted experiments on ranitidine, showing that it could react to

form a dangerous carcinogen: N-Nitrosodimethylamine (“NDMA”). When the

FDA ordered GSK to disclose all its data about this issue due to the FDA’s

concerns about the chemical structure of the ranitidine molecule, GSK concealed

its data. In fact, GSK fabricated a different study, designed to conceal any NDMA

connection, and then used that study to mislead the FDA and other independent

researchers. GSK knowingly and deliberately lied to the FDA and the government

so that it could get ranitidine approved.

     2.       Ranitidine would not have received FDA approval if GSK did not

commit the acts of fraud described herein, including, but not limited to, the

concealment of the ranitidine-NDMA data, fabrication and submission of false and

misleading data as part of ranitidine’s approval, submission of a false product

labels and summary basis of approvals, submission of false and misleading

supplemental applications for approval without concealing the NDMA issue, and

repeated interactions with the FDA and medical community that failed to disclose


                                            1
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 8 of 218




the NDMA link that, under federal law, GSK was required to disclose.

     3.       The fraud worked. In 1983, the FDA approved the drug, citing the

false data submitted by GSK. And, for nearly forty years, GSK was able to

conceal the connection between ranitidine and NDMA, even after repeatedly

seeing ranitidine product discolor into a yellow oily substance (NDMA is a yellow

oily substance) when exposed to any heat or humidity. Even after studies

emerged—including secret clinical trials—showing that people using ranitidine

had higher levels of NDMA in their stomach fluid and were developing cancer at

an alarming rate, GSK just kept lying to the FDA and government about the safety

and stability of ranitidine.

     4.       The ranitidine molecule begins to decompose into NDMA from the

point of manufacture until it is consumed, exacerbated by heat and humidity.

Every dose of ranitidine, thus, is contaminated with NDMA, render the drug

adulterated, misbranded, worthless, and unfit for human consumption. GSK knew

this before ranitidine was every approved, and concealed this fact from the federal

government.

     5.       Through that fraud GSK made billions. Ranitidine, a drug that

provides no unique benefit as compared to other similar H2-blocker drugs on the

market, like Tagamet (cimetidine), became one of the bestselling drugs in history,

catapulting GSK from a small British pharmaceutical laboratory to one of the most



                                        2
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 9 of 218




powerful drug companies in the world. Riding ranitidine’s success, GSK would go

on to make and sell more blockbusters—leading to criminal convictions and multi-

billion-dollar fines for defrauding the government —but its fraudulent conduct

related to ranitidine remained buried until 2019.

     6.       Everything changed in 2019, when a small laboratory in

Connecticut—the Relator Valisure, LLC—tested ranitidine pills for the presence of

NDMA. Indeed, Relator conducted the standard tests for nitrosamine formation

that GSK had done in 1981, and observed the same results. Ranitidine was

unstable and formed NDMA. However, unlike GSK, who buried the data and lied

to the world about it—Relator disclosed their alarming results to the FDA. Within

months, in response to the very experiments that GSK lied about in 1981, the FDA

investigated and on April 1, 2020 ordered the immediate removal of all ranitidine

products from the market, citing Relator’s experiments. FDA specifically stated

that ranitidine decomposed into NDMA, under regular transport and storage, and

that it would expose users to unsafe levels of NDMA. FDA ordered all products

off the market and that any remaining products left on the market to be destroyed

immediately. No ranitidine has since been permitted for sale in the United States.

     7.       Taxpayers spent billions paying for ranitidine products, even though

those products were not fit for human consumption and exposed users to NDMA.

The FDA would never have permitted ranitidine to be sold—a fact borne out by



                                         3
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 10 of 218




the FDA’s reaction to learning the truth from Relator—and GSK would never have

been able to bilk government-funded programs of billions of dollars in ranitidine

product purchases and reimbursements.

     8.       Specifically, GSK caused numerous false claims to be submitted for

payment from various government-funded programs, like Medicare and Medicaid,

starting in 1983. Every time a government-funded program paid a claim for a

ranitidine product, the claim was false; whether that product was brand name or

generic.

     9.       Factually, each claim submitted to a government-funded program was

false: when claimants requested payment or reimbursement for a ranitidine

product, the drug that was ultimately delivered was not what it purported to be.

The ranitidine products were not safe, effective, or medically reasonable drugs;

they were adulterated, misbranded, and unfit for human consumption (a fact

underscored by the FDA ordering all ranitidine products destroyed once the truth

was exposed by Relator).

     10.      Legally, each claim submitted to a government-funded program was

false because they were premised on express and/or implied false certifications:

when claimants requested payment or reimbursement for a ranitidine product, they

certified that the ranitidine product subject to the payment or reimbursement was,

in fact, an FDA-approved medication (which it was not because it was adulterated,



                                        4
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 11 of 218




misbranded, worthless, and unfit for human consumption), and that the ranitidine

product being purchase was medically reasonable (which it was not because the

drug exposed patients to the dangerous NDMA carcinogen).

     11.     GSK caused each false claims to be submitted by medical providers,

pharmacies, and patients for payment from government-funded programs. But for

GSK’s fraud in concealing the NDMA issue from the federal government,

government-funded programs would never have reimbursed or paid for a single

ranitidine product. This point is underscored by the FDA removing ranitidine from

the market in 2020, after learning the truth from Relator.

     12.     Relator Valisure LLC, on behalf of the United States of America and

the above-captioned Plaintiff States, 1 brings this action against Defendants for

violations of the federal False Claims Act (“FCA”), 31 U.S.C. § 3729 et seq., and




1
  “Plaintiff States” as used herein collectively refers to: The State of California,
The State of Colorado, The State of Connecticut, The State of Delaware, The State
of Florida, The State of Georgia, The State of Hawaii, The State of Illinois, The
State of Indiana, The State of Iowa, The State of Louisiana, The Commonwealth of
Massachusetts, The State of Michigan, The State of Minnesota, The State of
Montana, The State of Nevada, The State of New Jersey, The State of New
Mexico, The State of New York, The State of North Carolina, The State of
Oklahoma, The State of Rhode Island and Providence Plantations (the “State of
Rhode Island”), The State of Tennessee, The State of Texas, The Commonwealth
of Virginia, The State of Washington, and The District of Columbia. “Government
Plaintiffs” as used herein collectively refers to the United States and the Plaintiff
States.

                                         5
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 12 of 218




of the Plaintiff States’ counterpart false claims statutes.2

     13.     This case seeks to hold GSK accountable for defrauding taxpayers for

nearly four decades. Drug companies cannot be permitted to lie and cheat the

FDA, the governments, and the medical and scientific communities, and make jaw-

dropping profit from doing so. There are consequences when a company, through



2
  These statutes, collectively referred to herein as the “State False Claims Acts,”
are: the California False Claims Act, Cal. Gov’t Code § 12650 et seq.; the
Colorado Medicaid False Claims Act, Colo. Rev. Stat. § 25.5-4-304 et seq.; the
Connecticut False Claims Act, Conn. Gen. Stat. Ann. § 4-274 et seq.; the Delaware
False Claims and Reporting Act, Del. Code Ann. tit. 6, § 1201 et seq.; the Florida
False Claims Act, Fla. Stat. § 68.081 et seq.; the Georgia State False Medicaid
Claims Act, Ga. Code Ann. § 49-4-168 et seq.; the Hawaii False Claims Act, Haw.
Rev. Stat. § 661-21 et seq.; the Illinois False Claims Act, 740 Ill. Comp. Stat.
§ 175/1 et seq.; the Indiana False Claims and Whistleblower Protection Act, Ind.
Code § 5-11-5.5-1 et seq.; the Iowa False Claims Act, Iowa Code § 685.1 et seq.;
the Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat. Ann.
§ 46:437.1 et seq.; the Massachusetts False Claims Act, Mass. Gen. Laws ch. 12
§ 5A et seq.; the Michigan Medicaid False Claim Act, Mich. Comp. Laws
§ 400.601 et seq.; the Minnesota False Claims Act, Minn. Stat. § 15C.01 et seq.;
the Montana False Claims Act, Mont. Code Ann. § 17-8-401 et seq.; the Nevada
False Claims Act, Nev. Rev. Stat. § 357.010 et seq.; the New Hampshire False
Claims Act, N.H. Rev. Stat. Ann. § 167:61-b et seq.; the New Jersey False Claims
Act, N.J. Stat. Ann. § 2A:32C-1 et seq.; the New Mexico Medicaid False Claims
Act, N.M. Stat. Ann. § 27-14-1 et seq.; the New York False Claims Act, N.Y. State
Fin. Law § 187 et seq.; the North Carolina False Claims Act, N.C. Gen. Stat. § 1-
605 et seq.; the Oklahoma Medicaid False Claims Act, Okla. Stat. tit. 63, § 5053 et
seq.; the Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-1 et seq.; the
Tennessee Medicaid False Claims Act, Tenn. Code Ann. § 71-5-181 et seq.; the
Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code Ann. § 36.001 et
seq.; the Virginia Fraud Against Taxpayers Act, Va. Code Ann. § 8.01-216.1 et
seq.; the Washington State Medicaid Fraud False Claims Act, Wash. Rev. Code
§ 74.66.005 et seq.; the District of Columbia False Claims Act, D.C. Code § 2-
381.01 et seq.

                                          6
        Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 13 of 218




fraud, steals billions of taxpayer dollars.

      14.    This case is not about whether the NDMA in ranitidine causes cancer.

That issue is at the heart of personal injury lawsuits related to ranitidine causing

individual consumer’s cancer—an issue that has little to do with this lawsuit. This

lawsuit is about GSK’s fraud on the federal and state governments and the money

spent on ranitidine products by governments because of that fraud. Whether

ranitidine increases the risk of cancer in humans is immaterial to this lawsuit.

II.    JURISDICTION AND VENUE

      15.    This Court has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331, as the case asserts a federal question.

      16.    This Court has general personal jurisdiction of this action pursuant to

31 U.S.C. § 3732(a) because Defendants have transacted business in the Eastern

District of Pennsylvania and most of the alleged fraudulent conduct occurred in

this district, including the acts designed to deceive governmental regulators

regarding the ability of ranitidine to form NDMA.

      17.    The Court has personal jurisdiction over Defendants, and venue is

proper in this district, because the False Claims Act provides for service of process

anywhere in the United States, and because Defendants transact business in this

district, and because one or more of the acts committed by Defendants and

proscribed by 31 U.S.C. § 3729 et seq. occurred in this district. 31 U.S.C. §



                                              7
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 14 of 218




3732(a).

     18.     This Court also has general personal jurisdiction over Defendants

because each Defendant has consented to personal jurisdiction in the State of

Pennsylvania by registering to do business within this state. See Mallory v.

Norfolk S. Ry. Co., 600 U.S. 122 (2023).

     19.     This Court also has specific personal jurisdiction over the Defendants

because many of the actions and decisions made by Defendants within the State of

Pennsylvania give rise and relate to the claims asserted in this complaint.

     20.     This Court has supplemental jurisdiction of the State False Claims

Acts claims pursuant to 28 U.S.C. § 1367.

     21.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 31

U.S.C.§ 3732, because Defendants transact business in this District, including with

respect to ranitidine. Ranitidine products have been (1) supplied to Government

Health Care Program recipients, including Medicare and Medicaid recipients, and

(2) the subject of claims for reimbursement by health care providers to

Government Health Care Programs.

     22.     A copy of this Complaint and written disclosures of substantially all

material evidence and information in Relator’s possession were served on the

Government pursuant to Rule 4 of the Federal Rules of Civil Procedure. In

addition, the same has been delivered to the attorneys general (or relevant



                                         8
         Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 15 of 218




official(s)) of each of the Plaintiff States.

       23.    Relator has direct and independent knowledge on which the

allegations are based, is an original source of this information to the United States,

and has voluntarily provided the information to the United States before filing this

action based on the information.

       24.    This suit is not based on prior public disclosures of allegations or

transactions in a criminal, civil, or administrative hearing, lawsuit, investigation,

audit or report, or from the news media. To the extent that there has been any

public disclosure, Relator is an original source under 31 U.S.C. § 3730(e)(4)(B).

       25.    Relator Valisure is an “original source” of the information pursuant to

31 U.S.C. § 3730(e)(4)(B) because Valisure voluntarily disclosed to the

Government the information on which allegations or transactions in a claim are

based prior to public disclosure.

III.    THE PARTIES

       26.    Relator Valisure LLC is a New Haven, Connecticut-based technology

company that provides independent certification using chemical analysis of a

product’s supply chain. Valisure is incorporated in the State of Delaware. Thus,

Valisure is a citizen of Connecticut and Delaware, and not of any other state.

       27.    Defendant GlaxoSmithKline plc is a public limited company

organized under British law and is headquartered in London, England. It is the



                                            9
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 16 of 218




parent company of Defendants’ interconnected corporate structure. It was formed

by the merger of Glaxo Wellcome plc and SmithKline Beecham plc, in 2000.

     28.     GlaxoSmithKline plc, along with its various subsidiaries, is a

continuation of Glaxo Wellcome plc and SmithKline Beecham plc and the various

subsidiaries thereof, and is a successor to the interests and liabilities of these. Both

Glaxo Wellcome plc and SmithKline Beecham plc previously had succeeded to

earlier corporate interests and liabilities, including without limitation those of:

Glaxo plc and Wellcome plc, which merged to form Glaxo Wellcome plc in 1995;

and SmithKline Corp. and Beecham Group plc, which merged to form SmithKline

Beecham plc in 1989.

     29.     Defendant GlaxoSmithKline LLC is a Delaware limited liability

company and has headquarters in Philadelphia, Pennsylvania and Research

Triangle Park, North Carolina. GlaxoSmithKline LLC operates as the United

States subsidiary of GlaxoSmithKline plc. Defendant GlaxoSmithKline, LLC is a

citizen of Delaware, Pennsylvania, and North Carolina. Upon information and

belief, GlaxoSmithKline LLC, in its role as United States subsidiary, has

succeeded to business activities previously performed by various entities

incorporated under United States law, some now no longer in existence, including

without limitation Glaxo Inc. and Glaxo Wellcome Inc.

     30.     As used herein, the terms “GSK” and “Defendants” collectively refer



                                          10
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 17 of 218




to: (1) GlaxoSmithKline plc and its subsidiaries, including without limitation

GlaxoSmithKline LLC; (2) said entities’ predecessors and successors in interest

and liability, including without limitation any such entities specifically identified

herein; and (3) any affiliates of these, including without limitation entities

specifically identified herein that have been involved in the testing, development,

manufacture, marketing, sale, and/or distribution of ranitidine.3

     31.     Together, the entities comprising GSK are in the business of, among

other endeavors, manufacturing, marketing, importing, preparing, and selling

pharmaceutical products distributed throughout the United States, including the

Plaintiff States. These business activities specifically include ranitidine sales that

resulted in prescriptions of ranitidine and, in turn, claims to the Government Health

Care Programs for costs of ranitidine.

     32.     The real parties in interest to the claims in this action are the

Government Plaintiffs, i.e., the United States and its agencies and instrumentalities,

and the Plaintiff States.

     33.     The United States is a Plaintiff to this action. The United States’

interest in this action results from damages that Defendants caused to, among other


3
  Such subsidiaries, predecessors, successors, and affiliates include, in addition to
those already identified above: Glaxo Group Research Limited, Glaxo Research
and Development Limited, Matburn Research Limited, Glaxo Wellcome
Manufacturing Pte. Ltd., Glaxo Group Limited, Glaxo Holdings plc, and
GlaxoSmithKline Services Unlimited, among other entities.

                                          11
        Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 18 of 218




federal entities, the federal Department of Health and Human Services (“DHHS”)

and Centers for Medicare and Medicaid Services (“CMS”), which administer the

Government Health Care Programs known as Medicare and Medicaid, and the

Veterans Administration.

      34.    Each of the Plaintiff States is a Plaintiff to this action. At all times

relevant here, ranitidine products were provided to Medicaid recipients in each

Plaintiff State, and were covered Medicaid benefits under each Plaintiff State’s

Medicaid program (or analog thereof). Such products were also provided to

Medicare recipients in each Plaintiff State, and were covered by taxpayer moneys

administered through CMS.

IV.    BACKGROUND

    A. Ranitidine Product History

      35.    Zantac (ranitidine) was originally discovered and developed by

scientist John Bradshaw on behalf of GSK 4 in 1976.

      36.    The drug belongs to a class of medications called histamine H2-

receptor antagonists (or H2 blockers), which decrease the amount of acid produced

by cells in the lining of the stomach.



4
 Dr. Bradshaw was working for Glaxo Inc. at the time. Glaxo Inc. later merged
with the Wellcome Foundation in 1995 to become Glaxo Wellcome plc. Then, in
2000, Glaxo Wellcome plc merged with Smithkline Beecham plc to form
GlaxoSmithKline plc.

                                          12
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 19 of 218




     37.     In 1977, Smith, Kline, and French (“SKF”) launched cimetidine

(Tagamet)—the first histamine 2 receptor blocker (“H2RA”)—and it was a

tremendous success.

     38.     Eager to get into the lucrative H2RA market, Glaxo (the predecessor

to GSK) rushed Zantac’s approval through the U.S. Food and Drug Administration

(“FDA”)—starting with investigation approval in December 1979, and final

submission of the new drug application (NDA) by February 1982.

     39.     To say that Zantac was an important product for GSK (then Glaxo)

would be an understatement. As one GSK executive put it in 1983:

      [T]he sheer size of this opportunity and the potential rewards from it
      dwarf anything we’ve done so far. It’s not just that Zantac is bigger
      than all our other products put together...it’s bigger than the whole
      company. You’ve all heard the numbers. My mind finds it difficult to
      absorb all those zeroes...especially when I’m salivating so hard.
      (LAUGHTER)
     40.     Zantac was approved by the FDA, pursuant to the NDA process in

1983 (NDA 18-703) and, quickly, became one of GSK’s most successful products,

being the first prescription drug in history to reach $1 billion in sales, which in the

pharmaceutical industry is referred to as a “Blockbuster.”

     41.     In 1993, GSK entered into a joint venture with Pfizer5 to develop an

over-the-counter (“OTC”) version of Zantac. That joint venture led to FDA


5
  The joint venture was between Glaxo Wellcome plc and Warner–Lambert, Inc.
Warner-Lambert was later acquired by Pfizer, Inc. in 2000. For the purposes of
this Complaint, Warner-Lambert will be referred to as Pfizer.

                                          13
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 20 of 218




approval of a 75 mg OTC version of Zantac in December 1995. Zantac 75 OTC

was approved through an NDA process (NDA 20-520).

     42.     In 1997, GSK’s patent on ranitidine expired, and generic ranitidine-

containing drugs entered the market. Despite generic entry, however, brand name

prescription and OTC Zantac continued to be sold. Although sales of brand-name

Zantac declined as a result of generic and alternative products, ranitidine-

containing drug sales remained strong over time, including purchases made by the

United States and Plaintiff States. As recently as 2018, Zantac was one of the top

10 antacid tablet brands in the United States, with sales of Zantac 150 totaling

$128.9 million—a 3.1% increase from the previous year.

     43.     In December 1998, the joint venture between GSK and Pfizer

dissolved. As part of the separation, GSK retained the rights to sell all forms of

Zantac internationally and prescription Zantac in the U.S., while Pfizer retained the

rights to sell OTC Zantac domestically and retained ownership over the Zantac

trademark. Under this agreement, GSK retained control and responsibility over the

prescription Zantac NDA and Pfizer retained control and responsibility over the

OTC Zantac NDA.

     44.     As part of this agreement, Pfizer agreed to pay GSK annual royalties

on OTC sales in excess of $130 million. Thus, GSK continued to have a financial

interest in the sale of OTC Zantac. Additionally, GSK continued to manufacture



                                         14
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 21 of 218




the ranitidine drug substance, also known as active pharmaceutical ingredient

(“API”), for all Pfizer OTC Zantac products.

     45.    In October 2003, Pfizer submitted NDA 21-698 for approval to

market OTC Zantac 150 mg. The FDA approved NDA 21-698 OTC Zantac 150

mg on August 31, 2004.

     46.    In 2004, in addition to GSK, Pfizer began also using ranitidine API

manufactured by Uquifa, located in Barcelona, Spain.

     47.    In December 2006, Pfizer through a divestiture agreement of its

consumer healthcare products to Johnson & Johnson, ultimately transferred all

assets pertaining to its Zantac OTC line of products—including the rights to sell

and market all formulations of OTC Zantac in the United States and Canada, as

well as all intellectual property, research and development, and customer and

supply contracts—to Boehringer Ingelheim Pharmaceuticals, Inc. (“BIPI” or

“Boehringer”). As part of this deal, Boehringer obtained control and responsibility

over all the Zantac OTC NDAs.

     48.    The royalty agreement for GSK was transferred to Boehringer, which

continued to make royalty payments to GSK for OTC sales.

     49.    BIPI also continued to make purchases of API from GSK for it is

OTC products, which lasted until 2010.

     50.     In November 2017, GSK ceased marketing prescription Zantac in the



                                         15
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 22 of 218




U.S., with the last product still in the U.S. set to expire in November 2018.

However, GSK still retains control over the prescription Zantac NDAs.

     51.     As of January 1, 2017, Boehringer sold the rights of OTC Zantac to

Sanofi. As part of this deal, Sanofi obtained control and responsibility over the

OTC NDA and currently retains that control and responsibility.

     52.     To date, the FDA has approved numerous generic manufacturers for

the sale of prescription and OTC ranitidine-containing products through an

Abbreviated New Drug Application (“ANDA”) process. That process relies on the

data presented in the original NDAs submitted by GSK to the FDA. But-for

FDA’s approval of Zantac, no OTC ranitidine or generic prescription ranitidine

products would have been available for purchase in the United States.

   B. NDMA Is a Dangerous Carcinogen

     53.     NDMA is a yellow oily substance that is part of the N-nitrosamine

chemical family.

     54.     Before 1976, NDMA was primarily used in the production of rocket

fuel, rubber, and copolymers. However, in 1976, NDMA was banned, and now it

is only used in research, specifically, to induce genetic damage and cancer in

laboratory experiments as a positive control.

     55.     NDMA is considered the most well-studied chemical in the N-

nitrosamine family.



                                         16
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 23 of 218




     56.    It is generally accepted that NDMA is a carcinogen. In 1978, IARC

reviewed NDMA and classified it as “probable human carcinogen.” IARC based

its conclusion on the overwhelming evidence of animal and cell data (including

human cell data). While there was no human epidemiology for NDMA at that

time, IARC stated that NDMA “should be regarded for practical purposes as if it

were carcinogenic to humans.” IARC has not re-reviewed NDMA since, although

its official listing under the modern IARC classification occurred in 1987. IARC

does not re-review its classifications unless the carcinogen has been nominated and

a committee recommends review. This is a function of IARC focusing on

unknown carcinogens; not well-established carcinogens like NDMA. As NDMA

has been known as a carcinogen for fifty years, and with every regulatory agency

treating it as such, IARC has not re-reviewed NDMA or amended its position that

NDMA should be treated as a human carcinogen.

     57.    Both the FDA and the Environmental Protection Agency (“EPA”)

consider NDMA to be a “probable human carcinogen” in accordance with IARC.

     58.    The Department of Health and Human Service’s Report on

Carcinogens (“ROC”) states that NDMA is “reasonably anticipated to be a human

carcinogen[.]”

     59.    In 1989, the U.S. Department of Health and Human Services’ Agency

for Toxic Substances and Disease Registry (“ATSDR”) assessed the



                                        17
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 24 of 218




carcinogenicity of NDMA and concluded: “it is reasonable to anticipate that

NDMA will be carcinogenic in humans. It is important to recognize that this

evidence also indicates that oral exposures of acute and intermediate duration are

sufficient to induce cancer.” The ATSDR further explained that “it is reasonable to

expect that exposure to NDMA by eating, drinking, or breathing could cause

cancer in humans.”

     60.       Recently, in 2023, the ATSDR revised its toxicological profile on

NDMA, systematically reviewing data on NDMA. Although the ATSDR no

longer makes classifications, it noted “NDMA’s carcinogenicity is widely

recognized.”

     61.       In 2002, the World Health Organization (“WHO”), of which IARC is

part, issued a chemical assessment document for NDMA, and stated (emphasis

added):

      Based upon laboratory studies in which tumours have been induced in
      all species examined at relatively low doses, NDMA is clearly
      carcinogenic. There is overwhelming evidence that NDMA is
      mutagenic and clastogenic. .… Qualitatively, the metabolism of
      NDMA appears to be similar in humans and animals; as a result, it is
      considered highly likely that NDMA is carcinogenic to humans,
      potentially at relatively low levels of exposure.

     62.       In 2002, Canadian regulators concluded that “owing to the

considerable evidence of carcinogenicity of NDMA in laboratory species, evidence

of direct interaction with DNA consistent with tumour formation, as well as the



                                          18
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 25 of 218




apparent lack of qualitative species-specific differences in the metabolism of this

substance, NDMA is highly likely to be carcinogenic to humans.”

     63.      In 2020, when the FDA ordered the immediate withdrawal of all

ranitidine from the market due to finding NDMA, the FDA stated that “NDMA is a

probable human carcinogen (a substance that could cause cancer).” The FDA

specifically explained that “sustained higher levels of exposure may increase the

risk of cancer in humans.”

     64.      The dangers of NDMA are recognized by the Defendants. On

September 25, 2019, GSK’s occupational toxicologists prepared a Hazard

Assessment Report on NDMA. This document was created “to protect the

scientists and anybody handling” NDMA in the laboratory. GSK’s scientists

reviewed the literature on NDMA and repeatedly indicated that NDMA is a human

carcinogen:

      There appear to be no qualitative differences in metabolism of NDMA
      between humans and laboratory animals, and there is no reason to
      believe that humans would respond qualitatively differently.

      N-Nitrosodimethylamine (NDMA) is reasonably anticipated to be a
      human carcinogen based on sufficient evidence of carcinogenicity
      from studies in experimental animals.
      …

      There is overwhelming evidence that NDMA is mutagenic and
      clastogenic. … Positive results have been observed in human as well
      as rodent cells.
      …



                                         19
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 26 of 218




      Qualitatively, the metabolism of NDMA appears to be similar in
      humans and animals; as a result, it is considered highly likely that
      NDMA is carcinogenic to humans, potentially at relatively low levels
      of exposure.
      …

      NDMA is a genotoxic carcinogen, and exposure should be reduced to
      the extent possible.

     65.     GSK has specifically used NDMA to induce tumors in laboratory

animals. In an effort to test whether a specific testing method was capable of

detecting liver tumors, GSK researchers used NDMA as a positive control, noting

that “[p]reliminary work using … N-nitrosodimethylamine (NDMA) as

hepatotoxins generated progressive liver lesions of varying severity in a dose-

dependent manner.” 6 Thus, even GSK used NDMA as part of its own method

development because it was such a potent carcinogen.

     66.     Because NDMA has been studied for so long, it is also understood

how NDMA, mechanistically, causes cancer in cells. Unmetabolized NDMA is,

itself, harmless. However, in the body, NDMA is quickly metabolized by an

enzyme called cytochrome p450. As the NDMA molecule breaks down, it creates

formaldehyde and a “methyldiazonium ion.” Both of these metabolites are

genotoxic, especially the methyldiazonium ion, which is known to cause DNA



6
  Giffen P.S., et al., Alpha-glutathione S-transferase in the assessment of
hepatotoxicity--its diagnostic utility in comparison with other recognized markers
in the Wistar Han rat, 30 TOXICOL PATHOL. 3, 365–372 (2002).

                                        20
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 27 of 218




adducts, i.e., bind to genetic material and cause mutations.

     67.     When NDMA is ingested by humans, nearly all of it is metabolized

and converted into its genotoxic metabolites. Although human experimentation

with NDMA is considered unethical, one experiment was done in the 1980s to

confirm the rapid and near-complete metabolization of NDMA. In the

Spiegelhalder study, researchers noted: “[i]t is well accepted that exposure to

nitrosamines must be considered to be a cancer risk. To calculate this risk it is

necessary to estimate total exposure.”7 To explore human metabolism of NDMA,

volunteers ingested beer, orange juice, and orange juice with 6% alcohol that were

spiked with known quantities of NDMA. When urine was collected, the subjects

who consumed the NDMA-spiked orange juice without alcohol had no detectable

NDMA in the urine, indicating that all the NDMA had been metabolized.

Conversely, 0.5 – 2.5% of the NDMA was recovered in the urine of volunteers that

consumed alcohol. This makes sense as alcohol (ethanol) is known to

competitively inhibit the cytochrome p450 enzyme that is also used to metabolize

NDMA.

     68.     The absorption and metabolism of NDMA is well studied, and its

mechanism of causing DNA damage is well characterized. NDMA is mutagenic



7
 Spiegelhalder, B, et al., Urinary Excretion of N-Nitrosamines in Rats and
Humans, 41 IARC SCI. PUB. 443-449 (1982).

                                         21
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 28 of 218




and/or genotoxic (depending on the assay used) in virtually all systems tested.

Indeed, NDMA is so effective and consistent in causing genetic damage that it is

routinely used as a positive control in genotoxicity studies.

     69.     In every study, in every species, and in every sex, NDMA caused

tumors to develop.

     70.     Numerous human epidemiological studies have been conducted

involving both occupational and dietary exposure to NDMA. And, the greater

weight of the evidence is clear: NDMA exposure causes cancer in humans:

      A.     De Stefani, et al., Dietary Nitrosodimethylamine and the Risk of Lung

             Cancer: A Case-Control Study from Uruguay, 5 CANCER EPI.

             BIOMARKERS & PREVENTION 679, 679–682 (1996).

      B.     Goodman, et al., High-Fat Foods and the Risk of Lung Cancer, 3 EPI.

             4, 288-299 (1992).

      C.     Hidajat, et al., Lifetime exposure to rubber dusts, fumes and N-

             nitrosamines and cancer mortality in a cohort of British rubber

             workers with 49 years follow-up, 76 OCCUP. ENV. MED. BRIT. MED. J.,

             250, 250–258 (2019).

      D.     Jakszyn, et al., Endogenous versus exogenous exposure to N-nitroso

             compounds and gastric cancer risk in the European Prospective

             Investigation into Cancer and Nutrition (EPIC-EURGAST) study, 27



                                         22
 Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 29 of 218




     CARCINOGENESIS 7, 1497–1501 (2006)

E.   Jakszyn, et al., Red Meat, Dietary Nitrosamines, and Heme Iron and

     Risk of Bladder Cancer in the European Prospective Investigation

     into Cancer and Nutrition (EPIC), 20 CANCER EPI. BIOMARKER &

     PREVENTION 3, 555–559 (2011).

F.   Jakszyn, et al., Nitrosamines and Heme Iron and Risk of Prostate

     Cancer in the European Prospective Investigation into Cancer and

     Nutrition, 21 CANCER EPI. BIOMARKER & PREVENTION 3, 547–551

     (2012).

G.   Keszei, et al., Dietary N-nitroso compounds, endogenous nitrosation,

     and the risk of esophageal and gastric cancer subtypes in the

     Netherlands Cohort Study, 97 AMER. J. CLIN. NUTRITION 135, 135–46

     (2013).

H.   Knekt, et al., Risk of Colorectal Cancer and Gastro-Intestinal

     Cancers After Exposure to Nitrate, Nitrite, and N-Nitroso

     Compounds: A Follow Up Study, 80 INT. J. CANCER 852, 852–856

     (1999).

I.   Larsson, et al., Processed meat consumption, dietary nitrosamines and

     stomach cancer risk in a cohort of Swedish women, 119 INT. J.

     CANCER 915, 915–919 (2006).



                                23
 Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 30 of 218




J.   La Vecchia, et al., Nitrosamine intake and gastric cancer risk, 4 EUR.

     J. CANCER PREV. 461, 461–474 (1995).

K.   Loh, et al., N-nitroso compounds and cancer incidence: the European

     Prospective Investigation into Cancer and Nutrition (EPIC)–Norfolk

     Study, 93 AMER. J. CLIN. NUTRITION 1053, 1053–61 (2011).

L.   Palli, et al., Dietary patterns, nutrient intake and gastric cancer in a

     high-risk area of Italy, 12 CANCER CAUSES AND CONTROL 163, 163–

     172 (2001).

M.   Pobel, et al., Nitrosamine, nitrate and nitrite in relation to gastric

     cancer: A case-control study in Marseille, France, 11 EUR. J. EPI. 67,

     67–73 (1995).

N.   Rogers, et al., Consumption of Nitrate, Nitrite, and

     Nitrosodimethylamine and the Risk of Upper Aerodigestive Tract

     Cancer, 4 CANCER EPI. BIOMARKER & PREVENTION 29, 29–36 (1995).

O.   Ronco, et al., Meat Consumption, Animal Products, and the Risk of

     Bladder Cancer: A Case-Control Study in Uruguayan Men, 15 ASIAN

     PAC. J. OF CANCER PREVENTION 5805, 5805–5809 (2014).

P.   Seyyedsalehi, et al., Association of Dietary Nitrate, Nitrite, and N-

     Nitroso Compounds Intake and Gastrointestinal Cancers: A

     Systematic Review and Meta-Analysis, 11 TOXICS 190, 1-13 (2023).



                                  24
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 31 of 218




      Q.     Song, et al., Dietary Nitrates, Nitrites, and Nitrosamines Intake and

             the Risk of Gastric Cancer: A Meta-Analysis, 7 Nutrients 9872, 9872–

             9895 (2015).

      R.     Zheng, et al., Dietary N-Nitroso Compounds and Risk of

             Hepatocellular Carcinoma: A USA-Based Study, 74 HEPATOLOGY 6,

             3161–3173 (2021).

      S.     Zhu, et al., Dietary N-nitroso compounds and risk of colorectal

             cancer: a case-control study in Newfoundland and Labrador and

             Ontario, Canada, 111 BRIT. J. NUTRITION 6, 1109–1117 (2014).

     71.     The World Health Organization has recommended that long-term total

daily ingested NDMA amounts from all sources in an average male adult should be

less than 200 ng, because of a 70-year estimated risk of cancer increase.

     72.     It is estimated that the average adult consumes 100 to 110 ng of

NDMA daily in the water and food supply. This means that ingesting more than

100 ng of NDMA daily from prescription drugs (either from contaminated product

ingestion or conversion in the stomach) would bring the daily ingested amount of

NDMA to above 200 ng and significantly increase the risk of cancer.

     73.     FDA guidelines limit NDMA exposure from daily medications to no




                                        25
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 32 of 218




more than 96 ngs.8

      C.     Ranitidine Is an Unstable Molecule and Will Naturally Degrade in
             NDMA, Accelerated by Heat and Humidity, Exposing Users to
             Illegal Levels of NDMA Upon Ingestion

     74.     Ranitidine, is an amine-based pharmaceutical, that has been shown to

decompose to N-nitrosodimethylamine (NDMA):




     75.     The ranitidine molecule contains the necessary tertiary amine group

and a nitrosation source (both highlighted in red in Figure above) to form NDMA. 9

Using suitably isotopically labeled ranitidine hydrochloride, GSK researchers have

confirmed the formation of NDMA solely from an intermolecular reaction of

ranitidine hydrochloride without involvement of impurities. They also identified

factors that influence the rate of degradation to include heat and humidity.

     76.     Testing done by GSK on both ranitidine drug substance batches



8
  U.S. Food & Drug Administration, M7(R1) Assessment and Control of DNA
Reactive (Mutagenic) Impurities in Pharmaceuticals To Limit Potential
Carcinogenic Risk, Guidance for Industry (March 2018).
9
  King, et al., Ranitidine Investigations into the Root Cause for the Presence of
N‑Nitroso‑N,N‑dimethylamine in Ranitidine Hydrochloride Drug Substances and
Associated Drug Products, ORG. PROCESS RES. DEV., A-L (Oct. 2021).

                                         26
         Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 33 of 218




manufactured by different suppliers, including GSK, and various finished

ranitidine products, show high levels of NDMA. 10 For the ranitidine drug

substance, they observed NDMA levels of up to greater than 40 mcg/g (40 ppm).

To put this in context, each 150 mg ranitidine pill contains 168 mg of ranitidine

hydrochloride drug substance, and each 300 mg pill contains 336 mg of ranitidine

hydrochloride drug substance. If the underlying drug substance contained 40 ppm

of NDMA (as observed in GSK testing), a 150 mg ranitidine pill would contain

6,720 ngs of NDMA. And a 300 mg pills would contain 13,440 ngs of NDMA.

This is 140 times the FDA limit of NDMA. For finished drug product, GSK

observed up to 7.6 mcg/g (7.6 ppm) in film coated tablets, which equals 2.28 mcg

of NDMA in a 300 mg pill, or 2,280 nanograms. That would be 23 times the FDA

limit. GSK tested 221 tablets. Of these, 209 (94.6%) contained NDMA levels in

excess of the FDA’s acceptable daily limit.

       77.     The FDA published testing results for pills that had been submitted by

drug sponsors for testing. 11 FDA tested 29 tablets and observed NDMA up to 2.85

ppm, or 855 nanograms in a 300 mg pill. Overall, 12 of 29 (41%) of the tested

pills were above the acceptable daily limit.

       78.     The Therapeutic Goods Administration (TGA) of the Australian



10
     Id.
11
     U.S. Food & Drug Administration, Laboratory Tests: Ranitidine (Nov. 2019).

                                          27
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 34 of 218




government tested 135 batch samples of ranitidine. 12 The TGA found NDMA

levels up to 14 ppm, or 4,200 nanograms in a 300 mg dose. Of the batches, 109 of

135 (89%) were in excess of the FDA’s acceptable daily limit.

     79.    The South Korean Ministry of Food and Drug Safety tested 269

ranitidine products in 2019. They observed seven products with NDMA levels as

high as 53.50 ppm. 13 With a maximal daily dose of ranitidine in Korea of 600 mg,

at 53.5 ppm, that means daily use of ranitidine products could expose patients to

32,100 ngs of NDMA in a single day—334 times the FDA’s acceptable daily limit.

     80.    The European Medicines Agency (“EMA”) issued an Assessment

Report in September 2020. The EMA did not, itself, test any finished product, but

indicated that various drug makers had submitted testing results. According to the

EMA, “[a]lmost for all drug products tested so far, NDMA has been identified in

levels above the current limit of 0.16 ppm[.]” The EMA confirmed that this

degradation was accelerated by heat and humidity.

     81.    Emery Pharma, a research and development laboratory in Alameda,

California, conducted the most robust testing of finished ranitidine product. A

total of 761 pills were tested. There were only 4 batches with NDMA levels that



12
   Australian Government, Therapeutic Goods Administration, Contamination of
ranitidine medicines with the nitrosamine NDMA (Sept. 2019).
13
   Kim, et al., Effect of Ranitidine Intake on the Risk of Gastric Cancer
Development, 9 HEALTHCARE 1071, 1–9 (2021).

                                        28
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 35 of 218




were lower than the FDA’s NDMA acceptable daily intake of 96 nanograms. For

unexpired tablets produced by drug makers, including GSK, the mean NDMA

level for a 150 mg dose was 1,576.3 nanograms. For expired tablets produced by

drug makers, including GSK, and tested by Emery, the mean NDMA level for a

150 mg dose was 2,374.3 nanograms. For all tablets, the mean NDMA level for a

150 mg dose was 1,954.2 nanograms. The range of average NDMA levels found

in the tablets was from 49.3 nanograms/150 mg to 28,052.8 nanograms/150 mg.

This range is consistent with testing done by GSK on ranitidine drug substance and

finished product.

     82.    Abe Y, et al., (2020) stored commercially available ranitidine reagent

powders and formulations under various conditions. 14 When ranitidine tablets

from two different brands were stored under accelerated condition (40˚C with 75%

relative humidity) for up to 8 weeks, the amount of NDMA in them substantially

increased from 0.19 to 116 ppm (57 ng to 34,800 ng in 300 mg dose) and from

2.89 to 18 ppm (867 ng to 5,400 ng in 300 mg dose), respectively.

      D.    Ranitidine Breaks Down into NDMA in the Stomach, Exposing
            Users to Endogenously Generated NDMA

     83.    There is also substantial evidence that ranitidine use leads to



14
  Abe, et al., Temperature-Dependent Formation of N-Nitrosodimethylamine
during the Storage of Ranitidine Reagent Powders and Tablets, 68 CHEM. PHARM.
BULLETIN 10, 1008–1012 (2020).

                                        29
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 36 of 218




endogenous formation of NDMA. Animal, human, and in vitro studies have

demonstrated that ranitidine interacts with sodium nitrate in gastric fluid, leading

to the formation of up to hundreds of thousands of ngs of NDMA. Although such

endogenous formation is difficult to quantify, its occurrence in humans is well

established by a robust record of scientific evidence spanning four decades.

     84.     Numerous scientific studies have been conducted to assess the

association of ranitidine with cancer. Those studies, however, have not be able to

specifically quantify the amount of NDMA exposure and, thus, have limitations.

Nonetheless, numerous reliable human epidemiological studies have shown a clear

association between use of ranitidine and the development of bladder, breast,

colorectal, esophageal, liver, lung, pancreatic, prostate, and stomach/gastric cancer.

      E.     For Nearly Four Decades GSK Concealed the Link Between
             Ranitidine and NDMA, Until Relator Valisure Blew the Whistle
             and the FDA Pulled Ranitidine Off the Market

     85.     From the very outset of ranitidine development, GSK was aware that

ranitidine was an unstable molecule that could degrade into NDMA. GSK

concealed that fact, which was not revealed to the world until Relator published its

testing data in September 2019 (after first disclosing this information to the United

States earlier in 2019). Within months of Relator’s disclosure, the FDA

investigated the issue and ordered all ranitidine products off the market. The

following paragraphs detail how GSK committed this fraud, caused millions of



                                         30
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 37 of 218




Americans to be exposed to a genotoxic carcinogen without their consent, leading

the United States and the Plaintiff States to pay billions for ranitidine products that,

absent the fraud, should never have been on the market and were, as marketed,

adulterated, misbranded, and worthless.

      1. In the 1970s, the Scientific Community Grew Increasingly
         Concerned with the Ability of Pharmaceutical Compounds to
         Nitrosate and Form into NDMA, Leading to Recalls of Drugs

     86.     Methapyrilene is an antihistamine that was developed in the 1950s

that was effective at causing drowsiness—it was used to treat insomnia. In the

1970s, it was discovered that the drug caused liver tumors in rats. Researchers

realized that the drug, due to its amine chemical structure, was capable of

interacting with a nitosating agent, like sodium nitrite (commonly found in the

human stomach), to form NDMA. The FDA pulled the drug off the market in

1978 following these discoveries. This prompted researchers to begin studying

how secondary and tertiary amine drug products could form nitrosamines,

especially in the presence of a nitro group like sodium nitrite.15


15
  William Lijinsky, et al., Carcinogen Dimethylnitrosamine Produced In Vivo
from Nitrite and Aminopyrine, 236 NATURE NEW BIOL. 177, 177–78 (1972);
William Lijinsky et al., Carcinogenic Nitrosamines Formed by Drug/Nitrite
Interactions, 239 NATURE 165, 165–67 (1972); G.S. Rao et al., Drug-Nitrite
Interactions: Formation of N-Nitroso, C-Nitroso, and Nitro Compounds from
Sodium Nitrite and Various Drugs Under Physiological Conditions, 64 J. PHARM.
SCI. 9, 1579–1581 (1975); see also A. Sakai et al., Formation of Volatile
Nitrosamines by Drug-Nitrite Interactions Under Physiological Conditions, 75
JAPAN J. CANCER RES. 245, 245–52 (1984).

                                          31
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 38 of 218




     87.     In 1980, IARC published a monograph where it raised serious

concerns about the ability of nitrosatable drugs to form nitrosamines, including

NDMA: “The formation of N-nitroso compounds is theoretically possible with all

compounds that contain amino groups. Secondary amines react directly; tertiary

and, in some cases, primary amines may react by more complicated mechanisms.”

IARC explained that because the “formation of N-nitroso compounds from

nitrosatable amine precursors and nitrosating agents, such as nitrite or nitrous

gases, is not usually taken into account in carcinogenicity tests of the parent

compound, additional investigations are necessary to evaluate this possible

hazard.” IARC explained that “If valid comparisons are to be made, the reactions

must be carried out under standard conditions for set times, and the identity and

yield of N-nitroso compounds established by mass spectrometry or other

appropriate methods. The WHO Expert Group recommended a ‘Nitrosation Assay

Procedure’ (NAP test),” which would help elucidate the ability of drug compounds

to react and form nitrosamines.

     88.     The NAP test has since become the standard method for assessing a

molecule’s affinity to nitrosate and form NDMA.

      2. In the 1980s, before Ranitidine Was Approved, FDA Raised
         Concerns about the Ability of Ranitidine to Nitrosate and Form
         Nitrosamines

     89.     Shortly after the FDA gave investigational approval, concerns arose



                                         32
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 39 of 218




about the possibility of ranitidine being carcinogenic due to nitrosation.

        90.   On May 2, 1980, GSK scientists met with the FDA. During the

meeting, the “FDA voiced their concern about the nitrosation potential of

ranitidine.” And even after GSK provided background information about the work

it had done in this regard, it “did not allay the FDA’s concern.” Instead, FDA

“urged that a comprehensive description be sent to the FDA describing the exact

details and conditions under which the experiments were carried out and this

would be a factual report without editorialization.” GSK agreed to provide that

data.

        91.   A few months later, concerns about nitrosation and ranitidine also

increased among investors. On November 1, 1980, a stockbroker issued a “Special

Report” titled “Ranitidine – Cause for Concern?” The Special Report began by

discussing how ranitidine would take on “considerable importance in determining

Glaxo’s future revenue, especially in the key US market.” The Special Report

noted that cimetidine and ranitidine were chemically similar, and that “cimetidine

is capable of being nitrosated by nitrites under the acidic conditions of the stomach

and nitroso compounds (especially N-nitroso compounds) are known to be

carcinogenic[.]” It also noted that long-term use “leads to change in the types of

bacteria which colonize the gut” specifically, an increase in “certain bacteria which

reduce nitrate … to nitrite, thus leading to an increased likelihood of nitrosation.”



                                         33
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 40 of 218




The Special Report notes that ranitidine “is very easily nitrosated but forms C-

nitroso compound which is not suspected of carcinogenic potential. However,

under forcing conditions a second nitroso group can be inserted into the ranitidine”

that “could be potentially harmful[.]” The Special Report finishes with a “cause

for concern” about whether concerns about the carcinogenicity of ranitidine “could

affect sales of ranitidine once it is marketed.”

     92.     In response to this Special Report, GSK’s public relations executives

stated “it would be unwise to at this stage to over-react to this particular circular …

we will take every opportunity to put the company’s view to media and analysts.

Group PR … will be watching the situation very closely with a view to proposing

rapid defensive action should the position deteriorate.” Glaxo’s Drs. R. T. Brittain

and D. Jack (important later) were specifically copied on the memo.

     93.     Thus, in the span of a few months, both the FDA and the investment

market had taken notice of a potential issue with ranitidine to nitrosate and form a

nitrosamine. And, GSK committed to providing all data about its findings to the

FDA, but as alleged herein, deliberately failed to do so.

      3. In Early 1980s, Scientists Raise Concern about the Ability of
         Cimetidine to Nitrosate Into Nitrosamines

     94.     The similarities between cimetidine and ranitidine are not by accident.

Cimetidine works by physically blocking the H2 receptors found in gastric parietal

cells, which then prevents its activation. This, in turn, prevents the production of

                                          34
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 41 of 218




stomach acid. Because the drug works structurally, Glaxo was able to develop

ranitidine by mimicking cimetidine’s molecular structure. Glaxo refined the

cimetidine model by replacing the imidazole ring of cimetidine with a furan ring

with a nitrogen-containing substituent. This is why, chemically, cimetidine and

ranitidine are very similar.

     95.     Both molecules have a dimethylamine (“DMA”) component in them.

This means, when given an external source of nitro, it can react to form a

nitrosamine. However, ranitidine, unlike cimetidine, also has a nitro group in the

molecule itself. This is why ranitidine, as opposed to cimetidine, will form NDMA

on standing, through an intermolecular interaction, without any addition of an

external nitro source.

     96.     Before the approval of ranitidine, research on cimetidine had already

revealed the danger of N-nitrosamine formation. In 1981, a study by a team of

British researchers published in The Lancet found that people who took cimetidine

had significantly higher levels of nitrosamines in their gastric juice. 16 The

researchers believed this was a function of the ability of long-term use of

cimetidine to impact the PH levels in the stomach which, in turn, allows the growth

of specific bacteria that convert nitrates into nitrites. This greater amount of



16
  Reed et al., Effect of Cimetidine on Gastric Juice N-Nitrosamine Concentration,
318 LANCET 8246, 553–556 (1981).

                                          35
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 42 of 218




stomach nitrite levels could then interact with cimetidine, leading to the formation

of carcinogenic nitrosamines.

      4. In 1981, GSK’s Experiments Reveal that Ranitidine forms NDMA

      97.    In the first half of 1981, GSK specifically acknowledged the risk of

nitrosation and cancer internally. Dr. L.E. Martin sent a report, covering six

months prior to June 1981, to Dr. Brittain (copying various GSK scientists

including Drs. M. Harris and D. Poynter). Dr. Martin was the “Head” of GSK’s

“Biochemical Pharmacology Department” with over 30 researchers reporting to

him (including, among others, Dr. R. Tanner). In this report, Dr. Martin noted that

“[c]oncern is still expressed by some physicians as to whether treatment with H2

receptor antagonists for long periods may increase the incidence of stomach

cancer. It has been suggested that this increase in stomach cancer may be caused

by N-nitroso compounds.” This “concern” mirrors the issues being raised

concerning ranitidine’s close chemical relative, cimetidine. The report stated

“Smith, Kline & French” which made cimetidine “and ourselves are having to give

considerable through to evaluating the role of nitrite in the diet….A study is in

progress in which the in vitro nitrosation of ranitidine and cimetidine are being

compared in human gastric juice.” The results were reported in the next six-month

internal report, circulated amoung GSK executives in December 1981—eighteen

months years before any FDA approval of ranitidine.



                                         36
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 43 of 218




      98.    Specifically, Dr. Martin reported to Dr. Brittain (also copying Drs. M.

Harris and Poynter) about a study titled “Formation of N-Nitrosodimethylamine

[NDMA] from Ranitidine.” Dr. Martin notes that “SKF reported to [GSK] that

they had observed the formation of N-nitrosodimethylamine [NDMA] from

ranitidine.” He explained, drawing on well-established principles of organic

chemistry, that “[r]anitidine is a tertiary amine and therefore when incubated under

strongly acid conditions with high concentrations of sodium nitrite could react with

the formation of N-nitrosodimethylamine.” So, “a study was undertaken on the

formation of N-nitrosodimethylamine [NDMA] under the WHO (NAP)

conditions.” GSK, using gas chromatography / mass spectrometry, performed the

NAP test, using 10 mmol of ranitidine and 40mmol of nitrite and “found that about

2% of the ranitidine present [] was converted into N-nitrosodimethylamine.” The

experiment yielded 144 µgs of NDMA, or 144,000 ngs, from only 31.5 mg of

ranitidine. When done with lower levels of nitrite, they did not see NDMA. This

summary of the experiment was not shared with the FDA, even though FDA had

already urged, and GSK agreed, to provide “a comprehensive description …

describing the exact details and conditions under which the experiments were

carried out” as it relates to the nitrosation of ranitidine into nitrosamines.

      99.    To put this result in context, this percent yield of NDMA formation

was 25 times greater than methapyrilene (which had a yield of 0.08% under the



                                           37
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 44 of 218




NAP test), which had three years prior, been pulled off the market out of concern

of NDMA formation under the same conditions of experiment.

      5. Independent Researchers Raise Concern about Nitrosation of
         Ranitidine and GSK Misleads Them

     100.    In October 1981, GSK coordinated an event called the “Second

International Symposium on Ranitidine,” which included presentations of fifty-

four different research papers from hundreds of doctors and scientists around the

world. The event was an opportunity for GSK to frame the safety debate

concerning ranitidine, including reinforcing its narratives that NDMA formation

was impossible, to frustrate any direct search for nitrosamine formation.

     101.    At the event, GSK presented an article authored by a group of its

scientists that set forth the bases for its theory of how ranitidine metabolizes in the

body—however, this theory concealed any mention of NDMA formation, even

though GSK’s recent experiments specifically identified NDMA formation.

     102.    GSK scientists also presented a paper17 in which GSK set forth its

defense on why researchers should not bother to study nitrosation concerns:

      The possibility of nitrosation reactions being of potential significance
      in terms of the formation of a carcinogen has been considered. It is
      important to realize that the rodents used were known to have nitrate-
      reducing bacteria in their stomachs and that they were ingesting large
      quantities of nitrate and nitrite known to be comparable to those
      ingested by man. Conditions of rodent stomach were therefore such
      that nitrosation reactions were possible.


 Poynter, D. et al., Evaluation of Ranitidine Safety, PROC. OF 2D INT’L SYMP. ON
17

RANITIDINE, 56 (Kenneth G. Wormsley et al. eds., 1981).

                                          38
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 45 of 218



      …
      Ranitidine, the metabolites formed from it in man and the products
      that might be formed by its interaction with nitrous acid under
      physiological conditions in man have all been investigated in a
      variety of tests. There is no reason to suppose that ranitidine in
      itself or the products formed from it in man will present a
      carcinogenic risk.


     103.    This statement was materially false and misleading when stated,

because GSK knew that there was a real danger of NDMA formation. GSK

intended for its statement to cut off debate and prevent investigation of the issue.

     104.    This, however, did not stop independent researchers from raising

alarm about the potential nitrosation of ranitidine. In September 1981, Italian

researchers Dr. De Flora and Dr. Brambilla, reached out to GSK about experiments

they were conducting regarding the nitrosation of ranitidine. It is unknown if GSK

immediately responded to them.

     105.    Then, on October 31, 1981, Dr. De Flora, published an abstract in the

Lancet, titled “Cimetidine, Ranitidine, and their Mutagenic Nitroso Derivatives.” 18

Dr. De Flora reported on experiments with ranitidine, that showed “preincubation

with nitrite in human gastric juice from untreated individuals (60min at 37°C) or

simply acidification of nitrite-ranitidine mixtures results in toxic and mutagenic

effects in bacteria.” Dr. De Flora explains that “ranitidine reacts with nitrite at



18
  De Flora, et al., Cimetidine, ranitidine, and their mutagenic nitroso derivatives,
2 LANCET 8253, 993–994 (1981).

                                          39
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 46 of 218




lower doses than cimetidine[.]” This, chemically, makes sense, because ranitidine

contains its own nitro group within the molecule. He goes on to state that these

experiments were only in vitro but that “the predictive value of these in vitro tests

is recognized and it would seem prudent to avoid nitrosation as far as possible by,

for example, suggesting a diet low in nitrates and nitrites, by asking patients not to

take these at times close to (or with) meals, or by giving inhibitors of nitrosation

such as ascorbic acid.” Dr. De Flora explained that nitrosated ranitidine was

mutagenic because it was converting into a nitrosamine, but had not yet identified

what that specific nitrosamine was, i.e., NDMA.

       106.    Dr. Brittain, who not only had been put on notice of the potential

impact to sales of ranitidine if it were shown that it could nitrosate into a

nitrosamine like NDMA just a year prior, but was aware of GSK’s nitrosation

studies with ranitidine and the link to NDMA, published a response two weeks

later (Drs. Martin, Harris, and Poynter were co-authors). 19 This study allowed

GSK to deflect any concerns about nitrosation and NDMA and derail the FDA and

independent researchers from making the connection.

       107.    In the response to Dr. De Flora, GSK indicated that its “detailed

investigations can, we believe, place in perspective [Dr. De Flora’s] findings in

terms of the safety of ranitidine in man.” GSK stated that “we were obviously


19
     Brittain, R.T., et al., Safety of ranitidine. 2 LANCET 8255, 1119 (1981).

                                            40
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 47 of 218




concerned as to whether or not a mutagenic N-nitroso derivative of ranitidine could

be formed in the stomach.” And, they explained that “if the concentration of

sodium nitrite was increased to 40mmol/1 a further reaction occurred whereby an

N-nitroso nitrolic acid derivative was formed (figure). This latter product was

mutagenic” and “is unstable and rapidly reverts to the non-mutagenic nitrolic acid

derivative except in the presence of excess nitrous acid.” Importantly, GSK

makes no mention of NDMA, which they knew, based on their own experiments,

would form under these exact conditions, which they had already studied. Thus,

GSK explained, “[t]here can be little doubt that the product formed under the

conditions of De Flora’s experiment … is the N-nitroso nitrolic acid derivative of

ranitidine.” Even through Drs. Brittain, Martin, Harris, and Poynter knew that

ranitidine could react with high levels of nitrite (specifically at 40 mmol) under the

NAP test to form high levels of NDMA, GSK did not mention NDMA. This is

remarkable considering how well-established it was that NDMA was a genotoxic

and mutagenic nitrosamine. Failing to disclose this information to Dr. De Flora

and the rest of the medical community was misleading. Indeed, they specifically

stated that mutagenic compound formed in Dr. De Flora’s experiment was, with

“little doubt,” a N-nitroso nitrolic acid derivative that quickly reverts to non-

mutagenic nitrolic acid. GSK deliberately misled the public about their findings,

diverting concerns regarding nitrosation away from NDMA and toward a N-nitroso



                                          41
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 48 of 218




nitrolic acid derivative.

        108.   The results of the Brittain “N-nitroso nitrolic acid derivative”

experiments were conveyed to the FDA as part of the original NDA for ranitidine

prior to any FDA approval. However, GSK deliberately did not share the NDMA

study or data related to NDMA.

        109.   Internal documents confirm that Dr. Brittian deliberately withheld

information in his response to Dr. De Flora and did not identify all the resulting

products formed by nitrosating ranitidine.

        110.   In December 1981, GSK finally decided to respond to the inquiries

from Drs. De Flora and Brambilla. The researchers requested samples of the

supposed nitrosation compounds that GSK has claimed to have isolated. However,

Dr. Brittian cautioned that he did not want to disclose the products that were

formed by nitrosated ranitidine to the researchers and, instead, work to convince

them of ranitidine safety. He indicated that his colleagues, Drs. Jack and Poynter

would/should handle. At no time did GSK tell these researchers about the NDMA

data.

         6. GSK Published a Nitrosamine Testing Assay Designed to Conceal the
            Instability of Ranitidine

        111.   In early 1981, GSK developed and published a standard assay




                                           42
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 49 of 218




technique for ranitidine. 20 Glaxo selected a radioimmunoassay for the detection of

ranitidine, even though the industry standard for decades had been chromatography

mass spectrometry. Industry standard tests could have revealed the instability of

ranitidine. As compared to the industry standard tests, GSK’s chemically gentle

assay was significantly less specific—its only advantage is it conceals ranitidine’s

molecular instability and does not show or test for small polar molecules like

NDMA.

     112.    GSK’s publication states up front that the radioimmunoassay contains

“cross reactivity” with other ranitidine metabolites, making it significantly inferior

to industry-standard chromatography mass spectrometry (“MS”) tests that easily

separate metabolites:

      The development of a radioimmunoassay for ranitidine in biological
      fluids is described. The sensitivity of the method is 2 ng/ml in human
      serum using a 0.1 ml sample. The cross reactivity of the antiserum
      with synthetic standards of ranitidine metabolites is <1%, 22% and
      11% for ranitidine N-oxide, ranitidine sulphoxide and desmethyl
      ranitidine respectively. The latter two substances are minor
      metabolites in man, and do not affect the measurement of ranitidine
      in clinical samples. It was possible to produce a much higher titre
      antiserum by immunising the sheep instead of the rabbit.

     113.    Immunoassays involve the use of antibodies which require very gentle

chemical conditions so as not to disturb their complex protein structure. GSK

knew that in such conditions—which lack elevated temperatures, low pH, and



20
  William N. Jenner et al., The Development of a Radioimmunoassay for
Ranitidine in Biological Fluids, 28 LIFE SCI. 1323, 1323–29 (1981).

                                         43
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 50 of 218




oxidative environments—it would be able to conceal ranitidine degradation.

     114.    The development of a radioimmunoassay is very expensive and

extremely technically challenging. It requires the handling of radioactive materials

and the use of live lab animals, including rabbits and sheep, to biologically

manufacture the required antibodies. The development of GSK’s

radioimmunoassay was much more expensive than industry-standard mass

spectrometry, which does not require radioactivity, lab animals, or any biological

processes. The significant time, expense, and developmental resources spent

developing GSK’s radioimmunoassay appear to have no justification other than to

conceal ranitidine degradation concerns.

      7. GSK Burries the NDMA Data and Lies to the FDA

     115.    On April 6, 1982, GSK’s Dr. Tanner finalized the NDMA study titled,

“The Determination of N-Nitrosodimethylamine [NDMA] formed by the Reaction

of Ranitidine Hydrochloride with Sodium Nitrite.” The report was circulated

internally at GSK to Dr. Martin, and Dr. Brittain was specifically copied. Dr.

Tanner noted that “molecules with tertiary amines,” like ranitidine, can “react with

nitrite under certain conditions to yield N-nitrosodimethylamine (NDMA).” This

is consistent with the IARC literature. “[T]herefore experiments were carried out

to determine whether NDMA could be formed from the drug in the presence of

nitrite.” Dr. Tanner used “conditions similar to those described for the WHO



                                         44
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 51 of 218




…NAP test” and under a simulation of “the human stomach after ingestion of a

nitrite rich meal[.]” Using “gas chromatography mass spectrometry” Dr. Tanner

observed “under the conditions of the WHO NAP test (Experiment 3) 232μg

[232,000 ngs] NDMA were formed … equivalent to 3.1% yield based on

ranitidine.” “A similar quantity of NDMA, 219μg [219,000 ngs], was formed in a

10ml incubation mixture when the ranitidine concentration was raised to that of

nitrite (40mM).” This result was one of the highest NDMA conversion rates

observed of a drug compound. It was 39 times greater than the 0.08% observed for

the recalled drug methapyrilene pursuant to the NAP test. For the high nitrite-meal

simulation experiment, it “gave a weak signal similar to that observed from a

control incubation.” Dr. Tanner however, did not provide the actual results of the

NDMA formed to reach a “weak signal” despite the high temperatures used in the

GCMS, which are known to cause NDMA formation. 21 Regardless, however, that

ranitidine was giving any signal at all indicates that GSK specifically knew and

understood the fundamental instability of the ranitidine molecule.

     116.    108. GSK admits it did not share the Tanner study with the FDA or



21
  This point is critical. Valisure and other scientists have confirmed that when
ranitidine is exposed to the high temperatures in gas chromatography, it will form
high levels of NDMA—into the millions of nanograms. If GSK were looking for
NDMA, they should have observed extremely high levels. That they failed to
report this data is suspicious. GSK has since destroyed the data, so there is no way
to know what the testing showed.

                                        45
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 52 of 218




otherwise ever inform the FDA about NDMA prior to the drug being approved by

the FDA or even while the drug was on the market. The Tanner study was only

disclosed to the FDA in December 2019, a few months before the FDA recalled

ranitidine from the market, and GSK only disclosed it after repeated requests by

the FDA, having initially concealed it and lying to the FDA in August 2019 that no

such study existed.

     117.    On May 13, 1982, GSK presented before the FDA’s Scientific

Advisory Panel to specifically discuss the science and safety of ranitidine. Dr.

Poynter specifically presented to the FDA on ranitidine’s “mutagenicity” and

“nitrosation.” Dr. Jack, however, who was originally copied on the Special Report

(discussed above), set the stage:

      [W]e want to focus only on the part which raises the real problem in
      some people’s mind, namely, the possibility of carcinogenesis with
      drugs of this kind. That possibility was first raised in people’s mind
      when Elder and his colleagues from Manchester reported that they
      had some patients who developed cancer of the stomach within a few
      months of treatment with cimetidine. Of course, any such effect must
      be the effect of a very potent and highly specific carcinogen, and the
      mechanism they proposed was that cimetidine in the body might be
      nitrosated to this N-nitroso derivative… So what one is saying, very
      simply, that even if the hypothesis about cimetidine were right, it
      would not apply to ranitidine, because ranitidine behaves very
      differently towards nitrous acid. Instead of nitrosating on nitrogen, it
      nitrosates on carbon, this carbon. What is formed is a nitrolic acid.
     118.    Then, in introducing Dr. Poynter, Dr. Jack noted that he would present

data “known to be sensitive to carcinogens and in particular to nitrosamines, under

conditions which foster the production of these substances[.]” However, when Dr.

Poynter presented to the FDA, he did not disclose the NDMA data nor any of


                                         46
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 53 of 218




GSK’s tests showing NDMA formation, including the recently completed Tanner

Study. This, despite the FDA specifically raising concerns about the nitrosation of

ranitidine in May 1980. Dr. Poynter referenced nitrosation and even the potential

interaction of ranitidine with nitrite, but he deliberately omitted any reference to

NDMA. Considering the importance Dr. Jack placed on presenting issues

surrounding the nitrosation and formation of N-nitroso compounds, this omission

was intentional.

     119.    Dr. Poynter focused on the rodent carcinogenicity studies done on

ranitidine and explained that there was “no evidence of ranitidine being itself

carcinogenic either in the stomach or for that matter anywhere else[.]” But, in

GSK’s first long-term mouse study, they specifically observed “a statistically

significant positive dose-response trend in tumor rates for pulmonary tumors in

female mice” and that there was only 1 liver tumor in the control group, versus

seven liver tumors in mice treated with ranitidine. To state that there was “no

evidence” is, at best, an exaggeration and, at worst, a falsehood. In the face of Dr.

Poynter’s presentation, unsurprisingly, the Committee voted to approve ranitidine.

     120.    A few months later, on August 10, 1982, GSK submitted a proposed

Summary Basis for Approval (“SBA”)—a document that the FDA issues

summarizing its approval of any new drug. In the SBA, GSK specifically

discusses the potential for nitrosamine formation, but limits its discussion to the N-



                                          47
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 54 of 218




nitroso nitrolic acid derivative experiments by Brittain et al., and makes no mention

of NDMA or their NDMA experiments. It states that “[a]lthough N-nitroso-nitrolic

acid was a potent mutagen, it is not likely to be formed in the stomach of a patient

ingesting ranitidine. An unrealistic large amount of nitrite needs to be present to

form and maintain the nitrosamine.” By not submitting the Martin or Tanner data,

and by providing an explanation for the observed mutagenic effects as being a “N-

nitroso-nitrolic acid,” GSK was able to avoid any suspicion that ranitidine, in the

presence of nitrite, could form NDMA.

     121.    In 1983, the FDA approved ranitidine for the short-term treatment of

ulcers. However, in the final SBA issued by the FDA, they repeated, verbatim,

GSK’s discussion of the N-nitroso nitrolic acid derivative. The FDA, however, did

note that long-term use of ranitidine could result in a balance of bacteria in the gut

that would lead to elevated levels of nitrite. FDA noted, which was not in the draft

submitted by GSK in August 1982, that “[t]he importance of this finding is not

clear. High levels of nitrite could react with certain organic compounds to form

nitrosamines, which are known carcinogens. To date, however, neither ranitidine

nor cimetidine have been carcinogenic in rodents, so the level of human risk

cannot be estimated from animal studies.” But, GSK specifically had that

evidence, i.e., that ranitidine and nitrite could react to form NDMA in human

gastric fluid, a well-established and potent nitrosamine—evidence that the FDA



                                          48
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 55 of 218




had specifically requested. By concealing this information from the FDA, the

Agency concluded that because “[r]anitidine is recommended only for short-term

use” the “carcinogenic risk, if any, should thus be minimized.”

     122.    Even more alarming, however, is the fact that the FDA dismissed this

concern regarding cancer because Zantac would only be used for short periods of

time (two weeks) and GSK, at that time, knew that patients would use Zantac for

longer periods of time. They specifically banked on this fact: “Zantac will be

launched with indications for short-term duodenal ulcer … our major competitor,

Tagamet, has broader indications … for long-term maintenance therapy... At first

glance this may appear to be a limitation to Zantac. In reality, it is no limitation at

all. … many physicians will, or their own accord, use Zantac in the same manner

in which cimetidine is used.” GSK knew that “the carcinogenic risk, if any” would

not “be minimized” but it did not care—it needed to dominate the market.

(“[W]e’re out to dominate the entire product category.”) (emphasis in original). In

fact, GSK’s marketing efforts, from day one, specifically focused on the off-label

promotion of Zantac for long-term use, despite the drug’s approved indication for

short-term use and despite the potential risk of carcinogenicity stemming from

long-term use.

     123.    In 1985, GSK hosted a “International Teaching Day” where GSK-

sponsored a scientist to present to the British Society of Gastroenterology and



                                          49
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 56 of 218




Nutrition Society on “Nutrition and nitrosamine formation.” 22 The presentation

begins with simple, generally-accepted truth: “N-nitroso compounds are an

important group of chemical carcinogens that could be involved in human cancer.”

The authors explain that “suitable precursors are common dietary constituents …

and the mildly acidic conditions of the stomach are favourable for their formation.”

Indeed, Dr. Challis explained that “[o]ver 90% of the N-nitroso compounds tested

have proven to be carcinogenic, some in as many as thirty species ranging from

mice to primates” and “[m]any are organ-specific carcinogens, producing tumours

remote from the site of their administration.” In this article, Dr. Challis openly

admits that gastric nitrosation of nitrite with a tertiary amine (of which ranitidine is

one), can lead to the formation of nitrosamines in the human stomach. This is

further evidence that GSK was aware of the issues of nitrite interacting with a

chemical with a tertiary amine, and the relevance of their own data showing this

reaction specifically with ranitidine to form NDMA. That GSK concealed it from

the FDA is inexcusable.

      8. GSK Designed Ranitidine’s Monograph Dissolution Test to Hide
         Ranitidine’s Toxicity from the FDA and Medical Community

     124.    The United States Pharmacopeial Convention (“USP”) is a non-

governmental organization that issues a compendium of drug standards for use in


22
  Brian C. Challis, Nutrition and Nitrosamine Formation, 44 PROC. OF NUTRITION
SOC’Y 95, 95–100 (1985).

                                          50
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 57 of 218




the pharmaceutical industry. Although USP is not a governmental body, federal

law specifically incorporates its standards. See 21 U.S.C. §§ 351(a)–(b), 352(e)–

(g), 355(u)(3)(A). The FDA regularly consults USP standards as a reference point

when issuing its own pharmaceutical standards.

     125.    USP issues “monographs” for specific drug compounds; these

“monographs” list tests, procedures, and acceptance criteria related to the quality,

purity, strength, and consistency standards for the pharmaceutical ingredients in an

approved drug.

     126.    The process by which a monograph is created involves the

manufacturer recommending its own monographs for approval, with substantial

deference given to the manufacturer, as they have specialized knowledge in the art.

Upon information and belief, GSK would have submitted its monograph to USP on

or before May 12, 1983.

     127.    GSK selected an unusual monograph test for ranitidine dissolution

that differs from the industry-standard dissolution tests used by its competitors

across the histamine receptor-2 antagonist, or H2 blocker, and proton pump

inhibitor, or PPI, classes. Ranitidine’s purpose, as described in its own FDA-

submitted-and-approved product insert, is to block secretion of acid in the stomach.

     128.    Ranitidine’s key competitors in the H2 blocker class are Pepcid,

Tagamet, and Nizatidine. H2 blockers also compete with PPIs like Prilosec,



                                         51
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 58 of 218




Prevacid, Protonix, Aciphex, and Nexium. PPIs reduce acid in the stomach

through a different mechanism of action.

     129.   The below chart describes the dissolution solution recommended by

each of the monographs for these classes of drugs:

     Brand Name       Generic        Structure       Delivery USP Dissolution
                                                              Solvent
    Cimetidine       Tagamet                         Tablet     Acid+


    Dexlansoprazo Dexilant                           Capsule    Acid+
    le                                               DR,
                                                     Tablet
                                                     DR*
    Esomeprazole     Nexium                          Capsule    Acid+, -

    Famotidine       Pepcid                          Tablet     Acid -

    Lansoprazole     Prevacid                        Capsule    Acid+, -
                                                     DR

    Omeprazole       Prilosec                        Capsule    Acid+, -


    Pantoprazole     Protonix                        Tablet DR Acid-

    Rabeprazole      AcipHex                         Capsule,   Acid+, -
                                                     Tablet*

    Ranitidine       Zantac                          Tablet     Water




                                       52
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 59 of 218




     Nizatidine       Axid                             Capsule      Water


      * From FDA, otherwise from USP41-NF36 2S current April 12, 2019
      +
        HCl
      -
        Phosphate buffer
       DR: Delayed Release

     130.    GSK abandoned industry-standard acid to instead select water to test

ranitidine, because GSK knew that an acidic environment renders ranitidine

susceptible to breaking down into NDMA and may potentially reveal ranitidine’s

unstable and toxic nature in the actual stomach environment.

     131.    Other evidence supports the inference that GSK’s selection of water

as a solvent was designed to conceal degradation concerns about ranitidine.

Curiously, Nizatidine, the only other drug of these classes to have its manufacturer

not select an acid solvent, is chemically similar to ranitidine. Ranitidine and

nizatidine are the only molecules in these classes with terminal DMA and nitrite

groups, with substantial NDMA detected in Relator’s testing, and that are known

in the literature to form NDMA under acidic conditions. Additionally, the FDA

specifically noted the ability of nizatidine to decompose into NDMA, like

ranitidine. Thus, it is clear that the use of water in nizatidine was aimed to cover

up the same instability issues that GSK observed in ranitidine.

      9. GSK’s Deception and Concealment of the NDMA Data Derailed
         Independent Researchers from Making the Connection to NDMA

     132.    GSK’s deception also impacted researchers who were, at this time,

                                         53
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 60 of 218




specifically investigating the nitrosation of ranitidine and potential nitrosamine

formation. Following Dr. De Flora’s original abstract, he and several other

researchers published studies, after being misled by GSK.

     133.    In Maura (1983), researchers demonstrated that ranitidine, in the

presence of nitrite, yielded “a nitroso derivative capable of inducing a dose-

dependent DNA fragmentation in cultured Chinese hamster ovary cells.”23 When

they evaluated the yellow oily substance created by the nitrosated ranitidine (which

is exactly what NDMA looks like), the researchers assumed “the N-nitroso

compound obtained was likely to be the N-nitroso nitrolic acid derivative …

previously identified by Brittain.” Indeed, the researchers specifically noted that

“[b]ecause of the presence in ranitidine molecule of a dimethylamine group, in

analogy with the nitrosation pattern of other tertiary amines [NDMA] formation

should be also expected.” But they dismissed that possibility, however, because

“Brittain et al. showed that … if the concentration of [nitrite] was increased to 40

mmol, a further reaction occurred whereby an N-nitroso nitrolic acid derivative

was formed” and “chromatography revealed only one major nitroso-derivative

spot[.]” In other words, even though they expected NDMA to form, because they

only observed one N-Nitroso compound, they assumed it was the compound



 Maura, et al., DNA Damage Induced by Nitrosated Ranitidine in Cultured
23

Mammalian Cells, 18 TOX. LETTERS 97, 87-102 (1983).

                                         54
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 61 of 218




presented by Brittain.

     134.    In another example, Dr. De Flora published his full study in 1983,

where he concludes “there seems to be no doubt about the possibility of formation

of genotoxic derivatives from ranitidine and an excess nitrite under in vitro

conditions[.]”24 However, in discussing what may have been causing the

genotoxicity, Dr. De Flora specifically noted that the way nitrosated ranitidine

caused genetic damage is similar to NDMA. But, because Maura ruled it out, so

did Dr. De Flora. Indeed, Dr. De Flora deferred to Brittain regarding the chemical

makeup (as did Maura) of nitrosated ranitidine, concluding that “[o]ur findings

seem to be consistent[.]”

      135. In yet another study, Brambilla (1983), published the same year as

Maura and De Flora, researchers specifically studied whether ranitidine and nitrite

could induce genetic damage in a living animal. 25 And, once again, the researchers

concluded, “[o]ur experimental findings have shown that simultaneous oral

administration in rats of high doses of ranitidine and NaNO2 can produce DNA

fragmentation either in liver or in gastric mucosa. However, this effect was found

to be dependent on both gastric pH and molar ratio drug/nitrite.” Remarkably, the



24
   De Flora, et al., Genotoxicity of nitrosated ranitidine, 4 CARCINOGENESIS 3, 255–
260 (1983).
25
   Brambilla, et al., Genotoxic effects in rodents given high oral doses of ranitidine
and sodium nitrite, 4 CARCINOGENESIS 10, 1281–1285 (1983).

                                         55
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 62 of 218




researchers used NDMA as a positive control, showing nearly identical levels of

genetic damage in animals exposed to NDMA and nitrosated ranitidine. But, in

discussing what was chemically causing the genetic damage, the researchers once

again relied on Brittain: “the major (or the only) nitrosation product is likely to be

the mutagenic N-nitroso nitrolic acid derivative obtained by Brittain et al. (34) by

reacting ranitidine with a large excess of nitrite.” The NDMA connection was

never made because they were misled by Brittain’s published letter and their direct

interactions with GSK.

      136. In another example, in Martelli (1983), researchers showed that

nitrosated ranitidine, using nitrite, caused unscheduled DNA synthesis in rodent

hepatocytes.26 The researchers compared nitrosated ranitidine directly with

NDMA to see how they induced mutations. The data showed the same effect on

DNA synthesis. Citing the De Flora and Brambilla studies discussed above, the

authors warned that a “more extensive assessment of its possible formation and

genotoxicity in humans” was needed.

      10.GSK Manipulated the Only In Vivo Study on Humans that
         Attempted to Measure N-Nitroso Compound Formation While
         Taking Ranitidine

     137.    In 1987, GSK co-authored a study designed to conceal the NDMA-



26
  Martelli, A., et al., Unscheduled DNA synthesis induced by nitrosated ranitidine
in primary cultures of rat hepatocyctes, 122 Mutation Res. 373, 373–376 (1983).

                                          56
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 63 of 218




formation that occurs within hours of consuming ranitidine (“GSK’s One Year

Study”).27 GSK’s One Year Study concluded that ranitidine does not create N-

nitroso compounds:

      During treatment with ranitidine median 24 hour intragastric pH,
      nitrate concentration, and counts of total and nitrate reducing bacteria
      increased significantly regardless of dietary nitrate content; there was
      no significant increase in the median day time concentration of N-
      nitroso compounds.

     138.   GSK’s One Year Study suffered from serious flaws that were curious

for an investigation of N-nitroso compound formation. For starters, the study had

unorthodox testing protocols, which departed from the accepted science at the

time. Instead of using an industry-standard GC/MS which could test for specific

nitrosamines like NDMA, GSK’s One Year Study engaged a method that only

measured total nitrosamines:

      After preliminary dilution, if necessary, to 5-0 ml with distilled water,
      homogenised gastric juice samples were titrated (if pH<4) to pH 4-0
      with molar sodium hydroxide and hydrazine sulphate (0-26M) was
      added to destroy any nitrite present, before freezing to - 10°C for later
      assay using the method of Walters et al. This method responds
      sensitively to all types of N-nitroso compounds tested to date: it
      involves the controlled evolution of nitrogen oxide sequentially from
      a range of compounds present in gastric juice when refluxed with
      ethyl acetate. After the addition of acetic acid, nitrogen oxide is
      liberated initially from nitrate and other compounds derived from it,
      such as the pseudonitrosites, and finally, when hydrogen bromide is
      added, denitrosation occurs yielding nitrogen oxide from N-nitroso
      compounds. Thus, nitrogen oxide originating from other types of
      compounds is eliminated before it is evolved from N-nitroso
      compounds. Nitrogen oxide was determined using a
      chemiluminescence analyser by the light emitted in the far visible and
      near infrared regions after its reaction with ozone. The lower limit of
      detection was approximately 5 nmol/l. Id. at 730.


27
  J. Meyrick Thomas et al., Effects of One Year’s Treatment with Ranitidine and of
Truncal Vagotomy on Gastric Contents, 28 GUT 726, 726–27 (1987).

                                         57
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 64 of 218




     139.    This statement was false and misleading because the pretextual

purpose of using this method, that it “responds sensitively to all types of N-nitroso

compounds,” is of little relevance considering the known connection of ranitidine

to NDMA formation specifically due to the presence of DMA in the ranitidine

molecule itself.

     140.    Adoption of the “Walters et al.” method appears to have no purpose

other than to frustrate the test, which should be searching for volatile nitrosamines

like NDMA. As Dr. Walters and colleagues explained in their underlying 1978

article, 28 their method was designed to search for non-volatile N-nitrosamines and

for use in food:

      While volatile N-nitrosamines can be separated readily from a
      biological matrix by distillation in steam, no similar separation
      procedure applicable to all non-volatile N-nitrosamines is available,
      some compounds of this type may be associated with the components
      of the matrix itself and therefore the extraction procedures would be
      inefficient.

     141.    In addition to being unable to give results as to specific nitrosamines,

the test selected by GSK’s One Year Study was further flawed because it risked

registering ranitidine itself as a false positive. Conveniently, this “required” the

testers to exclude all samples when nitrosamine and its metabolites—including

NDMA—were in the gastric juice:

      N-nitroso compounds were assayed by measurement of nitrogen
      oxide evolved under special conditions. The assays were restricted to

 C.L. Walters et al., Determination of a Non-volatile N-nitrosamine on a Food
28

Matrix, 103 Analyst 1127, 1127 (1978).

                                          58
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 65 of 218



      ranitidine free samples because the presence of ranitidine in gastric
      juice may result in falsely high concentrations of N-nitroso
      compounds being recorded. Unlike cimetidine, the ranitidine
      molecule contains a C-terminal nitro group which was shown in
      preliminary studies to liberate nitrogen oxide under conditions of the
      assay, thus responding as if it were an N-nitroso compound.

     142.    This statement is remarkable—and consistent with Valisure’s testing

in 2019. Use of GC/MS testing on ranitidine could yield a falsely positive NDMA

result, and this sentence, in 1986, confirms this.

     143.    The effects of the data restriction in GSK’s One Year Study were

severe, as approximately two-thirds of the data had to be excluded from the study

(emphasis added):

      Because of the overriding need to be certain that ranitidine present in
      gastric juice would not be assayed as if it were a N-nitroso
      compound, aspirates of juice were only used for N-nitroso compound
      analysis at times when ranitidine was absent. Results for N-nitroso
      compounds are consequently based on assay of approximately one
      third of the samples that were analysed for pH, bacterial counts and
      nitrite concentration; conclusions must be correspondingly less
      certain, especially as no night-time samples were studied. N-nitroso
      compounds were not measured at all during study R2 but no increase
      in day time median values was found during (R3 and R4) or after
      (R5) maintenance treatment, an observation in agreement with other
      24 hour studies.

     144.    GSK’s earlier studies had shown that ranitidine and its metabolites are

processed in the body mostly for the first eight hours after consumption. By

excluding any data with ranitidine in it, GSK knew it was also excluding any data

with ranitidine metabolites—including NDMA and its precursors. The following




                                          59
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 66 of 218




chart from a 1981 study by GSK scientists 29 demonstrates GSK’s prior knowledge:




     145.   There was no reason for GSK to use a bizarre assay methodology

which “required” it to ignore all data where ranitidine was present. GC/MS

techniques had been used to measure NDMA concentration in organic matter well

before 1981. Moreover, a secondary detection method, like GSK’s N-oxide assay,

was a particularly poor choice when looking at a biological sample containing




 Patrick F. Carey et al., Determination of Ranitidine and its Metabolites in
29

Human Urine By Reversed-Phase Ion-Pair High-Performance Liquid
Chromatography, 225 J. OF CHROMATOGRAPHY 161, 165, fig. 4 (1981)

                                        60
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 67 of 218




gastric juice, where there are thousands of unknown molecules.30

     146.    GSK knew of the NDMA issue, and specifically designed a test to

avoid showing the issue.

      11.GSK Made False and Misleading Statements in Zantac Product
         Labels and Other Submissions to the FDA

     147.    GSK’s “Prescribing Information” on ranitidine’s product label falsely

represents that ranitidine’s metabolism does not cause the formation of

nitrosamines and conceals the existence of nitrosamines. By hiding this

information from doctors and the FDA, GSK ensured that ranitidine products

would be used by patients and reimbursed by the government.

     148.    In association with NDA 18-703, the original NDA application for

ranitidine’s first approval, GSK submitted proposed Zantac product label for

prescribers that were approved by the FDA. Since Zantac’s inception, GSK’s

product label has stated:

      Metabolism: In humans, the N-oxide is the principal metabolite in the
      urine; however, this amounts to <4% of the dose. Other metabolites
      are the S-oxide (1%) and the desmethyl ranitidine (1%). The
      remainder of the administered dose is found in the stool. Studies in
      patients with hepatic dysfunction (compensated cirrhosis) indicate
      that there are minor, but clinically insignificant, alterations in
      ranitidine half-life, distribution, clearance, and bioavailability.

     149.    GSK’s inaccurate description of ranitidine’s metabolism and the


30
   Notably, GC/MS was used to measure NDMA concentration in tobacco. See,
e.g., Klaus D. Brunnemann et. al., Assessment of Carcinogenic Volatile JV-
Nitrosamines in Tobacco and in Mainstream and Sidestream Smoke from
Cigarettes, 37 CANCER RES. 3218, 3218–22 (1977).

                                        61
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 68 of 218




metabolites has permeated millions of printed ranitidine labels. 31

     150.    Although GSK submitted to the FDA almost twenty-five (25)

different submissions and supplements related to Zantac product labeling from

1980 through the present, not one of them brought ranitidine’s NDMA metabolic

byproduct concerns to the FDA’s attention.

     151.    On December 4, 1991, GSK submitted a supplemental new drug

application requesting approval of additional packaging sizes for Zantac tablets

(150 mg: 100 count, 60cc container and 1000 count, 500 cc container, and 300 mg:

500 count, 500 cc. container). In association with the new drug application, GSK

was required to conduct a stability review and identify all impurities caused by

decomposition. GSK never disclosed NDMA.

     152.    In its July 2, 1992 letter approving GSK’s new packaging sizes, the

FDA observed that GSK’s stability study design was unscientific and inconsistent:

      Future stability studies should be conducted using the same
      methodology at all time points. Using an approved method and its
      “enhanced” version in the same stability study may lead to confusion
      and delay in Agency action. You are reminded of your commitment
      to provide a full description of the enhanced method for determining
      impurities in the next annual report.


31
   Importantly, GSK scientists have published at least one article acknowledging
that N-nitrosamine is a metabolite. See Claire Beaumont et al., Human Absorption,
Distribution, Metabolism and Excretion Properties of Drug Molecules: A Plethora
Of Approaches, 76 BRIT. J. CLINICAL PHARMACOL. 6, 1190 (2014) (“[Nuclear
magnetic resonance] revealed the presence of a unique human circulating
metabolite, an N-nitrosamine present at approximately 5% [drug-related
material].”)

                                         62
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 69 of 218




Remarkably, GSK never identified the NDMA impurity, despite FDA specifically

asking for GSK to do so.

     153.    GSK’s recklessness was further highlighted on May 29, 1992, when

GSK submitted Supplemental Application 47 to NDA 18-703, requesting approval

for a 150 mg “b.i.d.” (i.e., twice daily) treatment for long-term maintenance of

patients with healed erosive esophagitis. In association with Supplemental

Application 47, GSK submitted to the FDA its “Integrated Summary of Benefits

and Risks,” which stated in pertinent part:

      Zantac has been marketed continuously since approval in the United
      States (US) in 1983. The oral formulation has been used in more than
      130 million patients worldwide and is among the most frequently
      prescribed medications for the treatment of gastrointestinal diseases.
      The well-acknowledged safety profile of Zantac is a factor underlying
      its widespread use.

     154.    The “Integrated Summary of Benefits and Risks,” makes the

following safety claims:

      3. Evidence for Safety
      Long-term treatment with the currently-approved standard dosage of
      ranitidine does not appear to be associated with any unexpected or
      serious adverse events, or increased incidence of adverse events,
      including changes in clinical laboratory test results, according to the
      safety data integrated here.
      Six clinical studies of 815 GERD patients (41 % of whom had healed
      erosive esophagitis) treated with either placebo (369 patients) or
      ranitidine (446 patients) found no clinically remarkable differences
      between treatment groups in any of the safety assessments made. The
      assessments included treatment group comparisons of the incidence
      of adverse events, incidence of drug-related adverse events, types of
      adverse events, incidence of adverse events in elderly versus
      nonelderly patients and men versus women, frequencies of adverse
      events over time. incidence of shifts to abnormal clinical laboratory
      test results. and incidence of clinically significantly abnormal clinical
      laboratory test results.


                                         63
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 70 of 218




      Fifty-eight (58) (7%) of 815 enrolled patients had some type of
      notable (serious or leading to withdrawal) adverse event. distributed
      between ranitidine and placebo groups as shown previously. Of the
      58 patients. three (all of whom received ranitidine) had more than one
      notable event: one patient had two serious adverse events, neither of
      which led to withdrawal; one patient had one serious event and an
      unrelated adverse event leading to withdrawal; and one patient had
      two serious events, only one of which led to withdrawal.

     155.    GSK’s Supplemental Application 47 also included a section titled

“Integrated Summary of Safety,” which purported to provide studies demonstrating

that ranitidine was safe for long-term maintenance of patients with healed erosive

esophagitis. However, these safety studies were all deceptive, because they failed

to disclose the known nitrosation problem directly or indirectly, or the ability of

ranitidine to form NDMA.

     156.    GSK’s safety studies included in Supplemental Application 47 were

materially deceptive because the studies were not designed to measure adverse

events related to NDMA contamination. The longest of the studies lasted 12

months—too short of a time for observable cancer to manifest from NDMA. As

such, Supplemental Application 47 was materially deceptive because none of the

studies were capable of detecting carcinogenic harms caused by nitrosamines,

including NDMA.

     157.    On March 10, 1994, GSK obtained FDA approval to update the label

of 300 mg Zantac to include an indication to consume Zantac “after the evening




                                         64
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 71 of 218




meal” for treatment of active duodenal ulcer. 32 Defendants requested the

indication that Zantac be taken with food on the grounds of equivalence, even

though they were on notice that mixing ranitidine with nitrites from food, and

nitrites produced by the known increase in nitrate-reducing bacteria in the stomach,

would increase the probability of nitrosation. Indeed, multiple peer-reviewed

studies in the 1980s specifically warned about this issue and the risks of forming

mutagenic nitrosamines when reacting with certain foods. GSK did not disclose

this issue to the FDA and, instead, concealed the NDMA data from the FDA.

     158.    On December 16, 1996, GSK submitted Supplemental Application 56

to NDA 18-703, requesting permission to revise ranitidine labeling to include

indications for “Pediatric Use” in patients from 1 month to 16 years of age.

Supplemental Application 56 was materially false and misleading, because the

safety studies underlying it were not designed to capture nitrosation dangers. The

Adverse event reporting in the studies underlying Supplemental Application 56

was limited to one year. Supplemental Application 56 did not include any specific

safety testing or protocol designed to capture adverse events related to ranitidine’s

known NDMA exposure risks.

     159.    In association with the FDA’s review of Supplemental Application 56,


32
   This additional labeling was submitted by GSK as Supplemental Application 46
to NDA 18-703, as well as Supplemental Application 12 to NDA 19-675 (covering
syrup-form ranitidine).

                                         65
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 72 of 218




the FDA conducted a review of all efficacy and safety data submitted by GSK and

discussed its findings in a report titled “Division of Gastrointestinal and

Coagulation Drug Products Medical Officer’s Review,” dated May 21, 1997. The

medical officer’s review fails to evidence any knowledge of nitrosation or NDMA-

formation concerns. The FDA’s summary of the safety data submitted by GSK

demonstrates that instead of studying or resolving nitrosation concerns in pediatric

populations, GSK sought to conceal them entirely.

     160.    In addition to those above, GSK made the following submissions

about Zantac to the FDA, in order to boost the drug’s profitability, without

identifying its nitrosamine link:

      • On June 11, 2001, GSK notified the FDA of potential adverse reactions
        from ranitidine in the form of blood vessel inflammation.

      • On October 27, 2004, GSK amended its ranitidine labels, but maintained
        as originally written essential portions including the “Metabolism”
        disclosure.

      • On January 11, 2006, GSK notified the FDA of potential adverse
        reactions from ranitidine in the form of pneumonia.

      • On April 2, 2008, GSK amended its ranitidine labels, but maintained as
        originally written essential portions including the “Metabolism”
        disclosure.

      • On April 23, 2009, GSK requested that the FDA approve an amendment
        to its Zantac labels which denied any link between the drug and male
        hormonal problems such as impotence. Maintained as originally written
        were essential portions including the “Metabolism” disclosure.



                                          66
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 73 of 218




     161.    It is common practice for pharmaceutical manufacturers of

pharmaceuticals with potential nitrosation dangers to inform the government,

doctors, researchers, and the public of these dangers in the manufacturer’s product

labeling warnings.

     162.    Antabuse (disulfiram) has been on the market since 1951.33 Antabuse

is chemically similar to ranitidine as it has terminal amines that are vulnerable to

separation from the drug where the amine can directly generate a dangerous

nitrosamine. Particularly, the disulfiram molecule includes two molecules of the

group DEA (diethylamine), which may form into NDEA. NDEA and NDMA are

chemically very similar and are both probable human carcinogens tightly regulated

by the FDA. Both NDMA and NDEA have been the cause of recent FDA recalls

of hypertension medication valsartan, losartan and irbesartan.

     163.    The FDA-approved warning label for Antabuse 34 states under “Drug

Interactions”:

      In rats, simultaneous ingestion of disulfiram and nitrite in the diet for
      78 weeks has been reported to cause tumors, and it has been
      suggested that disulfiram may react with nitrites in the rat stomach to
      form a nitrosamine, which is tumorigenic. Disulfiram alone in the
      rat’s diet did not lead to such tumors. The relevance of this finding to
      humans is not known at this time.


33
   Antabuse is famous for helping alcoholics stop drinking by enhancing hangover
effects.
34
   The original NDA for Antabuse is held by Teva Women’s Health Inc.; the drug
is now licensed for distribution by firms including Mylan Pharmaceuticals,
Alvogen, and West-ward Pharmaceuticals.

                                         67
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 74 of 218




     164.    Label warnings for sodium nitrite alert to the same potential

interaction. For example, the warning label for the drug Nithiodote (sodium nitrite

and sodium thiosulfate) advises, under the heading “Carcinogenesis” (emphasis

added):

      Sodium Nitrite
      The potential benefit of an acute exposure to sodium nitrite as part of
      a cyanide antidote outweighs concerns raised by the equivocal
      findings in chronic rodent studies. Sodium nitrite (0, 750, 1500, or
      3000 ppm equivalent to average daily doses of approximately 0, 35,
      70, or 130 mg/kg for males and 0, 40, 80, or 150 mg/kg for females)
      was orally administered to rats (Fischer 344 strain) for 2 years via
      drinking water. There were no significant increases in the incidence
      of tumor in either male or female rats. Sodium nitrite (0, 750, 1500,
      or 3000 ppm equivalent to average daily doses of approximately 0,
      60, 120, or 220 mg/kg for males and 0, 45, 90, or 165 mg/kg for
      females) was administered to B6C3F1 mice for 2 years via the
      drinking water. Equivocal results were obtained in female mice.
      Specifically, there was a positive trend toward an increase in the
      incidence of squamous cell papilloma or carcinoma in the
      forestomach of female mice. Although the incidence of hyperplasia
      of the glandular stomach epithelium was significantly greater in the
      high-dose male mice compared to controls, there were no significant
      increases in tumors in the male mice. Numerous reports in the
      published literature indicate that sodium nitrite may react in
      vivo with secondary amines to form carcinogenic nitrosamines in the
      stomach. Concurrent exposure to sodium nitrite and secondary
      amines in feed or drinking water resulted in an increase in the
      incidence of tumors in rodents.

     165.    Although it was known to GSK that ranitidine’s DMA amine could

also react with nitrite in the stomach, GSK failed to conduct any rat stomach tests

with ranitidine and nitrite to address this concern. Indeed, GSK deliberately

concealed the NDMA issue from the FDA and public.

     166.    Most damning for GSK is the warning label for competitor Takeda

Pharmaceuticals America, Inc.’s Prevacid (lansoprazole), a PPI that has been on



                                        68
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 75 of 218




the market since 1992. The Prevacid label states, under the heading “12.2

Pharmacodynamics”:

      Other Gastric Effects in Humans
      Lansoprazole did not significantly affect mucosal blood flow in the
      fundus of the stomach. Due to the normal physiologic effect caused
      by the inhibition of gastric acid secretion, a decrease of about 17% in
      blood flow in the antrum, pylorus, and duodenal bulb was seen.
      Lansoprazole significantly slowed the gastric emptying of digestible
      solids. Lansoprazole increased serum pepsinogen levels and
      decreased pepsin activity under basal conditions and in response to
      meal stimulation or insulin injection. As with other agents that
      elevate intragastric pH, increases in gastric pH were associated with
      increases in nitrate-reducing bacteria and elevation of nitrite
      concentration in gastric juice in patients with gastric ulcer. No
      significant increase in nitrosamine concentrations was observed.

     167.    Warnings such as these appear on eighty-six (86) FDA-approved

labels for 339 distinct product codes.

      12.GSK Proceeds to Aggressively Market Ranitidine; Despite
         Numerous Studies Linking Ranitidine to NDMA Formation, GSK
         Never Tests Ranitidine Again for NDMA or Discloses Its Data to the
         FDA

     168.    Given that NDMA is a yellow oily liquid, when ranitidine degrades

into NDMA, ranitidine becomes discolored. Indeed, in GSK’s 2020 root-cause

analysis, GSK observed that when ranitidine degrades into NDMA in the presence

of moisture and heat, it changes color (turns yellow and then brown) and breaks

down, and that this is directly related to NDMA content.

     169.    On February 13, 1984, shortly after the FDA’s approval of ranitidine,

GSK prepared a report titled, “Preliminary Results of an Investigation into the

Thermal Degradation of Ranitidine Hydrochloride[.]” The report detailed that


                                         69
        Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 76 of 218




ranitidine would rapidly degrade in the presence of moisture and heat, and that

“[a]dditional, as yet unidentified, breakdown products are also produced within the

liquid mass formed as a result[.]” The authors note that increased temperature and

moisture “shows considerable darkening” and that existing method “HPLC assay

procedure” was unable to properly identify these “break down products.” GSK did

not test these unidentified breakdown products for NDMA. Had GSK tested these

impurities for NDMA they would have seen it—a fact confirmed by GSK’s 2020

root cause analysis and the fact that NDMA has been discovered in nearly every

ranitidine pill tested.

     170.     GSK has represented to the FDA that ranitidine is a stable molecule,

not prone to oxidization. On October 21, 1986, GSK submitted a supplemental

NDA requesting an extension of the shelf life for Zantac Tablets 300 mg from two

years to three. This submission, and associated materials, were designed to create

the false impression that ranitidine is a stable molecule, not prone to molecular

breakdown. On April 4, 1987, GSK received approval from the FDA to elevate the

Zantac shelf life, making the drug considerably less safe.

     171.     Over the course of the next several decades, as GSK did not change

the ranitidine molecule, GSK continued to observe discoloration in Zantac pills,

and instead of testing it to figure out what was causing it, they took actions to

conceal it. For example, in the 1990s, when GSK was attempting to develop an



                                          70
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 77 of 218




OTC product with Warner Lambert (Pfizer predecessor), they knew they had a

discoloration problem. The white pills being sold in a plastic bottle and foil

packets had “significant discolouration” at “the three month test point” when

stored at elevated temperatures and humidity. Because they could not avoid

discoloration, the “recommendations is that we should ASAP manufacture three

full scale batches with a yellow coat… if we stay with the white coat we many not

be able to offer” the product in plastic bottles. That recommendation was

accepted: “Due to problems with discolouration of the while 75mg tablets on

stability we have decided to change the colour to the same yellow as was used for

the 25mg tablets[.]” Indeed, GSK admitted this was for the purposes of masking

discoloration: “Replacement batches will be manufactured incorporating the

yellow dye, previously used in the 25mg tablet, in the film coat to mask any

potential discoloration.”

     172.    In later years, when GSK was considering bulk packages (500 or 1000

pills) of Zantac, they indicated that such a product would need to be peach colored

because “[i]t is believed that the peach coloured coating has superior ability to

mask the yellow-brown discolouration of the tablet core relative to our white

coating.”

     173.    This issue concerning discoloration lasted decades and was even




                                         71
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 78 of 218




reported in the literature.35 In 2003, researchers published a paper “Stability of

ranitidine in injectable solutions” reporting their own independent stability testing.

They reported that ranitidine was unstable and at 2 months the “colour changed

from light yellow to brown” and that the “amount of related substances has

exceeded allowed limits even 1 month after the test.” GSK researchers discussed

this paper in 2008, when a GSK scientist noted concerns regarding injection forms

of ranitidine turning from clear to yellow over time, remarking “we should ask

how that happens. To know what we need to know the structure of the yellow

metabolite/contaminant, and how it would be generated from the patent compound

over time.” In response, another GSK scientist stated, “I guess I am reluctant to

add further information because of the limited amount of supporting information

we have … I do stress the importance of noting that the colour can change over

time, which is a valid point that prescribers must be aware of, since we have

received many complaints, but we do not have a full analysis on this.” He goes on

to explain it “surely begs the question, ‘if it changes with time, is it safe to use? …

which we do not have sufficient supporting information on.” It begs a question

GSK did not want to answer. “[W]e [do] not have a full analysis of everything that

is, or is not, known at this point in time.”



35
  Vehabovic, et al., Stability of ranitidine in injectable solutions, 256 INT. J.
PHARMA. 109, 109–115 (2003).

                                           72
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 79 of 218




     174.    In a 2011 study titled, “Investigation into Yellow Impurities in

Ranitidine HCI Sterile Injection Formulation” conducted by Andrew Searle (the

GSK researcher that would later oversee the 2020 RCA of ranitidine), it states

“[t]here has been a long history of yellow discolouration of Ranitidine HCI … To

date, the impurities responsible for the colour have not been identified.” In the

study, Dr. Searle concludes that “[t]he overriding conclusion from this initial study

was that the yellow discolouration was a complex phenomenon, caused by a

multitude of components.” Dr. Searle was unable to actually identify the yellow

degradants—and, of course, he never tested for NDMA. This lack of information

continued for years. “There is no knowledge on the discolouration of Zantac IV …

Analytical work conducted in the past …found that the level of impurity is likely

to be in the ppm level which makes it extremely difficult to identify, characterize

and control.”

     175.    In 2014, GSK conducted a Zantac Discoloration Simulation Study on

Zantac tablets. “During the period from 2005 to November 2013 a number of

complaints were received” regarding “tablet disintegration and discoloration as

well as 9 stability …tablet discoloration.” GSK systematically tested Zantac

tablets under different scenarios and concluded “color appearance and analytical

results are impacted by effects of temperature and humidity. The tablet coat will

come apart and fall off and tablet will disintegrate [and] also tablet ill discolor



                                          73
        Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 80 of 218




from yellow to dark yellow, brown and finally dark drown.” In the accompanying

presentation, GSK provides clear visual evidence of this issue:

Day 1




Day 2




Day 3




Day 4




2 Weeks


                                        74
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 81 of 218




3 Weeks




     176.   While the pills at 25°C/60% RH stayed relatively intact, the

30°C/75% RH started discoloring on day 2. Peer-reviewed literature shows that

temperatures routinely reach in excess of 30°C (upwards of 38°C) and relative

humidity in excess of 75% (upwards of 100%) in a bathroom during a shower—the

place where most people store their medications. Once again, as part of this

discoloration simulation, GSK did not test for the yellow oily substances known as

NDMA or identify the impurities.

     177.   In 2015, the Medicines and Healthcare Products Regulatory Agency

(“MHRA”) in the United Kingdom, inspected a GSK manufacturing facility. The


                                        75
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 82 of 218




MHRA identified “serious deficiencies in your operations[.]” Specifically, the

MHRA cited GSK for failing to report or conduct safety assessments on batches of

ranitidine that was becoming discolored. “One issue was raised today regarding

the handling of discoloured Zantac tablets identified during stability testing and

through customer complaints. Inspectors are questioning why this had not been

reported[.]” The MHRA noted that these deficiencies were similar to another GSK

facility cited in 2014. This led to GSK, at the request of the MHRA, to conduct “a

toxicology assessment of impurities that form as a result of this tablet

degradation.” It was also performed by Dr. Searle. He identified “[t]he structures

of all impurities that have been formally characterized” and were “toxicologically

assessed.” These included “many previously unidentified impurity structures.” In

the report, Dr. Searle represents that he ran the structures through the Derek Nexus

database—a program the uses chemical structures to determine if they may be

potentially genotoxic—and that they were not found to be a “cause for concern.”

However, internal GSK emails indicate that several of the unidentified impurities

triggered alerts within the Derek system being “positive” and class “3”

compounds, which were “aliphatic [oily] nitro compound.” However, this was not

disclosed in Dr. Searle’s MHRA-ordered toxicology assessment. Instead, Dr.

Searle concludes that there is no risk because “ingestion of a degraded tablets was

considered unlikely to occur more than once in a lifetime.”



                                         76
        Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 83 of 218




     178.    GSK’s failure to test discolored Zantac pills for NDMA over 37 years

is difficult to justify, especially when GSK specifically identified the link to

NDMA back in 1981. Indeed, during this period, there were numerous scientific

publications linking ranitidine to NDMA—in addition to those discussed above

(Maura, De Flora, and Brambilla) in 1983 noting the mutagenic effects of

nitrosated ranitidine, with multiple studies comparing those effects specifically to

NDMA.

     179.    For example, in 1990, scientists discovered that people taking

ranitidine had elevated levels of NDMA in their stomach juices compared to

people with the same medical condition that did not take ranitidine or any H2

blocker.36

     180.    That same year, researchers observed that rats treated with ranitidine

for two years (lifetime) developed carcinoids in their stomach tissue, with 19

animals treated with ranitidine developing carcinoids and none in the control

group. 37

     181.    In 1994, GSK completed a long-term Zantac clinical trial, following



36
   Matsuda, et al., N-Nitrosamines in gastric juice of patients with gastric ulcer
before and during treatment with histamine Hz-receptor antagonists, 25
GASTROENTEROLOGIA JAPONICA 2, 162–168 (1990).
37
   Havu, et al., Enterochromaffin-Like Cell Carcinoids in the Rat Gastric Mucosa
following Long-Term Administration of Ranitidine, 45 DIGESTION 189, 189–195
(1990).

                                          77
        Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 84 of 218




patients taking ranitidine for 11 years. At the end of the study, GSK observed that

“bowel cancer was observed more frequently in the study population than would

be expected (observed/expected ratio = 7/2.31 = 3.03).” It also noted that “[c]ases

of prostate carcinoma arose more frequently than expected[.]” This long-term

clinical trial provided a clear signal that people taking ranitidine were getting

cancer a rate that was greater than expected, but GSK did not do anything about it.

When reporting this to the FDA, GSK did not disclose whether the data was

statistically significant.

     182.     In 2003, researchers tested whether ranitidine, in combination with

levels of nitrite found in stomachs after a high-nitrite meal, was genotoxic. 38 They

found that “ranitidine showed” genotoxic activity. Remarkably the authors could

not identify the nitrosamine that was causing the genotoxicity, but noted that their

“findings are in contrast to the reported that no mutagenic nitrosation product of

ranitidine is to be formed in man under any conceivable physiological conditions”

as reported by Brittain.

     183.     In 2002, researchers identified the ability of ranitidine to combine

with nitirite in water treatment to form NDMA.39 These concerns continued



38
   Ozhan, et al., Genotoxic Activities of Drug-Nitrite Interaction Products, 26
DRUG & CHEM. TOX. 4, 295–308 (2003).
39
   Mitch et al., Formation of N-Nitrosodimethylamine (NDMA) from
Dimethylamine during Chlorination, 36 ENVIRON. SCI. & TECH. 4, 588–595 (2002).

                                          78
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 85 of 218




throughout the 2000s, as researchers grew more and more concerned about NDMA

forming in the water supply as part of water disinfecting. 40 Ranitidine reacts with

chlorine to produce NDMA, noting that “Ranitidine, a pharmaceutical, showed

extraordinary high conversion efficiency.”

     184.    In 2011, researchers studied 20 common personal products, including

ranitidine, to see how they reacted to chloramine to form NDMA: “Ranitidine

shows the strongest potential to form NDMA[.]”41 Indeed, the authors even

explain how the chemical structure of ranitidine makes its susceptible to NDMA

formation.

     185.    In 2015, another study examined how NDMA formed following

ingestion in urine and feces, and there the authors reported that NDMA was

endogenously formed from ranitidine consumption: “[T]hese results indicate that

consumption of Zantac increased the loading of NDMA in urine as well as the

amount of chloramine reactive NDMA precursors, which likely derived from

ranitidine itself.”42 And that study was followed-up by a larger urinary study



40
   Sacher, et al., Strategies for Minimizing Nitrosamine Formation During
Disinfection (Winter 2007/2008).
41
   Shen, et al., Demonstration of 20 pharmaceutical and personal care products as
nitrosamine precursors during chloramine disinfection, 45 WATER RES. 944, 944–
952 (2011).
42
   Zeng, et al., Contribution of N‑Nitrosamines and Their Precursors to Domestic
Sewage by Greywaters and Blackwaters, 49 ENV. SCI. TECH. 22, 13158–13167
(2015).

                                         79
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 86 of 218




involving NDMA formation after ranitidine ingestion, which showed hundreds of

thousands of ngs of NDMA in urine following ranitidine consumption.43 This

study also replicated the Tanner experiments from 1982, whereby varying amounts

of nitrite were shown to react with ranitidine to form NDMA in simulated gastric

fluid. Despite these studies, GSK never tested ranitidine discoloration for NDMA

nor disclosed any data concerning the link of ranitidine to NDMA.

     186.    There were also several studies specifically linking ranitidine to

cancer, and still GSK did not do anything. Specifically, in 2000, scientists from

Kaiser published an epidemiology study using data from Northern California.44

They observed that people taking ranitidine were more likely to develop various

cancers than people not taking ranitidine.

     187.    In 2004, researchers looked at data collected from health professionals

around the U.S. 45 They reported “an increase in bladder cancer risk among men

who reported taking either” ranitidine or cimetidine (a 58% increased risk) in 1986.

And, that risk remained elevated even after adjusting for potential confounders.


43
   Zeng, et al., Oral intake of ranitidine increases urinary excretion of N-
nitrosodimethylamine, 37 CARCINOGENESIS 6, 625–634 (2016). This study was
ultimately retracted in 2021, a year after the FDA pulled ranitidine from the
market. However, it remained in the published literature for years and GSK did
nothing to examine NDMA formation.
44
   Habel, L.A., et al., Cimetidine Use and Risk of Breast, Prostate, and Other
Cancers, 8 PHARMACOEPIDEMOLOGY & DRUG SAFETY 149, 149–155 (2000).
45
   Michaud, D.S., et al., Gonorrhoea and male bladder cancer in a prospective
study, 96 BRIT. J OF CANCER 169, 169–171 (2007).

                                         80
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 87 of 218




     188.    In 2008, a study was published showing that women taking ranitidine

had a doubling of risk of developing breast cancer.46

     189.    Despite numerous studies linking ranitidine to NDMA and other

studies linking ranitidine to cancer development, at no time did GSK test for

NDMA or disclose to the FDA the truth about its experiments back in 1981.

      13.Relator Tests Ranitidine Including the Same Tests GSK Concealed
         in 1981 But, Unlike GSK, Relator Shares that Data with the FDA

     190.    In January 2019, FDA established a protocol for testing for NDMA in

pharmaceutical products. This emerged following the discovery of NDMA

contamination in Valsartan products (which Valisure was instrumental in

exposing) that led to mass recalls of contaminated medications.47 This process

utilized Gas Chromatography (“GC”) Mass Spectrometry (“MS”). GC-MS has

been regarded as a “gold standard” for forensic substance identification and can be

used to identify small polar molecules like NDMA.

     191.    In early 2019, the infant daughter of a scientist at Valisure was

prescribed ranitidine. Concerned with giving his infant daughter a prescription

medication, Valisure scientists tested the drug for the presence of impurities,


46
   Mathes, R.W., et al., Relationship between Histamine2-Receptor Antagonist
Medications and Risk of Invasive Breast Cancer, 17 CANCER EPI. BIOMARKERS &
PREVENTION 1, 67–72 (2008).
47
   U.S. Food & Drug Administration, GC/MS Headspace Method for Detection of
NDMA in Valsartan Drug Substance and Drug Products (Jan. 25, 2019), available
at https://www.fda.gov/media/115965/download.

                                         81
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 88 of 218




including NDMA. The initial testing occurred in the February – March 2019

timeframe, and Valisure continued its investigation for several months.

     192.    Valisure tested representative samples of Zantac using the FDA’s

January 2019 protocol. Valisure tested whole 150 mg ranitidine tablets issued by

five different distributors. Ther results demonstrated exceedingly high levels of

NDMA.

 Sample                            Lot #                  NDMA per tablet (ng)
 Reference Powder*                 125619                 2,472,531
 Zantac, Brand OTC                 18M498M                2,511,469
 Zantac (mint), Brand OTC          18H546                 2,834,798
 Wal-Zan, Walgreens                79L800819A             2,444,046
 Wal-Zan (mint), Walgreens         8ME2640                2,635,006
 Ranitidine, CVS                   9BE2773                2,520,311
 Zantac (mint), CVS                9AE2864                3,267,968
 Ranitidine, Equate                9BE2772                2,479,872
 Ranitidine (mint), Equate         8ME2642                2,805,259
 Ranitidine, Strides               77024060A              2,951,649

     193.    Valisure also performed the FDA method on each of ranitidine’s

competitors in the H2 blocker and proton pump blockers classes as a control, and

did not observe anything like they did with ranitidine:

                                                                NDMA per
                                  Brand
              Name                               Structure        tablet
                                  (lot#)
                                                                  (ng)
           Ranitidine            Zantac                          2,978,551
       (1x 150 mg tablet)      (7702406A)
          Cimetidine             Tagamet                             0+
       (1X 200 mg tablet)       (9AE2576)



                                         82
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 89 of 218




           Famotidine            Pepcid
                                                                      0#
        (2x 40 mg tablets)    (1805012732)
          Omeprazole             Prilosec                             0#
       (2x 40 mg capsule)      (19182878)
         Esomeprazole            Nexium                               0#
       (2x 40 mg capsule)       (C806922)

          Lansoprazole           Prevacid                             0#
       (3x 30 mg capsule)       (C807365)

          Pantoprazole           Protonix
                                                                      0#
        (2x 40 mg tablets)     (PAN18101)

           Rabeprazole           AcipHex
                                                                      0#
       (4x 20 mg capsules)     (BY33E009)

        Dexlansoprazole          Dexilant
                                                                      0#
       (2x 60 mg capsule)       (A27540)

           Nizatidine             Axid                             41,490
      (1x 150 mg capsule)      (1290625A)
       #
        No amounts detected / + Trace amounts detected near lower limit of
      detection
     194. Of ranitidine’s competitors, only nizatidine exhibits measurable

NDMA formation. That is not surprising. The nizatidine molecule is the only one

of ranitidine’s competitors that also contains an unstable dimethylamine group in

addition to a nitro group. That said, a recent paper has found very high levels of

NDMA in famotidine. 48



48
  Safdari, A., et al., Investigating the possibility of N-Nitrosodimethylamine
(NDMA) in famotidine containing products, 88 J. DRUG DELIVERY SCI. & TECH.
104908, 1–6 (2023).

                                         83
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 90 of 218




     195.    These tests on ranitidine pills confirmed that ranitidine was

fundamentally unstable and contained the constituent components to form NDMA

at an alarming rate.

     196.    That said, Valisure recognized that the levels of NDMA observed in

ranitidine were likely inflated due to the use of heat in the FDA’s GC-MS method,

which required heating the ranitidine samples at 130 °C (266 °F) for fifteen

minutes. This elevated temperature, itself, was likely accelerating the degradation

process of ranitidine and yielding artefactually higher levels of NDMA.

     197.    So, Valisure developed a GC-MS method that could operate at body

temperatures, i.e., 37 °C (98.6 °F). Then using this method, which was less

sensitive than a traditional GC-MS approach, Valisure conducted a NAP test on

ranitidine, combining ranitidine with various amounts of sodium nitrite after

incubating in simulated gastric fluid. In other words, Valisure conducted the same

tests that GSK had done in 1981, but concealed from the FDA.

     198.    Valisure obtained results similar to GSK: ranitidine produces levels

of NDMA at multiples of FDA daily limits in the gastric environment.

                               NAP Testing Results:

Tablet Studies Lot# 77024060A        NDMA (ng/mL)             NDMA per tablet
                                                              (ng)
Tablet without Solvent               Not Detected             Not Detected
Tablet                               Not Detected             Not Detected
Simulated Gastric Fluid (“SGF”)      Not Detected             Not Detected
Simulated Intestinal Fluid           Not Detected             Not Detected

                                         84
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 91 of 218




SGF with 10 mM Sodium Nitrite       Not Detected            Not Detected
SGF with 25 mM Sodium Nitrite       236                     23,600
SGF with 50 mM Sodium Nitrite       3,045                   304,500

     199.    Considering a human stomach can generate up to 3,000 ml of gastric

fluid a day, this could result in millions of nanograms of NDMA exposure from a

single dose of ranitidine.

     200.    In June 2019, Valisure submitted its ranitidine data to the FDA

confidentially. FDA made inquiries regarding the data with GSK and others.

      14.FDA Begins Disclosing Valisure Data to Other Agencies and the
         Ranitidine Manufacturers, and GSK Once Again Lies to the FDA

     201.    FDA shared Valisure’s data with the European Medicines Agency,

which on July 16, 2019, reached out to GSK and other ranitidine manufacturers for

information about NDMA in ranitidine.

     202.    On August 6, 2019, the FDA disclosed the NDMA concerns

confidentially to ranitidine manufacturers, including GSK, and requested

information. Specifically, FDA sent a communication to GSK:

      Recently a private analytical pharmacy and advanced laboratory
      notified the FDA that Zantac (ranitidine) produces a very high
      quantity (thousands of times higher than the FDA limits) of a
      probable human carcinogen N-nitrosodimethylamine (NDMA) in a
      single tablet of 150 mg of Zantac, when analyzed using FDA's
      nitrosamine test methods. The same private laboratory also found that
      Zantac forms high quantity of NDMA in simulated human body
      gastric conditions. The preliminary reports seem to indicate that in
      certain conditions (e.g., high temperatures and presence of nitrites)
      ranitidine hydrochloride (API) and ranitidine tablets degrade to form
      high quantities of NDMA.
     203.    The FDA requested specific information from GSK:



                                        85
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 92 of 218



      1.     Are you aware of the above information?
      2.     Is there any potential for NDMA to be present in the Zantac
             tablets or ranitidine hydrochloride API? Provide a detailed
             explanation for your response . Include in your explanation
             quality information for API, excipients, manufacturing process,
             etc.
      3.     Have you tested Zantac tablets or ranitidine hydrochloride for
             the presence of NDMA? If you have, what were the levels of
             NDMA found?
      4.     Have you tested Zantac tablets in simulated human body
             conditions (including gastric conditions)? If you have, have
             you detected NDMA? If you did, what were the levels
             observed?
     204.    In preparing a response, GSK scientists openly conceded (before any

litigation had been filed against GSK): “N-nitrosamines such as NDMA [] are

considered carcinogens and have been implicated in human cancers such as

bladder, esophagus, stomach, and nasopharynx.”

     205.    In response, on September 6, 2019, GSK stated that they had never

tested ranitidine for NDMA. Regarding the fourth inquiry, GSK once again

deflected to the Brittain study. GSK falsely stated: “There was no analysis for

NDMA” because “NDMA would not have been predicted to form given the

structures of the observed nitrosation products.” This was a lie because not only

had GSK specifically tested for NDMA in ranitidine nitrosation tests (Tanner

Study), but it did so after predicting they would emerge based on the chemistry of

the ranitidine molecule itself.

      15.Valisure Files Citizen’s Petition and this Lawsuit (under Seal)
         Prompting Statements from the FDA and Recalls by the
         Manufacturers


                                        86
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 93 of 218




     206.    On Friday, September 13, 2019, Valisure submitted a Citizen’s

Petition to the FDA, disclosing the testing data.

     207.    The Citizen’s Petition requested that the FDA take five actions:

      1)     request a recall and suspend sale of all lots of all products
             containing ranitidine. Given the drug’s propensity to form the
             probable carcinogen NDMA, the drug is misbranded under
             Section 502 of the FDCA (21 U.S.C. § 352);
      2)     conduct examinations and investigation under Section 702 (a)
             of the FDCA (21 U.S.C. § 372(a)) regarding these products,
             their manufacturing processes, and the manufacturer
             submissions made for FDA approval under 704 (a) of the
             FDCA (21 U.S.C. § 374(a));
      3)     provide information to the public regarding these products
             under Section 705(b) of the FDCA (21 U.S.C. § 375(b));
      4)     in addition to the instructions for disposal and/or return in the
             recall notices, issue additional guidance to the public for the
             safe disposal of ranitidine, given the recognized potential that
             the drug may degrade to form the probable carcinogen NDMA
             in municipal wastewater treatment plants and impact the public
             water supply; and
      5)     promulgate regulations requiring robust independent chemical
             testing and verification of pharmaceuticals and, while these
             regulations are pending, issue guidance requesting such testing
             and verification.
     208.    Shortly thereafter, various personal injury and class action lawsuits

were filed against GSK and other ranitidine manufacturers.

     209.    Within a few months, numerous voluntary recalls issued from various

ranitidine manufacturers, including GSK.

     210.    On October 2, 2019, the FDA announced a new testing protocol for

NDMA in ranitidine. Valisure’s citizen’s petition noted that the high levels of

NDMA formation observed in its testing were caused, in part, by the elevated


                                         87
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 94 of 218




temperatures used in GC-MS. So, the FDA developed and published a testing

method using Liquid Chromatography (“LC”), which did not use elevated

temperatures. This special protocol was limited to testing ranitidine—the January

2019 protocol for other drug substances remained the same.

     211.    On November 1, 2019, FDA announced preliminary testing results on

ranitidine products.

 Company               Product               Lots Tested NDMA level   NDMA
                                                         ppm          level
                                                                      (microgra
                                                                      ms-
                                                                      mcg/table
                                                                      t or oral
                                                                      dose)

 Sanofi                OTC Ranitidine        19E413M,    0.07-2.38    0.01-0.36
 Pharmaceutical        150mg                 19D554,
                                             19A432U,
                                             19C540,
                                             19D431I,
                                             19D442N,
                                             19D423M,
                                             19D464M,

 Sanofi                OTC Ranitidine        18L012U,    0.10-0.55    0.01-0.04
 Pharmaceutical        75mg                  9A003U,
                                             19B006M,
                                             18M025M,
                                             18N023U,
                                             19B005N,
                                             19A002U,
                                             18N026U

 Cardinal Health       OTC Ranitidine        9FE2953     1.02         0.15


                                        88
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 95 of 218




Company              Product              Lots Tested NDMA level   NDMA
                                                      ppm          level
                                                                   (microgra
                                                                   ms-
                                                                   mcg/table
                                                                   t or oral
                                                                   dose)

                     150mg

Watson               Rx Nizatidine        1350798M    0.05         0.01
                     150mg

Watson               Rx Nizatidine        1333973A    0.04         0.01
                     300mg

Strides Shasun Ltd   Rx Nizatidine        7704758A    0.11         0.02
                     150mg

Strides Shasun Ltd   Rx Nizatidine        7704022A    0.09         0.03
                     300mg

Novitium             Rx Ranitidine        S18038B     2.85         0.86
                     300mg

Dr Reddy's           Rx Ranitidine        C805265     0.68         0.20
                     300mg

Strides Shasun Ltd   Rx Ranitidine        7702255A    0.11         0.03
                     300mg

Sandoz               Rx Ranitidine        HU2207      0.82         0.25
                     300mg

Strides Shasun Ltd   Rx Ranitidine        7704537A    0.02         0.00
                     300mg

Aurobindo            Rx Ranitidine        RA3019001   1.86         0.56
                     300mg                -A



                                     89
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 96 of 218




 Company               Product                 Lots Tested NDMA level     NDMA
                                                           ppm            level
                                                                          (microgra
                                                                          ms-
                                                                          mcg/table
                                                                          t or oral
                                                                          dose)

 Ajanta Pharma         Rx Ranitidine           PA1229B      0.23          0.07
 USA Inc               300mg

 Silarx Pharma         Ranitidine 150mg        3652081-     1.37          0.20
                       Syrup                   02661

 Pharma                Ranitidine 150mg        BE00, BF75, 0.03-0.07      0.004-
 Associates            Syrup                   BF77, BF78,                0.012
                                               BDFF,
                                               COAC

 Amneal                Ranitidine 300mg        AR181795A    0.52-2.17     0.16-0.65
 Pharmaceuticals                               ,
                                               AR190878A
                                               ,
                                               AR190876A
                                               ,
                                               AR191177A
                                               , HB05819,
                                               HB06119,
                                               HL08718

 Sanofi                Ranitidine 150mg        19D570,      0.08-2.17     0.01-0.33
 Pharmaceutical                                19D428U,
                                               19E408M
     212.     On January 2, 2020, an independent laboratory, Emery Pharma,

submitted a second Citizen’s Petition, discussing the ability of ranitidine to

degrade into NDMA during regular transport and storage.



                                          90
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 97 of 218




      16.With Mounting Pressure of Ranitidine Litigation Looming, GSK
         Finally Discloses the Truth to the FDA

     213.    GSK was cornered. Personal injury and class action litigation was

swelling around the country, and GSK realized that, through discovery, it would no

longer be able to conceal the Tanner study’s existence. GSK finally disclosed the

data to the FDA on December 11, 2019, but disclaimed that its prior statements to

the FDA were false or misleading. This was the first time GSK disclosed its

NDMA data after nearly forty years of concealment.

      17.Further Investigations Lead to a Complete Market Withdrawal of
         All Ranitidine-Containing Drugs by the FDA

     214.    On January 2, 2020, Emery Pharma submitted a Citizen’s Petition,

disclosing experiments showing that ranitidine degrades into NDMA during

regular transport and storage.

     215.    On April 1, 2020, the FDA issued a national withdrawal of ranitidine

products. The FDA stated:

      The U.S. Food and Drug Administration today announced it is
      requesting manufacturers withdraw all prescription and over-the-counter
      (OTC) ranitidine drugs from the market immediately. This is the latest
      step in an ongoing investigation of a contaminant known as N-
      Nitrosodimethylamine (NDMA) in ranitidine medications (commonly
      known by the brand name Zantac). The agency has determined that the
      impurity in some ranitidine products increases over time and when
      stored at higher than room temperatures and may result in consumer
      exposure to unacceptable levels of this impurity. As a result of this
      immediate market withdrawal request, ranitidine products will not be
      available for new or existing prescriptions or OTC use in the U.S.
      …
      NDMA is a probable human carcinogen (a substance that could cause
      cancer). In the summer of 2019, the FDA became aware of independent

                                       91
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 98 of 218



         laboratory testing that found NDMA in ranitidine. Low levels of NDMA
         are commonly ingested in the diet, for example NDMA is present in
         foods and in water. These low levels would not be expected to lead to an
         increase in the risk of cancer. However, sustained higher levels of
         exposure may increase the risk of cancer in humans. The FDA
         conducted thorough laboratory tests and found NDMA in ranitidine at
         low levels. At the time, the agency did not have enough scientific
         evidence to recommend whether individuals should continue or stop
         taking ranitidine medicines, and continued its investigation and warned
         the public in September 2019 of the potential risks and to consider
         alternative OTC and prescription treatments.
         New FDA testing and evaluation prompted by information from third-
         party laboratories confirmed that NDMA levels increase in ranitidine
         even under normal storage conditions, and NDMA has been found to
         increase significantly in samples stored at higher temperatures, including
         temperatures the product may be exposed to during distribution and
         handling by consumers. The testing also showed that the older a
         ranitidine product is, or the longer the length of time since it was
         manufactured, the greater the level of NDMA. These conditions may
         raise the level of NDMA in the ranitidine product above the acceptable
         daily intake limit.
     216.      On that same date, the FDA issued a letter to Valisure, in formal

response to the Valisue’s Citizen’s Petition, indicating that it was (1) granting its

request for recall, (2) denying its request for a safe method of ranitidine disposal,

and (3) denying its request that FDA issue regulatory guidance for independent

testing of pharmaceutical quality and for impurities.

         18.During Litigation, GSK Destroys Evidence

     217.      GSK’s last batch of Zantac pills, Lot # 7ZP2359, was manufactured

on April 3, 2017, in GSK’s Zebulon, North Carolina facility. Lot 7ZP2359

consisted of 25,260 30-pill containers of 300 mg Zantac and used active

pharmaceutical ingredient (“API”) manufactured by Dr. Reddy’s laboratories in

India.

     218.      GSK testing has shown that products made with API from Dr.

                                           92
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 99 of 218




Reddy’s contain more NDMA than the same products using a different API

supplier.

     219.    Whenever a lot is manufactured, the manufacturer is required to set

aside, store, and maintain samples of that lot until 1 year after its expiration date.

21 C.F.R. § 211.170(a)(1). So, for Lot # 7ZP2359, GSK was required to maintain

retained samples until at least April 30, 2020.

     220.    Following the 1 year after expiration, if there is “[a]ny evidence of

reserve sample deterioration” the manufacturer is required to conduct a thorough

investigation. 21 C.F.R. § 211.170(b); 21 C.F.R. § 211.192 (describing the type of

investigation required and noting that “[a]ny unexplained discrepancy,” like

NDMA contamination, “shall be thoroughly investigated, whether or not the batch

has already been distributed.”).

     221.    GSK maintained samples of Lot # 7ZP2359 until April 30, 2020.

However, in May 2020, GSK destroyed the samples and did not test the pills for

NDMA. These were the only U.S. samples in GSK’s possession and had been

stored under ideal “labeled” conditions in GSK’s own facilities. They would have

provided powerful evidence of NDMA levels in GSK’s U.S. product.

     222.    GSK’s destruction of evidence was done despite (1) lawsuits being

filed alleging NDMA contamination starting on September 13, 2019; (2) an order

from a federal judge on November 19, 2019, ordering GSK to preserve “potentially



                                          93
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 100 of 218




relevant … tangible things within the Parties’ possession, custody and/or

control[.]”; (3) an order from the MDL Court on February 6, 2020 directing GSK

“to preserve evidence that may be relevant to this action” and “take reasonable

steps to preserve all … tangible things[.]”; and (4) a request from the FDA on

April 1, 2020, to remove all ranitidine from the market.

     223.    GSK violated multiple court orders and its obligations under federal

and state law when it destroyed its last remaining U.S. retained samples of Zantac.

And, even more vexing, GSK destroyed these pills without testing them for

NDMA, in violation of federal regulations, even though it was well known at that

point that ranitidine degraded into NDMA.

     224.    Remarkably, GSK’s destruction of evidence was not limited to this

last batch of pills, but it extended to the actual API used in GSK’s pills.

Specifically, between October 2019 and November 2020—a period of active

litigation and multiple investigations into the presence of NDMA in ranitidine—

GSK destroyed 9 batches of ranitidine API, which were all used in U.S. Zantac

products. None of these batches of API were tested for NDMA.

     225.    As a Discovery Referee overseeing California state court litigation

involving ranitidine explained it: “[T]he idea that a routine destruction policy

could go on in the face of two federal court orders is enough to make me gag. . . .

[I] think you’re making me get a little more upset as you’re defending something



                                          94
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 101 of 218




that’s indefensible[.]”

      F.     Since 1983, GSK’s Fraud Caused the Distribution, Sale, Receipt,
             and Manufacture of Adulterated, Misbranded, Worthless, and/or
             False Brand Name and Generic Ranitidine Products Throughout
             the United States

     226.    The ability of ranitidine to degrade into NDMA is a chemical process.

Ranitidine molecules in 1981 chemically react the same way ranitidine molecules

in 2019 react. The scientific data is clear—the degradation process of ranitidine

into NDMA involves an intermolecular reaction that is not affected by excipients,

which occurs from the moment of manufacture until ingested, accelerated by heat

and humidity.

     227.    It is a criminal offense to introduce or cause to be introduced into

interstate commerce a drug that is adulterated or misbranded. 21 U.S.C. § 331(a).

It is also a crime to cause the adulteration or misbranding of any drug in interstate

commerce. 21 U.S.C. § 331(b). It is also a crime to cause receipt in interstate

commerce of any drug that is adulterated or misbranded for pay or otherwise. 21

U.S.C. § 331(c). It is also a crime to manufacture a misbranded or adulterated drug

in the United States. 21 U.S.C. § 331(g).

     228.    A drug is adulterated if “it consists in whole or in part of any filthy,

putrid, or decomposed substance.” 21 U.S.C. § 351(a) (emphasis added). NDMA

is a decomposed substance of ranitidine. NDMA is a prohibited substance in

medications that provides no therapeutic value. Indeed, NDMA is banned in all

                                          95
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 102 of 218




drugs and is considered unsafe at levels in excess of 96 ngs / day. Thus, a

ranitidine product containing NDMA is an adulterated drug, whose distribution

within interstate commerce constitutes a criminal act. FDA has confirmed that

ranitidine medications containing NDMA are adulterated and cannot be sold in the

United States. This is why, when the FDA discovered the adulteration of ranitidine

products, they were removed from the market and ordered to be immediately

disposed.

     229.    This chemical degradation process occurs in prescription products and

OTC ranitidine products. All prescription and OTC products were adulterated.

     230.    A drug is misbranded if “its labeling is false or misleading in any

particular.” 21 U.S.C. § 352(a). It is also considered misbranded if the drug “is

dangerous to health when used in the dosage or manner, or with the frequency or

duration prescribed.” 21 U.S.C. § 352(j).

     231.    Since first being approved, the ranitidine label for prescription

ranitidine, which has been controlled at all times by GSK for both brand and

generic versions, does not disclose that ranitidine can expose users to NDMA and

is, therefore, false and misleading. Every prescription of ranitidine has been

misbranded since 1983, and its sale, distribution, and manufacture within the

United States constituted a criminal act. Similarly, the labeling for OTC ranitidine

was false and misleading for the same reasons and rendered its sale a criminal act.



                                         96
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 103 of 218




Importantly, GSK first developed and controlled the labeling of OTC ranitidine

products and, thus, caused all OTC products thereafter to be misbranded, also in

violation of 21 U.S.C. § 331(a). Moreover, the OTC products cited to and relied

on GSK’s prescription NDAs to obtain approval for all labeling.

     232.    As evidenced by the fact that the FDA removed ranitidine products

due to its connection to NDMA in April 2020, had GSK been honest about its

testing data prior to ranitidine’s approval, the drug would not have been introduced

into interstate commerce as an adulterated and/or misbranded drug. Importantly,

by deceiving the FDA about the connection between ranitidine and NDMA, GSK

defrauded the FDA into approving ranitidine and caused the widespread

distribution, sale, receipt, and manufacture of adulterated and misbranded

ranitidine within interstate commerce since 1983.

     233.    GSK’s fraudulent conduct and false statements to the FDA caused the

distribution, sale, receipt, and manufacture of adulterated and misbranded

ranitidine for both brand and generic ranitidine products throughout the United

States since 1983.

     234.    Ranitidine medication is a worthless product as evidenced by the FDA

ordering the drug’s removal from the market and the immediate disposal of all

ranitidine products due to its inherent ability to form NDMA. Since being recalled,

no ranitidine product has been permitted for sale within the United States.



                                        97
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 104 of 218




      235.   All ranitidine products were not the products offered for sale, as in

addition to containing the active ingredient ranitidine, those products also

contained NDMA, which rendered ranitidine products not what they purported to

be.

       G.    The Government Health Care Programs Covering Drug Costs

      236.   Various federal and state programs pay for prescription and OTC

medications for patients, including, but not limited to, Medicare, Medicare Part D,

the Railroad Retirement Medicare Program, Federal Employees Health Benefit

Programs, Tri-Care (formerly CHAMPUS), CHAMPVA, the Indian Health

Service, Medicaid, and other state-funded programs.

      237.   For each program, as a precondition for payment or reimbursement,

the drug must be approved by the FDA. None of these programs countenance

payment for adulterated, misbranded, or worthless medications. None of these

programs allow for the purchase of drugs that are unsafe for human consumption.

None of these programs would have ever paid any money on ranitidine-containing

products had GSK not lied to the FDA, federal government, and the medical

community about the ability of ranitidine to decompose into NDMA.

       1. Medicaid and Related State Medicaid Programs

      238.   Title XIX of the Social Security Act is a program which provides

medical assistance for certain individuals and families with low incomes and



                                         98
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 105 of 218




resources. The program, known as Medicaid, became law in 1965 as a jointly

funded cooperative venture between the Federal and State governments to assist

States in the provision of adequate medical care to eligible needy Americans.

Among the groups of people served by Medicaid are eligible low-income parents

and children.

     239.     The Medicaid Program (42 U.S.C. § 1395, et seq.) is administered

through the Centers for Medicare and Medicaid Services (“CMS”), which is a

division of the Department of Health and Human Services (“DHHS”) of the federal

government.

     240.     The U.S. Government partially funds state-sponsored medical-

assistance programs for low-income individuals and families pursuant to the

Medicaid program, Title XIX of the Social Security Act, 42 U.S.C. § 1396 et seq.

(“Medicaid”).

     241.     Each state—including each Plaintiff State—administers its own

Medicaid program, but the states’ programs are governed by federal statutes,

regulations, and guidelines approved by DHHS through CMS. See 42 U.S.C.

§§ 1396a(a)–(b). The individual state programs reimburse doctors, hospitals,

pharmacies, and other providers for services and items—including outpatient

drugs—provided to program participants, according to established rates. See 42

U.S.C. §§ 1903(a)(1), 1396b(a)(1). The states receive federal funds to pay for



                                        99
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 106 of 218




Medicaid services and items. See 42 U.S.C. § 1396b(a)(1).

     242.    In order to qualify for federal funds for Medicaid expenditures, each

Plaintiff State has been required to implement a plan containing certain specified

minimum criteria for coverage and payment of claims. See 42 U.S.C.

§ 1396a(a)(30)(A). Benefits for drugs are optional, but all Plaintiff States have

opted to provide Medicaid drug reimbursement coverage.

     243.    Medicaid’s tailored program for drug reimbursement coverage has

created significant and ongoing commercial, contractual, legal, and regulatory ties

between pharmaceuticals manufacturers like GSK, and the federal and state

governments.

     244.    As one recent expert analysis of Medicaid’s pharmaceuticals program

explained:

      Under federal law establishing the Medicaid Drug Rebate Program,
      in order for a drug to qualify for federal statutory Medicaid matching
      funds, manufacturers must sign an agreement with the Secretary of
      Health and Human Services stating that they will rebate a specified
      portion of the Medicaid payment for the drug to the states, who in
      turn share the rebates with the federal government. In return,
      Medicaid must cover almost all FDA-approved drugs that those
      manufacturers produce. Because most manufacturers participate in
      the Medicaid Drug Rebate Program, Medicaid essentially maintains
      an open formulary in which all drugs are covered. However, state
      Medicaid programs can and do implement drug utilization
      management techniques, such as preferred drug lists49 and prior
      authorizations, to manage utilization and spending.



49
  Katherine Young, Utilization & Spending Trends in Medicaid Outpatient
Prescription Drugs, Henry J. Kaiser Family Foundation (Issue Brief, Feb. 2019)
(citing, inter alia, 42 USC § 1396r-8(a)(1)).

                                         100
         Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 107 of 218




     245.     At times relevant here, CMS contracted with private contractors

referred to as “fiscal intermediaries” and “carriers” to act as agents in receiving and

paying Medicaid claims. 42 U.S.C. § 1395h; 42 C.F.R. §§ 421.3, 431.100.

     246.     Drugs must be FDA-approved for safety and effectiveness to qualify

for Federal and State payments under Medicaid and each state Medicaid program.

Specifically, as a precondition for payment or reimbursement of ranitidine

containing products, the drug must be reasonable and necessary for the diagnosis

or treatment of illness or injury. 42 U.S.C. § 1395y(a)(1)(A). Prescribed drugs are

not reasonable and necessary if they have not received FDA approval.

     247.     The following chart estimates the money spent by Medicaid programs

in each state for generic and brand name ranitidine products between 1991 and

2020. Public data regarding Medicaid expenditures prior to 1991 are not available.

Relator estimates that two to three times as much was paid for branded and generic

ranitidine between 1983 and 1991.

 State      Brand                    Generic                    Total
 AK         $4,205,969.50            $3,535,618.24              $7,741,587.74
 AL         $48,286,434.50           $33,699,498.32             $81,985,932.82
 AR         $27,578,850.16           $14,920,440.49             $42,499,290.65
 AZ         $206,333.01              $15,762,298.91             $15,968,631.92
 CA         $102,018,456.82          $75,297,312.27             $177,315,769.09
 CO         $18,727,168.16           $19,878,979.32             $38,606,147.48
 CT         $35,233,238.78           $18,688,722.61             $53,921,961.39
 DC         $6,859,648.52            $3,522,824.86              $10,382,473.38
 DE         $6,752,268.87            $2,805,669.51              $9,557,938.38
 FL         $197,059,299.29          $83,371,179.49             $280,430,478.78


                                         101
     Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 108 of 218




GA      $58,414,774.58         $56,733,032.62          $115,147,807.20
HI      $5,643,889.27          $3,784,522.51           $9,428,411.78
IA      $20,974,303.14         $15,225,497.64          $36,199,800.78
ID      $7,787,334.84          $5,667,230.76           $13,454,565.60
IL      $109,920,559.27        $80,686,213.72          $190,606,772.99
IN      $51,319,501.33         $27,789,562.50          $79,109,063.83
KS      $14,044,507.11         $5,023,293.55           $19,067,800.66
KY      $76,604,681.43         $78,192,656.88          $154,797,338.31
LA      $94,681,479.52         $30,583,900.11          $125,265,379.63
MA      $81,727,409.42         $39,218,704.44          $120,946,113.86
MD      $39,863,276.28         $11,202,594.42          $51,065,870.70
ME      $22,063,936.19         $9,618,026.86           $31,681,963.05
MI      $88,508,853.03         $36,998,516.98          $125,507,370.01
MN      $40,738,533.49         $17,043,474.37          $57,782,007.86
MO      $60,127,339.21         $79,716,703.18          $139,844,042.39
MS      $32,686,371.98         $27,576,411.83          $60,262,783.81
MT      $9,718,742.55          $3,437,340.69           $13,156,083.24
NC      $48,854,061.15         $47,918,901.32          $96,772,962.47
ND      $5,455,205.73          $1,463,198.13           $6,918,403.86
NE      $16,361,601.88         $5,328,778.31           $21,690,380.19
NH      $17,922,644.07         $6,478,254.95           $24,400,899.02
NJ      $100,695,431.56        $27,912,380.50          $128,607,812.06
NM      $8,540,446.69          $6,175,943.44           $14,716,390.13
NV      $37,241,251.10         $6,110,827.27           $43,352,078.37
NY      $201,490,982.64        $114,954,157.17         $316,445,139.81
OH      $128,922,744.63        $41,383,528.02          $170,306,272.65
OK      $25,490,432.26         $16,953,047.51          $42,443,479.77
OR      $15,317,939.86         $8,371,737.27           $23,689,677.13
PA      $147,773,136.10        $45,305,450.46          $193,078,586.56
RI      $16,516,007.77         $6,575,709.46           $23,091,717.23
SC      $54,248,615.76         $33,831,091.03          $88,079,706.79
SD      $16,497,846.77         $87,320,400.37          $103,818,247.14
TN      $103,034,258.04        $665,781,122.96         $768,815,381.00
TX      $128,038,104.83        $43,119,196.19          $171,157,301.02
UT      $10,399,185.18         $5,517,329.70           $15,916,514.88
VA      $80,049,568.07         $36,141,829.72          $116,191,397.79
VT      $9,279,127.18          $1,614,896.52           $10,894,023.70
WA      $56,296,070.12         $583,558,441.73         $639,854,511.85
WI      $50,864,170.47         $16,609,758.64          $67,473,929.11

                                   102
         Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 109 of 218




 WV         $44,073,810.12             $31,179,235.50           $75,253,045.62
 WY         $4,305,645.83              $1,060,227.78            $5,365,873.61
 Total      $2,589,421,448.06          $2,640,645,671.03        $5,230,067,119.09

      2. Medicare

     248.       Congress created the program known as “Medicare” in 1965 when it

enacted Title XVIII of the Social Security Act, 42 U.S.C. § 1395 et seq.

Entitlement to Medicare is based primarily on advanced age or disability. 42

U.S.C. §§ 426, 426A. Medicare uses federal government funds to reimburse

hospitals and medical providers for certain healthcare costs for program

participants.

     249.       At all times relevant here, CMS contracted with private contractors

referred to as “fiscal intermediaries” and “carriers” to act as agents in receiving and

paying Medicare claims. 42 U.S.C. § 1395h; 42 C.F.R. §§ 421.3, 431.100.

     250.       Drugs must be FDA-approved for safety and effectiveness to qualify

for Federal and State payments under Medicare. Specifically, as a precondition for

payment or reimbursement of ranitidine containing products, the drug must first be

approved by the FDA and eligible for sale within the United States.

     251.       Medicare is organized into several coverage initiatives known as

“Parts.”

     252.       Medicare Part B has long covered outpatient prescription drugs

provided to a patient “incident to” physician services. 42 U.S.C. § 1395x(s)(2)(a).


                                           103
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 110 of 218




Like all drugs paid for through Medicare, for a drug to be reimbursable, it must be

FDA approved and legally permitted in commerce.

     253.    Public data concerning Medicare Part B reaches back to 2000.

Between 2000 and 2020, Medicare reimbursed 5.7 million ranitidine products,

paying an estimated $5,489,635.

     254.    Since January 1, 2006, Medicare Part D has provided comprehensive

outpatient prescription drug coverage for brand name and generic drugs according

to national and local coverage determinations. See Medicare Prescription Drug

Improvement and Modernization Act of 2003, Pub. L. 108-173. 50 Coverage of

drugs under Medicare Part D is subject to the same regulations as coverage under

Medicaid as described above.

     255.    The Medicare Part D prescription drug benefit is offered by private

prescription drug plans (“PDPs”) and Medicare Advantage prescription drug plans

(“MA-PDs”). Medicare beneficiaries have a choice among many different plans in

each state. Medicare reimburses the private plans for its coverage of Medicare

beneficiaries.

     256.    The various versions of brand and generic ranitidine as identified in


50
   For “dual eligibles”—individuals who received drug coverage under Medicaid
in addition to Medicare coverage for other health care in 2005—enrollment in
Medicare Part D was compulsory. Such beneficiaries were automatically switched
to Part D plans for 2006 and commenced receiving comprehensive prescription
drug coverage under Medicare Part D.

                                        104
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 111 of 218




this complaint are covered drugs under Medicare Part D, and the federal and state

governments—including the Government Plaintiffs—are thus among the largest, if

not the largest, end-purchasers of these products.

     257.    Drugs must be FDA-approved for safety and effectiveness to qualify

for Federal and State payments under Medicaid and each state Medicaid program.

Specifically, as a precondition for payment or reimbursement of ranitidine

containing products, the drug must first be approved by the FDA and eligible for

sale within the United States.

     258.    Data since 2006 for Medicare Part D is not all available. However, as

shown in the chart below, the following payments were made under Part D for

ranitidine products between 2012 and 2019.

                   Medicare Part D Ranitidine Expenditures
                   2012          $76,256,189.80
                   2013          $92,572,018.39
                   2024          $97,708,749.38
                   2015          $94,275,651.50
                   2016          $106,696,509.45
                   2017          $108,931,496.03
                   2018          $125,853,897.48
                   2019          $92,409,996.73
                   Total         $794,704,508.76

      3. The Railroad Retirement Medicare Program

     259.    The Railroad Retirement Medicare program is authorized by the

Railroad Retirement Act of 1974, at 45 U.S.C. §231 et seq. It is administered


                                         105
          Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 112 of 218




through the United States Railroad Retirement Board, “RRB,” and furnishes

Medicare coverage to retired railroad employees.

     260.      Drugs must be FDA-approved for safety and effectiveness to qualify

for Federal and State payments under the RRB Medicare program. Specifically, as

a precondition for payment or reimbursement of ranitidine containing products, the

drug must first be approved by the FDA and eligible for sale within the United

States.

     261.      Payments for ranitidine containing products were issued in the RRB

program.

      4. Tri-Care

     262.      The Tri-Care program, formerly CHAMPUS, is administered by the

United States Department of Defense (“DoD”) through its component in agency,

CHAMPUS, under the authority of 10 U.S.C. §§1701-1106. It is a health care

program that provides for care in civilian facilities for members of the uniformed

services and their dependents.

     263.      Drugs must be FDA-approved for safety and effectiveness to qualify

for payments under Tri-Care. Specifically, as a precondition for payment or

reimbursement of ranitidine containing products, the drug must first be approved

by the FDA and eligible for sale within the United States.

     264.      Payments for ranitidine containing products were issued in the Tri-



                                          106
         Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 113 of 218




Care program.

         5. The Veterans Administration

     265.     The Civilian Health and Medical Program of the Department of

Veterans Affairs (“CHAMPVA”) is a comprehensive health care program in which

the VA shares program is administered by Health Administration Center and its

offices are located in Denver, Colorado. In general, the CHAMPVA program

covers most health care services and supplies that are medically necessary.

     266.     Due to the similarity between CHAMPVA and the DoD Tri-Care

program, the two are often mistaken for each other. CHAMPVA is a Department

of Veterans Affairs program whereas Tri-Care is a regionally managed health care

program for active duty and retired members of the uniformed services, their

families and survivors. In some cases, a veteran may appear to be eligible for

both/either program on paper. However, military retirees, or the spouse of a

veteran who was killed in action, are and will always be Tri-Care beneficiaries.

     267.     Pursuant to 38 U.S.C. §8126, and the regulations based thereon, and

contracts the Veterans Administration had with manufacturers, drugs furnished to

the Veterans’ Administration by drug manufacturers must be furnished at the best

price.

     268.     The VA and CHAMPUS/Tri-care operate in substantially similar

ways to the Medicare and Medicaid programs, but primarily for the benefit of



                                        107
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 114 of 218




military veterans, their spouses (or widowed spouses) and other beneficiaries.

     269.   Drugs must be FDA-approved for safety and effectiveness to qualify

for payments by the Veterans Administration. Specifically, as a precondition for

payment or reimbursement of ranitidine containing products, the drug must first be

approved by the FDA and eligible for sale within the United States.

     270.   Payments for ranitidine containing products were issued by the

Veterans Administration. A recent report by federal auditors found that ranitidine

ranked twelfth in a survey of the drugs most commonly utilized by providers who

reimburse through the DOD or VA. See Prescription Drugs: Comparison of DOD

and VA Direct Purchase Prices, at 19, U.S. Gov’t Accountability Office (Apr.

2013). 51

       6. Indian Health Service

     271.   The Indian Health Service (“HIS””) is responsible for providing


51
   The DOD and VA spend approximately $12 billion a year to purchase drugs on
behalf of roughly 18.5 million active-duty and retired military personnel, their
dependents, and eligible veterans, according to the most recent data from the
federal government. See Joanna Shepherd, The Prescription for Rising Drug
Prices: Competition or Price Controls?, 27 Health Matrix 315, 334–35 (2017).
These agencies face substantial complexity and obscurity concerning the prices
paid for pharmaceuticals. See Prescription Drugs: Comparison of DOD and VA
Direct Purchase Prices, at 1, U.S. Gov’t Accountability Office (Apr. 2013) (“DOD
and VA face continued challenges in controlling drug costs. While the prescription
drug market is complex and there are many factors affecting the prices DOD and
VA are able to obtain for directly purchased drugs, differences in prices paid for
specific drugs may provide insights into opportunities for each agency to obtain
additional savings on at least some of the drugs they purchase.”).

                                        108
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 115 of 218




comprehensive health services to more than 2,100,000 Americans. It is

administered by the department of health and human services pursuant to 42

U.S.C.A. 2002 et seq. IHS provides health care to American Indians and Alaska

Natives who live on or near Indian reservations or in Alaska Native villages. HIS

provides services free of charge to all eligible beneficiaries.

     272.    Drugs must be FDA-approved for safety and effectiveness to qualify

for payments by the IHS. Specifically, as a precondition for payment or

reimbursement of ranitidine containing products, the drug must first be approved

by the FDA and eligible for sale within the United States.

     273.    Payments for ranitidine containing products were issued by the HIS.

      7. The Federal Employees Health Benefits Program

     274.    The Federal Employees Health Benefits Program (“FEHBP”) is

administered by the United States Office of Personnel Management (“OPM”)

pursuant to 5 U.S.C. § 8901 et seq., and provides health care coverage to federal

employees, retirees and their dependents and survivors.

     275.    Drugs must be FDA-approved for safety and effectiveness to qualify

for payments under the FEHBP. Specifically, as a precondition for payment or

reimbursement of ranitidine containing products, the drug must first be approved

by the FDA and eligible for sale within the United States.

     276.    Payments for ranitidine containing products were issued by the



                                          109
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 116 of 218




FEHBP.

      H.     The Regulatory System Governing Pharmaceuticals Eligible for
             Taxpayer-Funded Reimbursement

     277.    The FDA is responsible for protecting the public health by ensuring

the safety, efficacy, and security of, among other things, drugs administered to

human patients. The FDA is also responsible for administration of the Food, Drug,

and Cosmetics Act (“FDCA”), 21 U.S.C. § 301 et seq. 52

     278.    Through the FDA, the federal government endeavors to assure the

safety and efficacy of drug products consumed daily by millions of Americans

through a combination of approvals, inspections, enforcement, and self-regulation

by manufacturers like GSK. As one FDA attorney has noted, these manufacturers

“occupy a virtual fiduciary relationship to the public. . . . FDA shares this trustee

relationship to the consumer with industry leaders, but the initial and ultimate

responsibility remains with those leaders. This is true not only because the law

makes it so, but also for the practical reason that the FDA cannot . . . monitor every

decision that is made every day that affects the quality of our . . . drugs.” 53



52
   The FDCA has been amended by the Drug Price Competition and Patent Term
Restoration Act of 1984 (the “Hatch-Waxman Act”), and the Medicare
Prescription Drug, Improvement and Modernization Act of 2003, 21 U.S.C. §
355(j), 35 U.S.C. § 271(e) (2005).
53
   Eric M. Blumberg, “Abbott Laboratories Consent Decree and Individual
Responsibility Under the Federal Food, Drug, and Cosmetics Act,” 55 Food &
Drug L.J., 145, 147. (emphasis added).

                                           110
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 117 of 218




     279.     The brand drug maker bears responsibility for the accuracy and

content of the drug label at all times, and is charged with updating it upon

discovery of information that would bear upon the safety or efficacy of the

medication.

     280.     Under the FDCA, new pharmaceutical drugs cannot be marketed or

sold in interstate commerce in the United States unless the sponsor of the drug

demonstrates to the satisfaction of the FDA that the drug is safe and effective for

each of its intended uses. 21 U.S.C. § 355(a), -(d).

     281.     The FDCA requires that pre-market approval for a new drug must be

sought by filing an NDA with the FDA. 21 U.S.C. § 355(b). As a condition for

FDA approval, the manufacturer must present substantial evidence of its safety and

effectiveness for its intended use through adequate and well-controlled studies. 21

C.F.R. § 314.50(d).

     282.     FDA regulations specify the characteristics of what constitutes an

adequate and well-controlled study. Noting that these characteristics “have been

developed over a period of years and are recognized by the scientific community as

the essentials of an adequate and well-controlled clinical investigation[,]” the

regulations detail the following requirements, among others: a clear statement of

the objective of the investigation and a summary of the methods of analysis

actually used; a study design “that permits a valid comparison with a control”



                                         111
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 118 of 218




group; and adequate measures to minimize bias on the part of the subjects,

observers and analysts of the data. 21 C.F.R. § 314.126(a)–(b).

      283.   The FDA does not approve a drug for treatment of a disease in

general. Instead, a drug is approved for treatment of a specific condition, for

which the drug has been tested. The specific approved uses are called the

“indications” for which the drug may be prescribed. For each approved indication,

the FDA will specify particular dosages and dosage frequency determined to be

safe and effective. In approving a drug for a given indication, the FDA also

approves the language of the product’s label (the package insert or prescribing

information).

      284.   The FDCA defines labeling very broadly, such that it includes “all

labels and other written, printed, or graphic matter (1) upon any article or any of its

containers or wrappers, or (2) accompanying such article.” 21 U.S.C. § 321(m).

Promotional materials for a specific drug are considered labeling, and they must

conform with the substance and information contained in the FDA-approved label.

      285.   The FDCA prohibits drug companies from promoting approved drugs

by making misleading claims as to any drug’s safety. See 21 U.S.C. §§ 331, 352,

355(d). Specifically, an advertisement for a drug (as defined above) is “false,

lacking in fair balance, or otherwise misleading” if, among other representations,

it:



                                          112
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 119 of 218




               Contains a drug comparison that represents or suggests that
         a drug is safer or more effective than another drug in some
         particular when it has not been demonstrated to be safer or more
         effective in such particular by substantial evidence or substantial
         clinical experience;
                                         ***
               Presents information from a study in a way that implies that
         the study represents larger or more general experience with the
         drug than it actually does; [or]
                                         ***
               Uses literature, quotations, or references that purport to
         support an advertising claim but in fact do not support the claim
         or have relevance to the claim[.]

        21 C.F.R. § 202.1(i)–(ii), -(x).

     286.    Generic drugs are drugs that the FDA has found to be equivalent to

their corresponding brand name drugs. A generic drug provides identical

therapeutic benefits and has the same side effects and safety profile as its

corresponding brand-name drug.

     287.    Under the Hatch-Waxman Act, a generic drug manufacturer may seek

expedited FDA approval to market a generic version of a brand name drug with an

approved NDA by filing an Abbreviated New Drug Application (“ANDA”). 21

U.S.C. § 355(j). An ANDA relies on the safety and efficacy data already filed with

the FDA by the manufacturer of the equivalent brand name drug.

     288.    Generic drug manufacturers are not allowed to devise their own safety

information for the consumer. The Hatch-Waxman Act specifically requires the

generic drugs’ labels be “the same as the labeling approved for the brand-name



                                           113
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 120 of 218




drug” in order to gain approval by the FDA. See 1984 Drug Price Competition and

Patent Term Restoration Act, 98 Stat. 1585. Additionally, as a generic medication

is considered the bioequivalent to the brand, it cannot contain any substances

within it that would render it adulterated or misbranded, such as NDMA.

     289.    Brand manufacturers who submit NDAs to the FDA for approval are

on notice that subsequent generic manufacturers, and the government, will entirely

rely on the brand manufacturer’s safety and health representations. Brand

manufacturers also know that if they conceal safety information from the FDA and

from doctors, purchasers of the related generics will rely on the brand

manufacturer’s misrepresentations. Indeed, GSK actually manufactured ranitidine

drug substances and pills for various generic companies. 54

     290.    The FDA imposes upon pharmaceuticals companies an ongoing duty

to report promptly to the FDA any “adverse drug experience,” defined as “[a]ny

adverse event55 associated with the use of a drug in humans, whether or not

considered drug related, including . . . any failure of expected pharmacological

action.” 21 C.F.R. § 314.80(a), (c); see Wyeth v. Levine, 555 U.S. 555, 608 (2009)


54
   For example, from March 2007 to March 2009, GSK and Par Pharmaceutical
operated a joint supply-and-distribution agreement, pursuant to which GSK
manufactured a generic equivalent to its Zantac syrup, and Par marketed and
supplied the product (with GSK earning a percentage of net sales).
55
   The FDA defines “adverse event” as “any untoward medical occurrence
associated with the use of a drug in humans, whether or not considered drug
related.” 21 C.F.R. § 312.32.

                                        114
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 121 of 218




(Once the FDA approves a drug, “the manufacturer remains under an obligation to

investigate and report any adverse events associated with the drug and must

periodically submit any new information that may affect the FDA’s previous

conclusions about the safety, effectiveness, or labeling of the drug.”).

     291.    This responsibility extends not only to the original NDA applicant,

but also “to any person other than the applicant whose name appears on the label of

an approved drug product as a manufacturer, packer, or distributor (nonapplicant).”

21 C.F.R. § 314.80(c)(1)(iii).

     292.    The scope of this ongoing requirement is broad. Applicants and

nonapplicants for a given drug must create and follow “written procedures for the

surveillance, receipt, evaluation, and reporting of postmarketing adverse drug

experiences to FDA[,]” a process that must involve “promptly review[ing] all

adverse drug experience information obtained or otherwise received by the

applicant from any source, foreign or domestic, including information derived

from commercial marketing experience, postmarketing clinical investigations,

postmarketing epidemiological/surveillance studies, reports in the scientific

literature, and unpublished scientific papers.” 21 C.F.R. § 314.80(b).

     293.    The requirement to conduct postmarketing surveillance of adverse

events concerning a drug is a condition to its continued FDA approval. This

requirement is a material one, because the FDA would not continue to approve a



                                         115
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 122 of 218




drug where the applicant or nonapplicant ignores or suppresses adverse

information—for example, that the drug causes cancer. Drugs whose applicants

and nonapplicants fail to meet this requirement are due for prohibition by the FDA.

See § 314.80(k). The FDA specifically told Defendants, on numerous occasions,

of their obligation to meet this requirement with respect to ranitidine.

     294.    A manufacturer must advise healthcare providers and the medical

community of any known facts regarding the safety and/or efficacy of its products,

including by updating the product label information, if necessary.

     295.    When manufacturers learn that their products create a risk to health or

safety, they must revise their labels and issue corresponding warnings to providers

and the public. The prohibition against misbranded drugs is material, because the

FDA does not allow misbranded drugs to be marketed in the United States, which

includes sales covered or reimbursed by the government-funded programs.

V.    EQUITIBLE TOLLING

     296.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     297.    GSK designed its fraud to be self-concealing because it knew that

once it concealed ranitidine’s NDMA potential no medical tester would know to

look for it. Further, GSK engaged in substantial conduct to conceal the NDMA-

formation dangers.



                                         116
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 123 of 218




     298.     GSK concealed its fraud by concealing its NDMA data in 1981 from

the FDA and the medical community.

     299.     GSK also concealed its fraud by designing its safety studies and NDA

application such as to conceal the NDMA dangers of ranitidine. While N-

nitrosamine and NDMA formation were known dangers to GSK, it did not draw

these dangers to the FDA’s attention, nor did it engage in fair and balanced

scientific testing to assuage FDA’s express concerns. Instead, GSK lied to the

FDA.

     300.     GSK, while on notice of the dangers of NDMA formation in the body

as a result of taking ranitidine, conducted junk science with the intention of

dissuading investigation into ranitidine’s NDMA-formation dangers.

     301.     GSK designed its product monograph to conceal ranitidine’s

likelihood of degradation when exposed to acid.

     302.     GSK submitted materially false and misleading product label inserts

to the FDA.

     303.     GSK issued studies touting Zantac’s safety profile by conducting bad

science and misrepresenting the science of others.

     304.     GSK, in contravention of its duties to update under the law, concealed

from the FDA—and from CMS and other agencies involved in running

Government Health Care Programs—studies that would have demonstrated



                                         117
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 124 of 218




ranitidine’s NDMA risk.

      305.   GSK engaged in a massive, nationwide marketing campaign to

convince doctors—and patients, for the first time ever—to use ranitidine because

of its purportedly superior safety profile, all the while knowing that it was

concealing important health safety data.

VI.    CAUSES OF ACTION

       1. COUNT I: Violations of the Federal False Claims Act, 31 U.S.C.
          § 3729(a)(1)(A)

      306.   Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

      307.   This Count is brought by Relator in the name of the United States

under the qui tam provisions of 31 U.S.C. § 3730 for GSK’s violation of 31 U.S.C.

§ 3729 et seq., as amended.

      308.   By virtue of the above-described acts, GSK knowingly caused to be

presented false or fraudulent claims for ranitidine containing products for payment

or approval to the United States, between 1983 and April 1, 2020.

      309.   Plaintiff United States, unaware of the false or fraudulent nature of the

claims caused to be made by GSK and in reliance on the accuracy thereof, paid for

ranitidine containing products that would otherwise not have been allowed or

permitted but for GSK’s fraud as alleged herein.

      310.   These claims were false because claims for mislabeled, misbranded,

                                           118
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 125 of 218




adulterated, or falsely certified drugs; claims for drugs whose FDA approval is

subject to withdrawal; claims for drugs that are not “reasonable and necessary” for

treatment of patients; claims for drugs that were worthless; and claims for drugs

that did not provide the product the government contracted to purchase are not

eligible for reimbursement by government-funded programs.

     311.    Further, throughout the relevant time period, GSK, through the acts

and omissions described herein, have caused false records or statements material to

false or fraudulent claims to government-funded programs. GSK knowingly made

numerous misleading statements, false statements, and omissions regarding

ranitidine, including that it has the safety profile warranted by GSK to the FDA,

which it does not. Each claim for reimbursement for such prescriptions and/or

OTC ranitidine product, both brand and generic, submitted to a government-funded

health insurance program represents a false or fraudulent claim for payment in

reliance on GSK’s fraudulent statements concerning ranitidine’s safety profile, its

ability to decompose into NDMA, and whether the drug was adulterated,

misbranded, false, or worthless.

     312.    Each claim and/or payment for ranitidine was factually false because

GSK’s fraudulent conduct caused the United States to pay for ranitidine products

that were not actually ranitidine, rather, they were ranitidine with NDMA. Each

claim was factually false because ranitidine products with NDMA are not what



                                        119
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 126 of 218




they purport to be and/or are worthless drugs, as evidenced by the FDA ordering

all ranitidine products disposed of following the revelation that ranitidine products

decompose into NDMA from the point of manufacturer, due to a chemical

reaction, during regular transport and storage, prior to being ingested by a

taxpayer. Because of GSK’s fraudulent statements to the FDA, federal

government, and medical community, ranitidine was approved for sale despite the

drug being unsafe, unstable, and incapable of not turning into an adulterated,

misbranded, and/or worthless drug.

     313.    Each claim and/or payment for ranitidine was legally false because

GSK expressly misrepresented the safety of ranitidine and its ability to decompose

into NDMA to the FDA, federal government, and medical community. These

express misrepresentations, outlined in detail throughout this complaint, caused

each claim for ranitidine to be false and, thus, each payment for a false ranitidine

product constituted a false claim under the FCA. Furthermore, GSK expressly

certified that ranitidine products were unadulterated, not misbranded, had worth,

and were safe for human consumption as a precondition to being able to receive

payments from government-funded programs for ranitidine products. Indeed, these

express false certifications to the FDA and government-funded programs were the

but-for cause for the submission and payment of all ranitidine containing products

since 1983 until April 1, 2020.



                                         120
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 127 of 218




     314.    Each claim and/or payment for ranitidine was legally false because

GSK impliedly certified that the drugs were unadulterated, not misbranded, had

worth, and where safe for human consumption—all preconditions for payment.

These implied misrepresentations, outlined in detail throughout this complaint,

caused each claim for ranitidine to be false and, thus, each payment for a false

ranitidine product constituted a false claim under the FCA. Indeed, these implied

false certifications to the FDA and government-funded programs were the but-for

cause for the submission and payment of all ranitidine containing products since

1983 until April 1, 2020.

     315.    Relator cannot at this time identify all the false claims for payment

that were caused by GSK’s conduct. The false claims were presented by thousands

of separate entities, and over decades, until the truth finally came out and the FDA

pulled all ranitidine products off the market on April 1, 2020.

     316.    By reason of GSK’s wrongful conduct, the United States has suffered

substantial losses in an amount to be proved at trial, and therefore is entitled to

multiple damages under the FCA, to be determined at trial, plus a civil penalty of

$5,500 to $11,000 for each such false claim caused to be submitted by GSK.

      2. COUNT II: Violations of the Federal False Claims Act, 31 U.S.C.
         § 3729(a)(1)(B)

     317.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

                                          121
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 128 of 218




     318.    This Count is brought by Relator in the name of the United States

under the qui tam provisions of 31 U.S.C. § 3730 for GSK’s violation of 31 U.S.C.

§ 3729(a)(1)(B).

     319.    By virtue of the above-described acts, GSK knowingly caused false

records or statements material to false or fraudulent claims for ranitidine to be paid

or approved by the United States.

     320.    Plaintiff United States, unaware of the false or fraudulent nature of the

records and/or statements caused to be made and used by GSK, and in reliance on

the accuracy thereof, has paid and approved claims for ranitidine that were

ineligible for reimbursement and would not have been paid or approved if the truth

were known.

     321.    These claims were false because claims for mislabeled, misbranded,

adulterated, or falsely certified drugs; claims for drugs whose FDA approval is

subject to withdrawal; claims for drugs that are not “reasonable and necessary” for

treatment of patients; claims for drugs that were worthless; and claims for drugs

that did not provide the product the government contracted to purchase are not

eligible for reimbursement by government-funded programs. Relator alleges

factual and legal falsity, as outline throughout this complaint.

     322.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by



                                         122
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 129 of 218




thousands of separate entities, and over many years.

     323.    By reason of GSK’s wrongful conduct, the United States has suffered

substantial losses in an amount to be proved at trial, and therefore is entitled to

multiple damages under the FCA, to be determined at trial, plus a civil penalty of

$5,500 to $11,000 for each such false statement caused to be made or used by

GSK.

       3. COUNT III: Violations of the Federal False Claims Act, 31 U.S.C.
          § 3729(a)(1)(C)

     324.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     325.    Defendants entered into conspiracies with third parties for the purpose

of defrauding the Plaintiff United States.

     326.    By the foregoing acts and omissions, Defendants took actions in

furtherance of its conspiracies, including but not limited to its joint marketing

venture with Par Pharmaceutical, Pfizer, and BI, thereby exponentially increasing

the number of ranitidine prescriptions submitted to the United States for payment.

     327.    By the foregoing acts and omissions, GSK entered into these unlawful

conspiracies to defraud the United States by causing false and fraudulent claims to

be paid and approved in violation of the False Claims Act, 31 U.S.C.

§ 3729(a)(1)(C).

     328.    At all times relevant to the complaint, GSK acted with the requisite

                                          123
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 130 of 218




knowledge.

     329.    As a direct and proximate consequence of GSK’s conspiratorial

conduct, the United States has suffered significant, material financial damages in

an amount to be proved at trial.

     330.    GSK are liable for multiple damages under the FCA, to be determined

at trial, plus a civil penalty of $5,500 to $11,000 for each ineligible ranitidine claim

submitted to the United States for payment.

      4. COUNT IV: Violations of the California False Claims Act, Cal.
         Gov’t Code § 12651(a)

     331.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     332.    This is a claim for treble damages and penalties under the California

False Claims Act.

     333.    Cal. Gov’t Code § 12651(a) provides liability for the costs of a civil

action, a civil penalty of up to $11,000 and treble damages for all damages

sustained by the state for any person who—

        (1) knowingly presents, or causes to be presented, to an officer or

        employee of the state or of any political subdivision thereof, a false

        claim for payment or approval;

        (2) knowingly makes, uses, or causes to be made or used a false

        record or statement to get a false claim paid or approved by the

                                          124
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 131 of 218




       state or any political subdivision;

       (3) conspires to defraud the state or any political subdivision by

       getting a false claim allowed or paid by the state or by any political

       subdivision; [or]

       (8) is a beneficiary of an inadvertent submission of a false claim,

       subsequently discovers the falsity of the claim, and fails to disclose

       the false claim to the state or the political subdivision within a

       reasonable time after discovery of the false claim.

     334.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. These claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

California. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to California in violation of Section 12651(a) of the

California False Claims Act.

     335.    Further, throughout the relevant time period, Defendants, through the

acts and omissions described herein, have knowingly made or used, or caused to be



                                         125
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 132 of 218




made or used, false records or statements material to false or fraudulent claims to

California, in violation of Section 12651(a). Defendants knowingly made

numerous misleading statements, false statements, and omissions regarding

ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     336.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     337.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     338.    The California State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     339.    By reason of Defendants’ acts and omissions, the California State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     340.    The State of California is entitled to the maximum penalty of



                                          126
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 133 of 218




$11,000.00 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     341.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     342.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of California in the

operation of its Medicaid program.

     343.    As a result of Defendant’s knowing violations of the California False

Claims Act, the United States has sustained actual damages.

      5. COUNT V: Violations of the Colorado Medicaid False Claims Act,
         Colo. Rev. Stat. § 25.5-4-305(1)

     344.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     345.    This is a claim for treble damages and penalties under the Colorado

Medicaid False Claims Act.

     346.    The Colorado Medicaid False Claims Act, Colo. Rev. Stat. § 25.5-4-

305(1)(a)–(b), provides for liability for anyone who—

        (a) Knowingly presents, or causes to be presented, a false or

        fraudulent claim for payment or approval; [or]

        (b) Knowingly makes, uses, or causes to be made or used a false

                                         127
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 134 of 218




        record or statement material to a false or fraudulent claim . . . .

     347.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

provide the product the government contracted to purchase are not eligible for

reimbursement by Colorado. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Colorado in violation of Section 25.5-4-

305(1) of the Colorado Medicaid False Claims Act.

     348.    Further, throughout the relevant time period, Defendants, through the

acts and omissions described herein, have knowingly made or used, or caused to be

made or used, false records or statements material to false or fraudulent claims to

Colorado, in violation of Section 25.5-4-305(1) of the Colorado Medicaid False

Claims Act. Defendants knowingly made numerous misleading statements, false

statements, and omissions regarding ranitidine’s safety profile, including that it is

safe for use as warranted by Defendants to the FDA. Through this conduct,

Defendants knowingly caused false or fraudulent claims for payment to Colorado



                                          128
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 135 of 218




in violation of Section 25.5-4-305(1).

     349.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     350.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     351.    The Colorado State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     352.    By reason of Defendants’ acts and omissions, the Colorado State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     353.    The State of Colorado is entitled to the maximum penalty of

$11,000.00 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     354.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.



                                         129
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 136 of 218




     355.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Colorado in the

operation of its Medicaid program.

     356.    As a result of Defendants’ knowing violations of the Colorado

Medicaid False Claims Act, the United States has sustained actual damages.

      6. COUNT VI: Violations of the Connecticut False Claims Act, Conn.
         Gen. Stat. Ann. § 4-275(a)

     357.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     358.    This is a claim for treble damages and penalties under the Connecticut

False Claims Act.

     359.    The Connecticut False Claims Act, Conn. Gen. Stat. Ann. § 4-275(a),

provides for liability for individuals and entities who—

        (1) Knowingly present, or cause to be presented, a false or

        fraudulent claim for payment or approval under a state-

        administered health or human services program;

        (2) Knowingly make, use or cause to be made or used, a false

        record or statement material to a false or fraudulent claim under a

        state-administered health or human services program; [or]

        (3) Conspire to commit a violation of [the act] . . . .

                                          130
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 137 of 218




     360.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

provide the product the government contracted to purchase are not eligible for

reimbursement by Connecticut. Through this conduct, Defendants knowingly

caused false or fraudulent claims for payment to Connecticut in violation of

Section 4-275(a) of the Connecticut False Claims Act.

     361.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Connecticut, in violation of Section 4-275(a). Defendants

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     362.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.



                                          131
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 138 of 218




Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     363.    Relator cannot at this time identify all of the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     364.    The Connecticut State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     365.    By reason of Defendants’ acts and omissions, the Connecticut State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     366.    The State of Connecticut is entitled to the maximum penalty of

$11,000.00 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     367.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     368.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Connecticut in



                                         132
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 139 of 218




the operation of its Medicaid program.

     369.    As a result of Defendants’ knowing violations of the Connecticut

False Claims Act, the United States has sustained actual damages.

      7. COUNT VII: Violations of the Delaware False Claims and Reporting
         Act, Del. Code Ann. tit. 6, § 1201(a)

     370.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     371.    This is a claim for treble damages and penalties under the Delaware

False Claims and Reporting Act.

     372.    The Delaware False Claims and Reporting Act, Del Code Ann. tit. 6,

§ 1201(a)(1), provides that any person who:

       knowingly presents or causes to be presented, directly or indirectly,

       a false or fraudulent claim for payment or approval . . . shall be

       liable to the Government for a civil penalty of not less than $5,500

       and not more than $11,000 for each act constituting a violation of

       this section, plus 3 times the amount of the actual damages which

       the Government sustains because of the act of that person.

     373.    The Delaware False Claims and Reporting Act, Del Code Ann. tit. 6,

§ 1201(a)(2), provides that any person who:

       knowingly makes, uses or causes to be made or used, directly or

       indirectly, a false record or statement to get a false or fraudulent

                                         133
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 140 of 218




       claim paid or approved . . . shall be liable to the Government for a

       civil penalty of not less than $5,500 and not more than $11,000 for

       each act constituting a violation of this section, plus 3 times the

       amount of the actual damages which the Government sustains

       because of the act of that person.

     374.    The Delaware False Claims and Reporting Act, Del Code Ann. tit. 6,

§ 1201(a)(3), provides that any person who:

       Conspires to defraud the Government by getting a false or

       fraudulent claim allowed or paid . . . shall be liable to the

       Government for a civil penalty of not less than $5,500 and not more

       than $11,000 for each act constituting a violation of this section,

       plus 3 times the amount of the actual damages which the

       Government sustains because of the act of that person.

     375.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by



                                         134
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 141 of 218




provide the product the government contracted to purchase are not eligible for

reimbursement by Delaware. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Connecticut in violation of Section

1201(a) of the Delaware False Claims and Reporting Act.

     376.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Connecticut, in violation of Section 1201(a). Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     377.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     378.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     379.    The Delaware State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid



                                          135
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 142 of 218




and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     380.    By reason of Defendants’ acts and omissions, the Delaware State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     381.    The State of Delaware is entitled to the maximum penalty of

$11,000.00 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     382.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     383.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Delaware in the

operation of its Medicaid program.

     384.    As a result of Defendants’ knowing violations of the Delaware False

Claims and Reporting Act, the United States has sustained actual damages.

      8. COUNT VIII: Violations of the Florida False Claims Act, Fla. Stat.
         § 68.082(2)

     385.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     386.    This is a claim for treble damages and penalties under the Florida

                                         136
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 143 of 218




False Claims Act.

     387.    Fla. Stat § 68.082(2)(a)-(c) provides that any person who—

              (a) Knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval . . . is liable to the state

       for a civil penalty of not less than $5,500 and not more than

       $11,000 and for treble the amount of damages the agency sustains

       because of the act or omission of that person.

              (b) Knowingly makes, uses, or causes to be made or used, a

       false record or statement material to a fraudulent claim . . . is liable

       to the state for a civil penalty of not less than $5,500 and not more

       than $11,000 and for treble the amount of damages the agency

       sustains because of the act or omission of that person.

              (c) Conspires to commit a violation of [the Florida False

       Claims Act] . . . is liable to the state for a civil penalty of not less

       than $5,500 and not more than $11,000 and for treble the amount of

       damages the agency sustains because of the act or omission of that

       person.

     388.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs



                                          137
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 144 of 218




whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

provide the product the government contracted to purchase are not eligible for

reimbursement by Florida. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Florida in violation of Section 68.082 of

the Florida False Claims Act.

     389.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Florida, in violation of Section 68.082(2). Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     390.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     391.    Relator cannot at this time identify all the false claims for payment



                                          138
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 145 of 218




that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     392.    The Florida State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     393.    By reason of Defendants’ acts and omissions, the Florida State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     394.    The State of Florida is entitled to the maximum penalty of $11,000.00

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     395.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     396.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Florida in the

operation of its Medicaid program.

     397.    As a result of Defendants’ knowing violations of the Florida False

Claims Act, the United States has sustained actual damages.



                                         139
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 146 of 218




      9. COUNT IX: Violations of the Georgia False Medicaid Claims Act,
         Ga. Code Ann. § 49-4-168.1(a)

     398.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     399.    This is a claim for treble damages and penalties under the Georgia

False Medicaid Claims Act.

     400.    The Georgia False Medicaid Claims Act, Ga. Code Ann. § 49-4-

168.1(a)(1)–(3), provides for liability for anyone who—

       (1) Knowingly presents or causes to be presented to the Georgia

       Medicaid program a false or fraudulent claim for payment or

       approval;

       (2) Knowingly makes, uses, or causes to be made or used a false

       record or statement to get a false or fraudulent claim paid or

       approved by the Georgia Medicaid program; [or]

       (3) Conspires to defraud the Georgia Medicaid program by getting

       a false or fraudulent claim allowed or paid . . . .

     401.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

                                         140
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 147 of 218




unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

provide the product the government contracted to purchase are not eligible for

reimbursement by Georgia. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Florida in violation of Section 49-4-168.1

of the Georgia False Medicaid Claims Act.

     402.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Georgia, in violation of Section 49-4-168.1. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     403.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     404.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.



                                          141
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 148 of 218




     405.    The Georgia State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     406.    By reason of Defendants’ acts and omissions, the Georgia State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     407.    The State of Georgia is entitled to the maximum penalty of

$11,000.00 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     408.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     409.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Georgia in the

operation of its Medicaid program.

     410.    As a result of Defendants’ knowing violations of the Georgia False

Medicaid Claims Act, the United States has sustained actual damages.

      10.COUNT X: Violations of the Hawaii False Claims Act, Haw. Rev.
         Stat. § 661-21(a)

     411.    Relator restates and incorporates each and every allegation above as if

                                         142
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 149 of 218




the same were fully set forth herein.

     412.    This is a claim for treble damages and penalties under the Hawaii

False Claims Act.

     413.    The Hawaii False Claims Act, Haw. Rev. Stat § 661-21(a) specifically

provides that any person who—

       (1) Knowingly presents, or causes to be presented, a false or-

       fraudulent claim for payment or approval;

       (2) Knowingly makes, uses, or causes to be made or used, a false

       record or statement material to a false or fraudulent claim; [or]

       (8) Conspires to commit any of the conduct described in this

       subsection, shall be liable to the State for a civil penalty of not less

       than $ 5,500 and not more than $ 11,000, plus three times the

       amount of damages that the State sustains due to the act of that

       person.

     414.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product



                                          143
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 150 of 218




the government contracted to purchase are not eligible for reimbursement by

provide the product the government contracted to purchase are not eligible for

reimbursement by Hawaii. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Hawaii in violation of Section § 661-21

of the Hawaii False Claims Act.

     415.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Hawaii, in violation of Section § 661-21. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     416.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     417.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     418.    The Hawaii State Government, unaware of the falsity of the records,



                                          144
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 151 of 218




statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     419.    By reason of Defendants’ acts and omissions, the Hawaii State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     420.    The State of Hawaii is entitled to the maximum penalty of $11,000.00

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     421.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     422.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Hawaii in the

operation of its Medicaid program.

     423.    As a result of Defendants’ knowing violations of the Hawaii False

Claims Act, the United States has sustained actual damages.

      11.COUNT XI: Violations of the Illinois False Claims Act, 740 Ill.
         Comp. Stat. § 175/3(a)

     424.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

                                         145
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 152 of 218




     425.    This is a claim for treble damages and penalties under the Illinois

False Claims Act.

     426.    The Illinois False Claims Act, 740 Ill. Comp. Stat. § 175/3(a)(1),

specifically provides that any person who—

       (A) knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval;

       (B) knowingly makes, uses, or causes to be made or used, a false

       record or statement material to a false or fraudulent claim; [or]

       (C) conspires to commit a violation of [the Act] . . .

             is liable to the State for a civil penalty of not less than $ 5,500

       and not more than $11,000, plus 3 times the amount of damages

       which the State sustains because of the act of that person.

     427.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for worthless drugs unfit for

human consumption; claims for drugs that are not “reasonable and necessary” for

treatment of patients; and claims for drugs that did not provide the product the

government contracted to purchase are not eligible for reimbursement by provide

the product the government contracted to purchase are not eligible for



                                          146
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 153 of 218




reimbursement by Illinois. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Illinois in violation of Section § 175/3 of

the Illinois False Claims Act.

     428.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Illinois, in violation of Section § 175/3. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     429.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     430.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     431.    The Illinois State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and



                                          147
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 154 of 218




omissions.

     432.    By reason of Defendants’ acts and omissions, the Illinois State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     433.    The State of Illinois is entitled to the maximum penalty of $11,000.00

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     434.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     435.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Illinois in the

operation of its Medicaid program.

     436.    As a result of Defendants’ knowing violations of the Illinois False

Claims Act, the United States has sustained actual damages.

      12.COUNT XII: Violations of the Indiana False Claims and
         Whistleblower Protection Act, Ind. Code § 5-11-5.5-2(b)

     437.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     438.    This is a claim for treble damages and penalties under the Indiana

False Claims and Whistleblower Protection Act.

                                         148
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 155 of 218




     439.    The Indiana False Claims and Whistleblower Protection Act, Ind.

Code § 5-11-5.5-2(b), specifically provides that by engaging in certain acts a

person commits an unlawful act and shall be liable to the state for civil penalties of

at least $5,000 and for up to three times the amount of damages that the state

sustains because of the act of that person, including knowingly or intentionally:

             (1) present[ing] a false claim to the state for payment or

       approval;

             (2) mak[ing] or us[ing] a false record or statement to obtain

       payment or approval of a false claim from the state; . . .

             (8) conspiring with another person to perform an act described

       in subdivisions (1) through (6); [or]

             (9) caus[ing] or induc[ing] another person to perform an act

        described in subdivision (1) through (6).

     440.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for worthless drugs unfit for

human consumption; claims for drugs that are not “reasonable and necessary” for

treatment of patients; and claims for drugs that did not provide the product the

government contracted to purchase are not eligible for reimbursement by provide



                                         149
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 156 of 218




the product the government contracted to purchase are not eligible for

reimbursement by Indiana. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Indiana in violation of Section § 5-11-

5.5-2(b) of the Indiana False Claims and Whistleblower Protection Act.

     441.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Indiana, in violation of Section § 5-11-5.5-2(b). Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     442.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     443.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     444.    The Indiana State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and



                                          150
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 157 of 218




continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     445.    By reason of Defendants’ acts and omissions, the Indiana State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     446.    The State of Indiana is entitled to the maximum penalty of at least

$5,000.00 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     447.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     448.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Indiana in the

operation of its Medicaid program.

     449.    As a result of Defendants’ knowing violations of the Indiana False

Claims and Whistleblower Protection Act, the United States has sustained actual

damages.

      13.COUNT XIII: Violations of the Iowa False Claims Act, Iowa Code
         § 685.2(1)

     450.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

                                         151
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 158 of 218




     451.     This is a claim for treble damages and penalties under the Iowa False

Claims Act.

     452.     The Iowa False Claims Act, Iowa Code § 685.1(1), provides for

liability for anyone who—

       (a) Knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval.

       (b) Knowingly makes, uses, or causes to be made or used, a false

       record or statement material to a false or fraudulent claim.

       (c) Conspires to commit a violation of [the act] . . . .

     453.     Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

provide the product the government contracted to purchase are not eligible for

reimbursement by Iowa. Through this conduct, Defendants knowingly caused

false or fraudulent claims for payment to Iowa in violation of Section § 685.2(1) of

the Iowa False Claims Act.



                                         152
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 159 of 218




     454.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Iowa, in violation of Section § 685.2(1). Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     455.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     456.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     457.    The Iowa State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     458.    By reason of Defendants’ acts and omissions, the Iowa State

Government has been damaged, and continues to be damaged, in substantial



                                          153
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 160 of 218




amounts to be determined at trial.

     459.    The State of Iowa is entitled to the maximum penalty of $11,000.00

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     460.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     461.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Iowa in the

operation of its Medicaid program.

     462.    As a result of Defendants’ knowing violations of the Iowa False

Claims Act, the United States has sustained actual damages.

      14.COUNT XIV: Violations of the Louisiana Medical Assistance
         Programs Integrity Law, La. Rev. Stat. Ann. § 46:438.3

     463.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     464.    This is a claim for treble damages and penalties under the Louisiana

Medical Assistance Programs Integrity Law.

     465.    The Louisiana Medical Assistance Programs Integrity Law, La. Rev.

Stat. Ann. § 46:438.3, provides that:

             A. No person shall knowingly present or cause to be presented

                                         154
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 161 of 218




       a false or fraudulent claim.

             B. No person shall knowingly engage in misrepresentation or

       make, use, or cause to be made or used, a false record or statement

       material to a false or fraudulent claim.

             C. No person shall knowingly make, use, or cause to be made

       or used, a false record or statement material to an obligation to pay

       or transmit money or property to the medical assistance programs,

       or to knowingly conceal, avoid, or decrease an obligation to pay or

       transmit money or property to the medical assistance programs.

             D. No person shall conspire to defraud, or attempt to defraud,

       the medical assistance programs through misrepresentation or by

       obtaining, or attempting to obtain, payment for a false or fraudulent

       claim.

     466.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for worthless drugs unfit for

human consumption; and claims for drugs that are not “reasonable and necessary”

for treatment of patients; and claims for drugs that did not provide the product the

government contracted to purchase are not eligible for reimbursement by



                                         155
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 162 of 218




Louisiana. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to Louisiana in violation of Section 46:438.3 of the Louisiana

Medical Assistance Programs Integrity Law.

     467.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Louisiana, in violation of Section 46:438.3. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     468.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     469.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     470.    The Louisiana State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and



                                          156
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 163 of 218




omissions.

     471.    By reason of Defendants’ acts and omissions, the Louisiana State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     472.    The State of Louisiana is entitled to the maximum penalty of

$10,000.00 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     473.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     474.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Louisiana in the

operation of its Medicaid program.

     475.    As a result of Defendants’ knowing violations of the Louisiana

Medical Assistance Programs Integrity Law, the United States has sustained actual

damages.

      15.COUNT XVI: Violations of the Massachusetts False Claims Law,
         Mass. Gen. Laws ch. 12, § 5B

     476.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     477.    This is a claim for treble damages and penalties under the

                                         157
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 164 of 218




Massachusetts False Claims Law.

     478.    The Massachusetts False Claims Law, Mass. Gen. Laws, ch. 12,

§ 5B(a), provides that any person who—

       (1) knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval;

       (2) knowingly makes, uses or causes to be made or used a false

       record or statement material to a false or fraudulent claim; [or]

       (3) conspires to commit a violation of this subsection . . .

             shall be liable to the commonwealth or political subdivision

       for a civil penalty of not less than $ 5,500 and not more than $

       11,000 per violation . . . , plus 3 times the amount of damages,

       including consequential damages, that the commonwealth or a

       political subdivision thereof sustains because of such violation.

     479.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by



                                         158
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 165 of 218




Massachusetts. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to Massachusetts in violation of Section 5B of the

Massachusetts False Claims Law.

     480.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Massachusetts, in violation of Section 5B. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     481.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a Massachusetts-

funded health insurance program represents a false or fraudulent claim for

payment.

     482.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     483.    The Commonwealth of Massachusetts Government, unaware of the

falsity of the records, statements, and claims made, or caused to be made by



                                          159
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 166 of 218




Defendants, paid and continues to pay the claims that would not be paid but for

Defendants’ acts and omissions.

     484.     By reason of Defendants’ acts and omissions, the Commonwealth of

Massachusetts Government has been damaged, and continues to be damaged, in

substantial amounts to be determined at trial.

     485.     The Commonwealth of Massachusetts is entitled to the maximum

penalty of $11,000.00 for each and every false or fraudulent claim, record, or

statement made, used, presented, or caused to be made, used, or presented by

Defendants.

     486.     Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     487.     This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the Commonwealth of

Massachusetts in the operation of its Medicaid program.

     488.     As a result of Defendants’ knowing violations of the Massachusetts

False Claims Law, the United States has sustained actual damages.

      16.COUNT XVII: Violations of the Michigan Medicaid False Claims
         Act, Mich. Comp. Laws § 400.607, as amended by 2008 PA 421

     489.     Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

                                          160
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 167 of 218




     490.    This is a claim for treble damages and penalties under the Michigan

Medicaid False Claims Act.

     491.    The Michigan Medicaid False Claims Act imposes liability upon,

among others, those who knowingly present or cause to be presented false claims

for payment or approval, and those who make or use, or cause to be made or used,

false records or statements material to a false claim. Mich. Comp. Laws

§ 400.607(1).

     492.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Michigan. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to Michigan in violation of Section 400.607 of the Michigan

Medicaid False Claims Act.

     493.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or



                                         161
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 168 of 218




fraudulent claims to Michigan, in violation of Section 400.607. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     494.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     495.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     496.    The Michigan State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     497.    By reason of Defendants’ acts and omissions, the Michigan State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     498.    The State of Michigan is entitled to the maximum penalty under the

law for each and every false or fraudulent claim, record, or statement made, used,



                                          162
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 169 of 218




presented, or caused to be made, used, or presented by Defendants.

     499.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     500.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Michigan in the

operation of its Medicaid program.

     501.    As a result of Defendants’ knowing violations of the Michigan

Medicaid False Claims Act, the United States has sustained actual damages.

      17.COUNT XVIII: Violations of the Michigan Public Acts, 1977 PA 72,
         As amended by 1984 PA 333, as amended by 2005 PA 337, as
         amended by 2008 PA 421

     502.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     503.    Relator states a claim for treble damages and penalties under the

Michigan Medicaid False Claims Act, brought by Relator on behalf of itself and,

among others, the State of Michigan.

     504.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for worthless drugs unfit for



                                         163
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 170 of 218




human consumption; claims for drugs that are not “reasonable and necessary” for

treatment of patients; and claims for drugs that did not provide the product the

government contracted to purchase are not eligible for reimbursement by

Michigan. Through this conduct, Defendants knowingly violated the Michigan

Medicaid False Claims Act.

     505.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Michigan, in violation of the Michigan Medicaid False Claims

Act. Defendants have knowingly made numerous misleading statements, false

statements, and omissions regarding ranitidine’s safety profile, including that it is

safe for use as warranted by Defendants to the FDA.

     506.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     507.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     508.    The Michigan State Government, unaware of the falsity of the



                                         164
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 171 of 218




records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     509.    By reason of Defendants’ acts and omissions, the Michigan State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     510.    The State of Michigan is entitled to the maximum penalty under the

law for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     511.    Defendants did not, within a reasonable period of time after first

obtaining information as to such violations, furnish such information to officials of

the State responsible for investigating false claims violations, did not otherwise

fully cooperate with any investigation of the violations, and have not otherwise

furnished information to the State regarding the claims for reimbursement at issue.

     512.    Relator’s principals are private persons with direct and independent

knowledge of the allegations in this Complaint, and they have caused Relator to

bring this action pursuant to Michigan’s False Medicaid Claims Act on behalf of

both Relator and the State of Michigan.

     513.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.



                                          165
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 172 of 218




     514.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Michigan in the

operation of its Medicaid program.

      18.COUNT XIX: Violations of the Minnesota False Claims Act, Minn.
         Stat. § 15C.02(a)

     515.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     516.    This is a claim for treble damages and penalties under the Minnesota

False Claims Act.

     517.    The Minnesota False Claims Act, Minn. Stat. § 15C.02(a), provides

for liability for anyone who—

       (1) knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval;

       (2) knowingly makes or uses, or causes to be made or used, a false

       record or statement material to a false or fraudulent claim; [or]

       (3) knowingly conspires to commit a violation of [the act] . . . .

     518.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

                                         166
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 173 of 218




“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Minnesota. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to Minnesota in violation of Section 15C.02(a) of

the Minnesota False Claims Act.

     519.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Minnesota, in violation of Section 15C.02(a). Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     520.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     521.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.



                                          167
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 174 of 218




     522.    The Minnesota State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     523.    By reason of Defendants’ acts and omissions, the Minnesota State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     524.    The State of Minnesota is entitled to the maximum penalty of $11,000

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     525.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     526.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Minnesota in the

operation of its Medicaid program.

     527.    As a result of Defendants’ knowing violations of the Minnesota False

Claims Act, the United States has sustained actual damages.

      19.COUNT XX: Violations of the Montana False Claims Act, Mont.
         Code Ann. § 17-8-403(1)

     528.    Relator restates and incorporates each and every allegation above as if

                                         168
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 175 of 218




the same were fully set forth herein.

     529.    This is a claim for treble damages and penalties under the Montana

False Claims Act.

     530.    The Montana False Claims Act, Mont. Code Ann., § 17-8-403(1)

provides for liability for any person who engages in any or all the following

conduct:

       (a) knowingly presents or causes to be presented a false or

       fraudulent claim for payment or approval;

       (b) knowingly makes, uses, or causes to be made or used a false

       record or statement material to a false or fraudulent claim;

       (c) conspires to commit a violation of this subsection (1); [or]

       (h) as a beneficiary of an inadvertent submission of a false or

       fraudulent claim to the governmental entity, subsequently discovers

       the falsity of the claim or that the claim is fraudulent and fails to

       disclose the false or fraudulent claim to the governmental entity

       within a reasonable time after discovery of the false or fraudulent

       claim.

     531.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs



                                         169
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 176 of 218




whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Montana. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to Montana in violation of Section 17-8-403 of the Montana

False Claims Act.

     532.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Montana, in violation of Section 17-8-403. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     533.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     534.    Relator cannot at this time identify all of the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by



                                          170
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 177 of 218




thousands of separate entities, and over many years.

     535.    The Montana State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     536.    By reason of Defendants’ acts and omissions, the Montana State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     537.    The State of Montana is entitled to the maximum penalty of $11,000

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     538.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     539.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Montana in the

operation of its Medicaid program.

     540.    As a result of Defendants’ knowing violations of the Montana False

Claims Act, the United States has sustained actual damages.

      20.COUNT XXI: Violations of the Nevada False Claims Act, Nev. Rev.
         Stat. § 357.040

                                         171
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 178 of 218




     541.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     542.    This is a claim for treble damages and penalties under the Nevada

False Claims Act.

     543.    The Nevada False Claims Act, Nev. Rev. Stat., § 357.040(1) provides

for liability for any person who—

       (a) Knowingly presents or causes to be presented a false or

       fraudulent claim for payment or approval; [or]

       (b) Knowingly makes or uses, or causes to be made or used, a false

       record or statement that is material to a false or fraudulent

       claim . . . .

     544.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Nevada. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to Nevada in violation of Section 357.040 of the Nevada False

                                         172
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 179 of 218




Claims Act.

     545.     Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Nevada, in violation of Section 357.040. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     546.     Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     547.     Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     548.     The Nevada State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     549.     By reason of Defendants’ acts and omissions, the Nevada State



                                          173
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 180 of 218




Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     550.    The State of Nevada is entitled to the maximum penalty of $11,000

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     551.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     552.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Nevada in the

operation of its Medicaid program.

     553.    As a result of Defendants’ knowing violations of the Nevada False

Claims Act, the United States has sustained actual damages.

      21.COUNT XXII: Violations of the New Hampshire False Claims Act,
         N.H. Rev. Stat. Ann. § 167:61-b

     554.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     555.    This is a claim for treble damages and penalties under the New

Hampshire False Claims Act.

     556.    The New Hampshire False Claims Act, N.H. Rev. Stat. Ann.,

§ 167:61-b, provides for liability for any person who—

                                         174
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 181 of 218




       (a) Knowingly presents, or causes to be presented, to an officer or

       employee of the department, a false or fraudulent claim for

       payment or approval[; or]

       (b) Knowingly makes, uses, or causes to be made or used, a false

       record or statement to get a false or fraudulent claim paid or

       approved by the department.

     557.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by New

Hampshire. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to New Hampshire in violation of Section 167:61-b

of the New Hampshire False Claims Act.

     558.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to New Hampshire, in violation of Section 167:61-b. Defendants



                                         175
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 182 of 218




have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     559.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     560.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     561.    The New Hampshire State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     562.    By reason of Defendants’ acts and omissions, the New Hampshire

State Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     563.    The State of New Hampshire is entitled to the maximum penalty of

$10,000 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.



                                          176
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 183 of 218




     564.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     565.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of New Hampshire

in the operation of its Medicaid program.

     566.    As a result of Defendants’ knowing violations of the New Hampshire

False Claims Act, the United States has sustained actual damages.

      22.COUNT XXIII: Violations of the New Jersey False Claims Act, N.J.
         Stat. Ann. § 2A:32C-3

     567.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     568.    This is a claim for treble damages and penalties under the New Jersey

False Claims Act.

     569.    The New Jersey False Claims Act, N.J. Stat. Ann. § 2A:32C-3,

provides for liability for any person who—

        (a) Knowingly presents or causes to be presented to an employee,

        officer or agent of the State, or to any contractor, grantee, or other

        recipient of State funds, a false or fraudulent claim for payment or

        approval;

        (b) Knowingly makes, uses, or causes to be made or used a false

                                          177
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 184 of 218




        record or statement to get a false or fraudulent claim paid or

        approved by the State; [or]

        (c) Conspires to defraud the State by getting a false or fraudulent

        claim allowed or paid by the State . . . .

     570.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by New

Jersey. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to New Jersey in violation of Section 2A:32C-3 of the New

Jersey False Claims Act.

     571.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to New Jersey, in violation of Section 2A:32C-3. Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as



                                          178
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 185 of 218




warranted by Defendants to the FDA.

     572.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     573.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     574.    The New Jersey State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     575.    By reason of Defendants’ acts and omissions, the New Jersey State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     576.    The State of New Jersey is entitled to the maximum penalty for each

and every false or fraudulent claim, record, or statement made, used, presented, or

caused to be made, used, or presented by Defendants.

     577.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.



                                         179
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 186 of 218




     578.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of New Jersey in

the operation of its Medicaid program.

     579.    As a result of Defendants’ knowing violations of the New Jersey False

Claims Act, the United States has sustained actual damages.

      23.COUNT XXIV: Violations of the New Mexico Medicaid False Claims
         Act, N.M. Stat. Ann. § 27-14-4

     580.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     581.    This is a claim for treble damages and penalties under the New

Mexico Medicaid False Claims Act.

     582.    The New Mexico Meidcaid False Claims Act, N.M. Stat. Ann. § 27-

14-4, provides for liability for any person who—

       (a) presents, or causes to be presented, to the state a claim for

       payment under the medicaid program knowing that such claim is

       false or fraudulent; . . .

       (c) makes, uses or causes to be made or used a record or statement

       to obtain a false or fraudulent claim under the medicaid program

       paid for or approved by the state knowing such record or statement

       is false; [or]

                                         180
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 187 of 218




        (d) conspires to defraud the state by getting a claim allowed or paid

        under the Medicaid program knowing that such claim is false or

        fraudulent . . . .

     583.     Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by New

Mexico. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to New Mexico in violation of Section 27-14-4 of the New

Mexico Medicaid False Claims Act.

     584.     Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to New Mexico, in violation of Section 27-14-4. Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.



                                          181
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 188 of 218




     585.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     586.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     587.    The New Mexico State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     588.    By reason of Defendants’ acts and omissions, the New Mexico State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     589.    The State of New Mexico is entitled to the maximum penalty for each

and every false or fraudulent claim, record, or statement made, used, presented, or

caused to be made, used, or presented by Defendants.

     590.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     591.    As a result of Defendants’ knowing violations of the New Mexico



                                         182
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 189 of 218




Medicaid False Claims Act, the United States has sustained actual damages.

     592.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of New Mexico in

the operation of its Medicaid program.

     593.    As a result of Defendants’ knowing violations of the New Mexico

Medicaid False Claims Act, the United States has sustained actual damages.

      24.COUNT XXV: Violations of the New York False Claims Act, N.Y.
         State Fin. Law § 189(1)

     594.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     595.    This is a claim for treble damages and penalties under the New York

False Claims Act.

     596.    The New York False Claims Act, N.Y. State Fin. Law § 189(1),

provides for liability for any person who—

        (a) knowingly presents, or causes to be presented a false or

        fraudulent claim for payment or approval;

        (b) knowingly makes, uses, or causes to be made or used, a false

        record or statement material to a false or fraudulent claim; [or]

        (c) conspires to commit a violation of [the act] . . . .

     597.    Throughout the relevant time period, Defendants caused the

                                           183
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 190 of 218




submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by New

York. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to New York in violation of Section 189(1) of the New York

False Claims Act.

     598.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to New York, in violation of Section 189(1). Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     599.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.



                                          184
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 191 of 218




     600.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     601.    The New York State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     602.    By reason of Defendants’ acts and omissions, the New York State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     603.    The State of New York is entitled to the maximum penalty of $12,000

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     604.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     605.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of New York in the

operation of its Medicaid program.

     606.    As a result of Defendants’ knowing violations of the New York False



                                         185
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 192 of 218




Claims Act, the United States has sustained actual damages.

      25.COUNT XXVI: Violations of the North Carolina False Claims Act,
         N.C. Gen. Stat. § 1-607(A)

     607.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     608.    This is a claim for treble damages and penalties under the North

Carolina False Claims Act.

     609.    The North Carolina False Claims Act, N.C. Gen. Stat. § 1-607(A),

provides for liability for any person who—

       (1) Knowingly presents or causes to be presented a false or

       fraudulent claim for payment or approval;

       (2) Knowingly makes, uses, or causes to be made or used, a false

       record or statement material to a false or fraudulent claim; [or]

       (3) Conspires to commit a violation of [the act] . . . .

     610.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by North

                                         186
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 193 of 218




Carolina. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to North Carolina in violation of Section 1-607(A) of the North

Carolina False Claims Act.

     611.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to North Carolina, in violation of Section 1-607(A). Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     612.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     613.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     614.    The North Carolina State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and



                                          187
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 194 of 218




omissions.

     615.    By reason of Defendants’ acts and omissions, the North Carolina State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     616.    The State of North Carolina is entitled to the maximum penalty of

$11,000 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     617.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     618.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of North Carolina

in the operation of its Medicaid program.

     619.    As a result of Defendants’ knowing violations of the North Carolina

False Claims Act, the United States has sustained actual damages.

      26.COUNT XXVII: Violations of the Oklahoma Medicaid False Claims
         Act, Okla. Stat. tit. 63, § 5053.1(B)

     620.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     621.    This is a claim for treble damages and penalties under the Oklahoma

Medicaid False Claims Act.

                                         188
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 195 of 218




     622.    The Oklahoma Medicaid False Claims Act, Okla. Stat. tit. 63,

§ 5053.1(B), provides for liability for any person who—

       (1) Knowingly presents, or causes to be presented, to an officer or

       employee of the State of Oklahoma, a false or fraudulent claim for

       payment or approval;

       (2) Knowingly makes, uses, or causes to be made or used, a false

       record or statement to get a false or fraudulent claim paid or

       approved by the state; [or]

       (3) Conspires to defraud the state by getting a false or fraudulent

       claim allowed or paid . . . .

     623.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Oklahoma. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to Oklahoma in violation of Section 5053.1(B) of

the Oklahoma Medicaid False Claims Act.



                                         189
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 196 of 218




     624.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Oklahoma, in violation of Section 5053.1(B). Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     625.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     626.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     627.    The Oklahoma State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     628.    By reason of Defendants’ acts and omissions, the Oklahoma State

Government has been damaged, and continues to be damaged, in substantial



                                          190
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 197 of 218




amounts to be determined at trial.

     629.    The State of Oklahoma is entitled to the maximum penalty of $10,000

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     630.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     631.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Oklahoma in the

operation of its Medicaid program.

     632.    As a result of Defendants’ knowing violations of the Oklahoma

Medicaid False Claims Act, the United States has sustained actual damages.

      27.COUNT XXVIII: Violations of the Rhode Island False Claims Act,
         R.I. Gen. Laws § 9-1.1-3(a)

     633.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     634.    This is a claim for treble damages and penalties under the Rhode

Island False Claims Act.

     635.    The Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-3(a),

provides for liability for any person who—

        (1) Knowingly presents, or causes to be presented, a false or

                                         191
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 198 of 218




        fraudulent claim for payment or approval;

        (2) Knowingly makes, uses, or causes to be made or used, a false

        record or statement material to a false or fraudulent claim; [or]

        (3) Conspires to commit a violation of [the act] . . . .

     636.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Rhode Island. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to Rhode Island in violation of Section 9-1.1-3(a) of

the Rhode Island False Claims Act.

     637.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Rhode Island, in violation of Section 9-1.1-3(a). Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as



                                          192
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 199 of 218




warranted by Defendants to the FDA.

     638.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     639.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     640.    The Rhode Island State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     641.    By reason of Defendants’ acts and omissions, the Rhode Island State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     642.    The State of Rhode Island is entitled to the maximum penalty of

$11,000 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     643.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.



                                         193
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 200 of 218




     644.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Rhode Island in

the operation of its Medicaid program.

     645.    As a result of Defendants’ knowing violations of the Rhode Island

False Claims Act, the United States has sustained actual damages.

      28.COUNT XXIX: Violations of the Tennessee Medicaid False Claims
         Act, Tenn. Code Ann. § 71-5-182(a)

     646.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     647.    This is a claim for treble damages and penalties under the Tennessee

Medicaid False Claims Act.

     648.    The Tennessee Medicaid False Claims Act, Tenn. Code Ann. § 71-5-

182(a)(1), provides for liability for any person who—

        (A) Knowingly presents, or causes to be presented, a false or

        fraudulent claim for payment or approval under the medicaid

        program;

        (B) Knowingly makes, uses, or causes to be made or used, a false

        record or statement material to a false or fraudulent claim under the

        medicaid program; [or]

        (C) Conspires to commit a violation of [the act] . . . .

                                          194
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 201 of 218




     649.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Tennessee. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to Tennessee in violation of Section 71-5-182(a) of

the Tennessee Medicaid False Claims Act.

     650.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Tennessee, in violation of Section 71-5-182(a). Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     651.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded



                                          195
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 202 of 218




health insurance program represents a false or fraudulent claim for payment.

     652.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     653.    The Tennessee State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     654.    By reason of Defendants’ acts and omissions, the Tennessee State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     655.    The State of Tennessee is entitled to the maximum penalty of $25,000

for each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     656.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     657.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Tennessee in the

operation of its Medicaid program.



                                         196
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 203 of 218




     658.    As a result of Defendants’ knowing violations of the Tennessee

Medicaid False Claims Act, the United States has sustained actual damages.

      29.COUNT XXX: Violations of the Texas Medicaid Fraud Prevention
         Act, Tex. Hum. Res. Code Ann. § 36.002

     659.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     660.    This is a claim for maximum damages and penalties under the Texas

Medicaid Fraud Prevention Act.

     661.    The Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code

Ann. § 36.002, provides for liability for any person who—

       (1) knowingly makes or causes to be made a false statement or

       misrepresentation of a material fact to permit a person to receive a

       benefit or payment under the Medicaid program that is not

       authorized or that is greater than the benefit or payment that is

       authorized; [or]

       (2) knowingly conceals or fails to disclose information that permits

       a person to receive a benefit or payment under the Medicaid

       program that is not authorized or that is greater than the benefit or

       payment that is authorized . . . .

     662.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

                                            197
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 204 of 218




mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Texas. Through this conduct, Defendants knowingly caused false or fraudulent

claims for payment to Texas in violation of Section 36.002 of the Texas Medicaid

Fraud Prevention Act.

     663.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Texas, in violation of Section 36.002. Defendants have

knowingly made numerous misleading statements, false statements, and omissions

regarding ranitidine’s safety profile, including that it is safe for use as warranted by

Defendants to the FDA.

     664.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     665.    Relator cannot at this time identify all the false claims for payment



                                          198
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 205 of 218




that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     666.    The Texas State Government, unaware of the falsity of the records,

statements, and claims made, or caused to be made by Defendants, paid and

continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     667.    By reason of Defendants’ acts and omissions, the Texas State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     668.    The State of Texas is entitled to the maximum penalty of $11,000 for

each and every false or fraudulent claim, record, or statement made, used,

presented, or caused to be made, used, or presented by Defendants.

     669.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     670.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Texas in the

operation of its Medicaid program.

     671.    As a result of Defendants’ knowing violations of the Texas Medicaid

Fraud Prevention Act, the United States has sustained actual damages.



                                         199
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 206 of 218




      30.COUNT XXXI: Violations of the Virginia Fraud Against Taxpayers
         Act, Va. Code Ann. § 8.01-216.3(A)

     672.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     673.    This is a claim for treble damages and penalties under the Virginia

Fraud Against Taxpayers Act.

     674.    The Virginia Fraud Against Taxpayers Act, Va. Code Ann. § 8.01-

216.3(A), provides for liability for any person who—

       (1) Knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval;

       (2) Knowingly makes, uses, or causes to be made or used, a false

       record or statement material to a false or fraudulent claim; [or]

       (3) Conspires to commit a violation of [the act] . . . .

     675.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Virginia. Through this conduct, Defendants knowingly caused false or fraudulent

                                         200
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 207 of 218




claims for payment to Virginia in violation of Section 8.01-216.3(A) of the

Virginia Fraud Against Taxpayers Act.

     676.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to Virginia, in violation of Section 8.01-216.3(A). Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     677.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a Virginia-

funded health insurance program represents a false or fraudulent claim for

payment.

     678.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     679.    The Commonwealth of Virginia Government, unaware of the falsity

of the records, statements, and claims made, or caused to be made by Defendants,

paid and continues to pay the claims that would not be paid but for Defendants’



                                          201
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 208 of 218




acts and omissions.

     680.    By reason of Defendants’ acts and omissions, the Commonwealth of

Virginia Government has been damaged, and continues to be damaged, in

substantial amounts to be determined at trial.

     681.    The Commonwealth of Virginia is entitled to the maximum penalty of

$11,000 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     682.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     683.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the Commonwealth of

Virginia in the operation of its Medicaid program.

     684.    As a result of Defendants’ knowing violations of the Virginia Fraud

Against Taxpayers Act, the United States has sustained actual damages.

      31.COUNT XXXII: Violations of the Washington State Medicaid Fraud
         False Claims Act, Wash. Rev. Code § 74.66.020(1)

     685.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     686.    This is a claim for treble damages and penalties under the Washington

State Medicaid Fraud False Claims Act.

                                         202
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 209 of 218




     687.    The Washington State Medicaid Fraud False Claims Act, Wash. Rev.

Code § 74.66.020(1), provides for liability for any person who—

       (a) Knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval;

       (b) Knowingly makes, uses, or causes to be made or used, a false

       record or statement material to a false or fraudulent claim; [or]

       (c) Conspires to commit one or more violations [of the act] . . . .

     688.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by

Washington. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to Washington in violation of Section 74.66.020 of

the Washington State Medicaid Fraud False Claim Act.

     689.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or



                                         203
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 210 of 218




fraudulent claims to Washington, in violation of Section 74.66.020. Defendants

have knowingly made numerous misleading statements, false statements, and

omissions regarding ranitidine’s safety profile, including that it is safe for use as

warranted by Defendants to the FDA.

     690.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.

Each claim for reimbursement for such prescriptions submitted to a State-funded

health insurance program represents a false or fraudulent claim for payment.

     691.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     692.    The Washington State Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     693.    By reason of Defendants’ acts and omissions, the Washington State

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     694.    The State of Washington is entitled to the maximum penalty of

$11,000 for each and every false or fraudulent claim, record, or statement made,



                                          204
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 211 of 218




used, presented, or caused to be made, used, or presented by Defendants.

     695.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     696.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the

federal claims, and merely asserts separate damage to the State of Washington in

the operation of its Medicaid program.

     697.    As a result of Defendants’ knowing violations of the Washington

State Medicaid Fraud False Claims Act, the United States has sustained actual

damages.

      32.COUNT XXXIII: Violations of the District of Columbia False Claims
         Act, D.C. Code § 2-381.02

     698.    Relator restates and incorporates each and every allegation above as if

the same were fully set forth herein.

     699.    This is a claim for treble damages and penalties under the District of

Columbia False Claims Act.

     700.    The District of Columbia False Claims Act, D.C. Code § 2-381.02,

provides for liability for any person who—

       (1) Knowingly presents, or causes to be presented, a false or

       fraudulent claim for payment or approval; [or]

       (2) Knowingly makes, uses, or causes to be made or used, a false

                                         205
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 212 of 218




        record or statement material to a false or fraudulent claim . . . .

     701.    Throughout the relevant time period, Defendants caused the

submission of false claims for reimbursement for ranitidine. Claims for

mislabeled, misbranded, adulterated, or falsely certified drugs; claims for drugs

whose FDA approval is subject to withdrawal; claims for drugs that are not

“reasonable and necessary” for treatment of patients; claims for worthless drugs

unfit for human consumption; and claims for drugs that did not provide the product

the government contracted to purchase are not eligible for reimbursement by the

District of Columbia. Through this conduct, Defendants knowingly caused false or

fraudulent claims for payment to District of Columbia in violation of Section 2-

381.02 of the District of Columbia False Claims Act.

     702.    Further, throughout the relevant time period, Defendants, through

their acts and omissions as described herein, have knowingly made or used, or

caused to be made or used, false records or statements material to false or

fraudulent claims to the District of Columbia, in violation of Section 2-381.02.

Defendants have knowingly made numerous misleading statements, false

statements, and omissions regarding ranitidine’s safety profile, including that it is

safe for use as warranted by Defendants to the FDA.

     703.    Each prescription that was written as a result of Defendants’ illegal

practices as described above represents a false or fraudulent record or statement.



                                          206
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 213 of 218




Each claim for reimbursement for such prescriptions submitted to a District of

Columbia-funded health care program represents a false or fraudulent claim for

payment.

     704.    Relator cannot at this time identify all the false claims for payment

that were caused by Defendants’ conduct. The false claims were presented by

thousands of separate entities, and over many years.

     705.    The District of Columbia Government, unaware of the falsity of the

records, statements, and claims made, or caused to be made by Defendants, paid

and continues to pay the claims that would not be paid but for Defendants’ acts and

omissions.

     706.    By reason of Defendants’ acts and omissions, the District of Columbia

Government has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

     707.    The District of Columbia is entitled to the maximum penalty of

$11,000 for each and every false or fraudulent claim, record, or statement made,

used, presented, or caused to be made, used, or presented by Defendants.

     708.    Relator believes and avers that it is an “original source” of the facts

and information on which this action is based.

     709.    This Court is requested to accept supplemental jurisdiction of this

related state claim as it is predicated upon the exact same nexus of facts as the



                                         207
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 214 of 218




federal claims, and merely asserts separate damage to the District of Columbia in

the operation of its health care services.

     710.    As a result of Defendants’ knowing violations of the District of

Columbia False Claims Act, the United States has sustained actual damages.

VII. PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of the Government Plaintiffs, respectfully

requests that this Court enter judgment against Defendants as follows:

   A. That Defendants be enjoined from violating the provisions of 31 U.S.C.

      § 3729 et seq. and the equivalent State False Claims Acts claims for relief;

   B. That this Court enter monetary judgment against Defendants in an amount

      equal to three times the amount of damages the United States has sustained

      as a result of Defendants’ actions, plus a civil penalty of not less than

      $5,500.00 and not more than $11,000.00 for each violation of 31 U.S.C. §

      3729 et seq.;

   C. That, with respect to the State False Claims Acts claims as set forth above,

      this Court enter monetary judgment against Defendants for the maximum

      damages permitted by those statutes (including without limitation trebling or

      imposition of any other multiplier provided for therein), the maximum fine

      or penalty permitted by those statutes, and any other recoveries or relief

      provided for under those statutes.



                                             208
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 215 of 218




   D. That Relator be awarded the maximum amount allowable pursuant to 31

      U.S.C. § 3730(d) of the FCA, and the equivalent provisions of the State

      False Claims Acts, of the proceeds of this action or settlement of this action

      collected by the United States and/or any Plaintiff State, with such award

      being based upon the total value recovered, both tangible and intangible,

      including any amounts received from individuals or entities not parties to

      this action;

   E. That Relator be awarded all costs of this action, including reasonable

      attorneys’ fees, costs, and expenses pursuant to 31 U.S.C. § 3730(d) and the

      equivalent provisions of the State False Claims Acts; and

   F. That Relator and the Government Plaintiffs be granted such other and further

      relief as the Court deems just and proper.

VIII. JURY DEMAND

      A jury trial is demanded in this case, pursuant to Federal Rule of Civil

Procedure 38 and all other applicable law.




                                        209
      Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 216 of 218




Dated: May 20, 2024                       Respectfully submitted,

                                          KLINE & SPECTER, P.C.

                                          /s/Conor Lamb
                                          Conor Lamb, Esquire
                                          Conor.Lamb@klinespecter.com
                                          PA State Bar No. 304874
                                          1525 Locust Street, 19th Floor
                                          Philadelphia, PA 19102
                                          Telephone: 215-772-1000
                                          Facsimile: 215-402-2359

                                          WISNER BAUM, LLP

                                          /s/ R. Brent Wisner
                                          R. Brent Wisner (pro hac vice)
                                          rbwisner@baumhedlundlaw.com
                                          11111 Santa Monica Blvd., Ste. 1750
                                          Los Angeles, CA 90025
                                          Telephone: (310) 207-3233
                                          Facsimile: (310) 820-7444

                                          MOORE LAW GROUP, PLLC

                                          /s/ Jennifer A. Moore
                                          Jennifer A. Moore (pro hac vice)
                                          jennifer@moorelawgroup.com
                                          1473 South 4th Street
                                          Louisville, KY 40208
                                          Telephone: (502) 717-4080
                                          Facsimile: (502) 717-4086

                                          FRANK, LLP

                                          /s/ Gregory A. Frank
                                          Gregory A. Frank (pro hac vice)
                                          info@frankllp.com
                                          305 Broadway, Ste. 700
                                          New York, NY 10007

                                    210
Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 217 of 218




                                    Telephone: (212) 682-1853
                                    Facsimile: (212) 682-1892

                                    Counsel for Relator




                              211
       Case 2:19-cv-04239-JP Document 55 Filed 05/20/24 Page 218 of 218




                          CERTIFICATE OF SERVICE
      On May 20, 2024, I electronically submitted the foregoing document with

the Clerk of the Court for the U.S. District Court, Eastern District of Pennsylvania,

using the electronic case filing system of the court. I hereby certify that I served

all counsel and/or pro se parties of record via electronic filing.

                                                KLINE & SPECTER, P.C.

May 20, 2024                            BY: /s/ Conor Lamb
                                            CONOR LAMB, ESQUIRE
                                            PA State Bar No. 304874
                                            1525 Locust Street, 19th Floor
                                            Philadelphia, PA 19102
                                            Telephone: 215-772-1000
                                            Facsimile: 215-402-2359
                                            Conor.Lamb@klinespecter.com
                                            Attorney for Plaintiff




                                          212
